USCA4 Appeal: 21-7352       Doc: 19               Filed: 11/16/2022             Pg: 1 of 141

                                                    CASE NO. 21-7352

                                                               IN THE
                          United States Court of Appeals
                                       FOR THE FOURTH CIRCUIT



                                                   LARONE F. ELIJAH,
                                                                                                       Plaintiff - Appellant,
                                                                    v.

                                            BRYAN K. DOBBS, Warden,
                                                                                                    Defendants - Appellee,




                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA AT BEAUFORT


                                                    JOINT APPENDIX



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USCA4 Appeal: 21-7352          Doc: 19              Filed: 11/16/2022             Pg: 2 of 141




                                              TABLE OF CONTENTS

                                                                                                                        Page

        District Court Docket Sheet [9:20-cv-030 40-JD] ..................................................... 1

        Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241
           Filed August 24, 2020 [ECF1]............................................................................. 4

        Motion for Summary Judgment with Exhibit
          Filed November 10, 2020 [ECF8] ..................................................................... 61

                Ex. A:       Declaration of Forest Kelly with Attachments
                             [ECF8-1]........................................................................................ 69

                                 Att. 1:       Judgment in a Criminal Case,
                                               Case No. 7:07-CR-10-1D, E.D. N.C. ....................... 72

                                 Att. 2:       SENTRY Public Information Inmate Data .............. 79

                                 Att. 3:       USMS Form 129....................................................... 83

                                 Att. 4:       Supervised Release Revocation Judgment ............... 88

                                 Att. 5:       Judgment in a Criminal Case,
                                               Case No. 4:15-CR-70-1-D, E.D. N.C. ...................... 90

                                 Att. 6:       SENTRY Public Information Inmate Data
                                               as of September 28, 2020 ......................................... 97

                                 Att. 7:       Administrative Remedy ID No. 998351,
                                               all levels .................................................................. 102

        Response to Motion to Dismiss and Affidavit
          Filed December 14, 2020 [ECF12].................................................................. 112

        Report and Recommendation
          Filed July 29, 2021 [ECF18] ........................................................................... 119



                                                                  i
USCA4 Appeal: 21-7352         Doc: 19           Filed: 11/16/2022         Pg: 3 of 141




        Objections to Report and Recommendations Issued 7-29-21
          Filed August 12, 2021 [ECF20]....................................................................... 131

        Order and Opinion
          Entered August 23, 2021 [ECF21] ...................................................................135

        Notice of Appeal
          Filed September 21, 2021 [ECF24] ................................................................. 138




                                                            ii
USCA4 Appeal: 21-7352                  Doc: 19                 Filed: 11/16/2022             Pg: 4 of 141

   10/3/22, 9:53 AM                                                                CM/ECF - scd


                                         Query       Reports         Utilities      Help     Log Out

                                                                                 APPEAL,CLOSED,MHC-Inmate,PRISONER,PROSE

                                                    U.S. District Court
                                          District of South Carolina (Beaufort)
                                     CIVIL DOCKET FOR CASE #: 9:20-cv-03040-JD


    Elijah v. Dobbs                                                                        Date Filed: 08/24/2020
    Assigned to: Honorable Joseph Dawson, III                                              Date Terminated: 08/23/2021
    Case in other court: United States Court of Appeals for the Fourth                     Jury Demand: None
                        Circ, 21-07352                                                     Nature of Suit: 530 Habeas Corpus
    Cause: 28:2241 Petition for Writ of Habeas Corpus (Federal)                            (General)
                                                                                           Jurisdiction: U.S. Government Defendant
    Petitioner
    Larone F Elijah                                                         represented by Larone F Elijah
                                                                                           70214-056
                                                                                           COLEMAN LOW
                                                                                           FEDERAL CORRECTIONAL
                                                                                           INSTITUTION
                                                                                           Inmate Mail/Parcels
                                                                                           P.O. BOX 1031
                                                                                           COLEMAN, FL 33521
                                                                                           PRO SE


    V.
    Respondent
    Bryan K Dobbs                                                           represented by Marshall Prince
    Warden                                                                                 US Attorneys Office
                                                                                           1441 Main Street
                                                                                           Suite 500
                                                                                           Columbia, SC 29201
                                                                                           803-929-3000
                                                                                           Fax: 803-254-2943
                                                                                           Email: marshall.prince@usdoj.gov
                                                                                           LEAD ATTORNEY
                                                                                           ATTORNEY TO BE NOTICED


     Date Filed             #    Docket Text
     08/24/2020             1 PETITION for Writ of Habeas Corpus, filed by Larone F Elijah. (Attachments: # 1
                              Supporting Documents, # 2 Cover Letter, # 3 Envelope)(cpeg, ) (Entered: 08/27/2020)
     09/18/2020             3 Filing fee: $ 5.00, receipt number SCX400014762 (cpeg, ) (Entered: 09/18/2020)
     09/22/2020             5 ORDER authorizing service of process by clerk. Directing petitioner to notify the
                              clerk in writing of any change of address. Signed by Magistrate Judge Molly H
                              Cherry on 09/22/2020. (Attachments: # 1 Petition)(cpeg, ) (Entered: 09/22/2020)

   https://ecf.scd.uscourts.gov/cgi-bin/DktRpt.pl?144811150086645-L_1_0-1                                                            1/3



                                                                            JA1
USCA4 Appeal: 21-7352                  Doc: 19                 Filed: 11/16/2022            Pg: 5 of 141

   10/3/22, 9:53 AM                                                               CM/ECF - scd

     09/22/2020             6 ***DOCUMENT MAILED 5 Order 2241 Federal Habeas, placed in U.S. Mail from
                              Charleston Clerks Office to Larone F Elijah 70214-056 FCI Williamsburg P.O. Box 340
                              Salters, SC 29590. 1 Petition sent certified mail (9414711899564464095093) to the
                              Attorney General. (cpeg, ) (Entered: 09/22/2020)
     10/15/2020             7 CERTIFIED MAIL RECEIPT re 1 Petition for Writ of Habeas Corpus served on US
                              Attorney General on 10/05/2020. Answer owed by Bryan K Dobbs 11/12/2020. (cpeg, )
                              (Entered: 10/15/2020)
     11/10/2020             8 MOTION for Summary Judgment by Bryan K Dobbs. Response to Motion due by
                              11/24/2020. Add an additional 3 days only if served by mail or otherwise allowed under
                              Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. (Attachments: # 1 Exhibit A, Declaration of Forest
                              Kelly)No proposed order.Motions referred to Molly H Cherry.(Prince, Marshall)
                              (Attachment 1 replaced on 11/12/2020 per filing user) (cpeg, ). (Entered: 11/10/2020)
     11/10/2020             9 CERTIFICATE OF SERVICE by Bryan K Dobbs re 8 MOTION for Summary Judgment
                              (Prince, Marshall) (Main Document 9 replaced on 11/12/2020 per filing user) (cpeg, ).
                              (Entered: 11/10/2020)
     11/12/2020           10 ROSEBORO ORDER directing clerk to forward summary judgment explanation to
                             the opposing party and directing that party to respond in 31 days. Response due to 8
                             MOTION for Summary Judgment by 12/14/2020. Add an additional 3 days only if
                             served by mail or otherwise allowed under Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45.
                             Signed by Magistrate Judge Molly H Cherry on 11/12/2020. (cpeg, ) (Entered:
                             11/12/2020)
     11/12/2020            11 ***DOCUMENT MAILED 10 Roseboro Order, placed in U.S. Mail from Charleston
                              Clerks Office to Larone F Elijah 70214-056 FCI Williamsburg P.O. Box 340 Salters, SC
                              29590 (cpeg, ) (Entered: 11/12/2020)
     12/14/2020           12 RESPONSE in Opposition re 8 MOTION for Summary Judgment Response filed by
                             Larone F Elijah.Reply to Response to Motion due by 12/21/2020 Add an additional 3 days
                             only if served by mail or otherwise allowed under Fed. R. Civ. P. 6. (Attachments: # 1
                             Supporting Documents, # 2 Certificate of Service, # 3 Envelope)(cpeg, ) (Entered:
                             12/14/2020)
     01/11/2021           14 Case Reassigned to Judge Honorable Joseph Dawson, III. Judge Honorable Joseph F
                             Anderson, Jr no longer assigned to the case. (glev, ) (Entered: 01/11/2021)
     01/13/2021           15 ***DOCUMENT MAILED 14 Case Reassigned placed in U.S. Mail from Charleston
                             Clerks Office to Larone F Elijah 70214-056 FCI Williamsburg P.O. Box 340 Salters, SC
                             29590 (hada, ) (Entered: 01/13/2021)
     06/21/2021           17 NOTICE of Change of Address by Larone F Elijah. Note: Address updated in ECF this
                             date. (Attachments: # 1 Envelope)(cpeg, ) (Entered: 06/22/2021)
     07/29/2021           18 REPORT AND RECOMMENDATION of Magistrate Judge Molly H. Cherry. It is
                             RECOMMENDED that Respondents Motion for Summary Judgment (ECF No. 8) be
                             GRANTED and that the petition be DISMISSED. Objections to R&R due by
                             8/12/2021 Add an additional 3 days only if served by mail or otherwise allowed under
                             Fed. R. Civ. P. 6 or Fed. R. Crim. P. 45. Signed by Magistrate Judge Molly H Cherry
                             on 07/29/2021. (cpeg, ) (Entered: 07/29/2021)
     07/29/2021           19 ***DOCUMENT MAILED 18 REPORT AND RECOMMENDATION re 8 MOTION for
                             Summary Judgment filed by Bryan K Dobbs, 1 Petition for Writ of Habeas Corpus filed by
                             Larone F Elijah placed in U.S. Mail from Charleston Clerks Office to Larone F Elijah
                             70214-056 COLEMAN LOW FEDERAL CORRECTIONAL INSTITUTION Inmate
                             Mail/Parcels P.O. BOX 1031 COLEMAN, FL 33521 (cpeg, ) (Entered: 07/29/2021)
   https://ecf.scd.uscourts.gov/cgi-bin/DktRpt.pl?144811150086645-L_1_0-1                                                    2/3



                                                                            JA2
USCA4 Appeal: 21-7352                  Doc: 19                 Filed: 11/16/2022            Pg: 6 of 141

   10/3/22, 9:53 AM                                                               CM/ECF - scd

     08/12/2021           20 OBJECTION to 18 Report and Recommendation by Larone F Elijah. Reply to Objections
                             due by 8/26/2021 Add an additional 3 days only if served by mail or otherwise allowed
                             under Fed. R. Civ. P. 6. (Attachments: # 1 Certificate of Service, # 2 Envelope)(cpeg, )
                             (Entered: 08/12/2021)
     08/23/2021           21 ORDER & OPINION: The Court adopts the Report and Recommendation (DE 18 )
                             and incorporates it herein, and grants Dobbs' motion for summary judgement. It is
                             therefore ORDERED that Defendants motion for summary judgment (DE 8 )
                             isgranted; and therefore, Plaintiffs Complaint is dismissed. Further, it is ORDERED
                             that a certificate of appealability is denied. Signed by Honorable Joseph Dawson, III
                             on 08/23/2021.(cpeg, ) (Entered: 08/23/2021)
     08/23/2021           22 SUMMARY JUDGMENT in favor of Bryan K Dobbs against Larone F Elijah. (cpeg, )
                             (Entered: 08/23/2021)
     08/23/2021           23 ***DOCUMENT MAILED 21 Order on Motion for Summary Judgment, Order on Report
                             and Recommendation, 22 Summary Judgment placed in U.S. Mail from Charleston Clerks
                             Office to Larone F Elijah 70214-056 COLEMAN LOW FEDERAL CORRECTIONAL
                             INSTITUTION Inmate Mail/Parcels P.O. BOX 1031 COLEMAN, FL 33521 (cpeg, )
                             (Entered: 08/23/2021)
     09/21/2021           24 NOTICE OF APPEAL as to 21 Order on Motion for Summary Judgment,, Order on
                             Report and Recommendation, 22 Summary Judgment by Larone F Elijah. - Filing fee $
                             505. The Docketing Statement form, Transcript Order form and CJA 24 form may be
                             obtained from the Fourth Circuit website at www.ca4.uscourts.gov (Attachments: # 1
                             Envelope)(hcor, ) (Entered: 09/21/2021)
     09/21/2021           25 Transmittal Sheet for Notice of Appeal to USCA re 24 Notice of Appeal, The Clerk's
                             Office hereby certifies the record and the docket sheet available through ECF to be the
                             certified list in lieu of the record and/or the certified copy of the docket entries. (hcor, )
                             (Entered: 09/21/2021)
     09/21/2021           26 ***DOCUMENT MAILED 25 Transmittal Sheet for Notice of Appeal to USCA, placed in
                             U.S. Mail from Charleston Clerks Office to Larone F Elijah 70214-056 COLEMAN LOW
                             FEDERAL CORRECTIONAL INSTITUTION Inmate Mail/Parcels P.O. BOX 1031
                             COLEMAN, FL 33521 (hcor, ) (Entered: 09/21/2021)
     09/21/2021           27 ASSEMBLED INITIAL ELECTRONIC RECORD TRANSMITTED TO FOURTH
                             CIRCUIT COURT OF APPEALS re 24 Notice of Appeal, Electronic record successfully
                             transmitted. (hcor, ) (Entered: 09/21/2021)
     11/23/2021           29 ORDER of USCA as to 24 Notice of Appeal, filed by Larone F Elijah (cpeg, ) (Entered:
                             11/30/2021)
     09/06/2022           30 ORDER of USCA as to 24 Notice of Appeal, filed by Larone F Elijah. The court appoints
                             James Scott Ballenger to represent Larone Frederick Elijah on appeal. (apsn) (Entered:
                             09/06/2022)



                                      I                     PACER Service Center
                                      I                      Transaction Receipt
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                                      IPACER Login: IIhmchaisson IIClient Code: II                         I
                                      IDescription:     Docket
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                                                                            JA3
USCA4 Appeal: 21-7352               Doc: 19             Filed: 11/16/2022          Pg: 7 of 141
                       9:20-cv-03040-JD           Date Filed 08/24/20      Entry Number 1         Page 1 of 15




                   (PETITION FOR WRITOF HABEAS CORPUS UNDER28 U.S.C. § 2241 BY A PERSON IN STATE OR FEDERAL CUSTODY)




                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF SOUTH CAROLINA


                                                                   )
           ,L         Petitioner                                   )
          rr ,01-1 L:1- osta                                       )                    .I


                                                                   )   Civil Action No. DW+'".)$
                                                                                        ---------
                                                                              (to be assigned by Court)
                                                                   )
               '                                                   )
          R0\          'Bc·j.., 34 o Scdtv.s,~<... 2...9-&'i'O)
         (Full name under whict you were convicted;                )
         prison number; place of confinement; and                  )
         full mailing address                                      )
                                                                   )
         vs.                                                       )            Petition for Writ of Habeas Corpus
                                                                   )              Pursuant to 28 U.S.C. § 2241
                                                                   )
                      Respondent(s)                                )
           Fa            Wilhc;M~bv..~                             )
                                                                   )
                                                                   )
         (Name of Warden or other authorized                       )
         person having custody of petitioner)                      )
           S~\.\-~~.s. } Sc ;2.9 s;5D                              )


         Read the instructions attached to this form before using this form. Also, read the entire petition
         form before filling it out. Answer all of the questions, placing a N/A for those questions which
         do not apply to your claim(s).


          I.          This petition concerns: (Check applicable blank.)
                             a federal conviction
                             a federal sentence
                      _ _ pre-trial detention
                      _ _ parole
                      _ _ prison disciplinary action or other action resulting in loss of good-time credits




                                                                   1




                                                                 JA4
USCA4 Appeal: 21-7352                Doc: 19            Filed: 11/16/2022            Pg: 8 of 141                    ..,
                   9:20-cv-03040-JD            Date Filed 08/24/20           Entry Number 1           Page 2 of 15




                   ,✓s;ntence calculation or loss of sentence credits by prison
              _Lother (explain briefly                  \8                            3) \ ~ ~ . . .


                   c.. ✓ c.   c:L ~e.d u"'"J~ \~ u~c.. '2, ~~ 5"        Lb)
                                                   - - -- -
                                           BACKGROUND INFORMATION /


        2.    Your Place of Confinement (check applicable blank):
               Vfederal prison
              _ _ state prison
              _ _ local jail or detention center
                        mental health facility
              _ _ other (explain briefly) _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __




         3.   If you have been convicted and sentenced, provide the following information:
              a. Name and location of court which imposed sentence:                        U, .S.   TI,-~h:, <..T
                    C..~--v,
                                 1
                                      E~,N,C,                fc-. l~.-0 L.,       N, <-,

              b. Criminal case number:              t    ~   D7- C.✓ - l o-:D I
              C.    Charge(s) on which you were convicted:              2     \        YI lo,) l I)
                                                                                   US. <-     9
                    Cb)(1)lb).J                ?   0 ~~~.j;~,-t,'.'J        '---,A ;.,l~r

              d. Your plea was (check one):
                        not guilty
              _ /4ity
                  gm
                        nolo contendere
              e. If you were found guilty after a plea of not guilty, that finding was made by (check one):
              _ _ aJury
              _ _ a United States District Judge without a jury
              _ _ a United States Magistrate Judge without a jury


                                                                   2




                                                                  JA5
USCA4 Appeal: 21-7352       Doc: 19              Filed: 11/16/2022        Pg: 9 of 141
                9:20-cv-03040-JD        Date Filed 08/24/20      Entry Number 1        Page 3 of 15




               f. Date upon which sentence was imposed and the tenns of the sentence:
                  OL+-. 2-&+\          "O       lD 6 k               5 Ye~..,-.i      v        Q/11:~e_J
                                                                                tv\.c.""~
         4.    If you are awaiting trial on criminal charges, provide the following information:
               a. Name and location of court in whi~h char[es are pending:
                                                        !0_A
               b. Criminal case number:                           AJA
               c. Charge(s) that are pending against you:            t0    A



               d. Your attorney's name, address, and telephone nur1lber:
                                                                 10 \A

         5.    If you are detained in a mental health facility, provide the following information:
               a. How you were committed:
                     by a court for evaluation
               _ _ by a court after being found not criminally responsible
               _ _ involuntary civil commitment
               _ _ other (explain briefly) _ _ _ _ _ _ __,N.__'--+J......A--'----- -------



               b. When were you committed? _ _ _ _ _ __.../'-.,j....;:'-=---1--'JA,__,__ _ _ _ _ _ _ _ _ __
         6.    Are you presently~resented by an attorney in any case(s) related to your imprisonment?
               - -YES -v'NO
                       -
               Ifyes, explain what case(s) and list the name, address, and phone number of your attorney(s):




                PRIOR LEGAL ACTIONS CHALLENGING CONVICTION/SENTENCE


          7.   For federal prisoners, did you appeal the judgment of conviction or imposed sentence
               which you are currently serving?



                                                         3




                                                        JA6
USCA4 Appeal: 21-7352         Doc: 19               Filed: 11/16/2022         Pg: 10 of 141

                    9:20-cv-03040-JD           Date Filed 08/24/20       Entry Number 1   Page 4 of 15




                                           NO

                        If yes, provide the following appella~ courtjnformation:
                        a. Name of court:
                                                                  1
                                                \.J.S.<..A \..{ -t""'- ( , I'. ..
                        b. Case number:       ~5- Y:J 17,             l        ID - i./2, 9 9
                        c. Date filed:        Nov, ¼ z. o 'S i
                        d. Result (affirmed, ismiss        still pending):                                         of/,)
                        e. Date of order giving result: ---------"-=--1-<A=-------+-----------
                        f. Legal case citation or opinion number (if known): ----=-~-'_ , _ A - ' - - - - - - - - - - -

                        Note: If you filed more than one appeal, attach an additional sheet of the same size and
                        give all the information requested in Question 7, a through f, for each appeal. On the
                        continuation page, use number 7, a through f, to number your responses.

               8.       For federal prisoners, have you filed a motion(s) under 28 U.S.C. § 2255 with respect to
                        the challenged ~nviction(s) or sentence(s)?
                              YES ----\,L'.:.N 0

                        If yes, provide the following info~ation for each§ 2255 motion:
                        a. Name of court: - - - - - ' cA)  A
                                                        .=.--1----'C-'--------------------


                        b.   Case number:
                        c.   Date filed:
                        d.   Result (affirmed, dismissed, still pending):
                        e.   Date of order giving result: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                        f.   Case citation or opinion number (if known):

                        g. Grounds raised (list each one): - - - -L.C::::..----'-4'--"---- - - - - - - - - - - - -




                        Note: If you filed more than one motion, attach an additional sheet of the same size and
                        give all the information requested in Question 8, a through g, for each motion. On the
                        continuation page, use number 8, a through g, to number your responses.

               9.       For federal prisoners, if you did not file a motion under 28 U.S.C. § 2255, or if you filed
                        a §2255 motion and it was denied, state why your remedy under§ 2255 is inadequate or
                        ineffective to test the legality of your detention.




                                                                     4




                                                           JA7
USCA4 Appeal: 21-7352       Doc: 19           Filed: 11/16/2022         Pg: 11 of 141
                9:20-cv-03040-JD        Date Filed 08/24/20      Entry Number 1       Page 5 of 15




         10.   For federal prisoners, have you filed previous petitions for habeas corpus, or any other
               applications, petitions, or motions (other than§ 2255) with respect to the challenged
               conviction(s) or sentence(s)?
               _YES ~ O

               If yes, provide the following information for eayhlcase or motion:
               a. Type of case or motion: _ _ _ _ _ _ _      !\J_._. . .A~-------------
               b. Name of Court:
                                 --------------------------
               c.   Case number:
               d.   Date filed:
                                   --------------------------
               e.             ---------------------------
                    Result (affirmed, dismissed, still pending):
               f.   Date of order giving result:
               g.   Case citation or opinion number (if known):

               Note: If you filed more than one case or motion, attach an additional sheet of the same
               size and give all the information requested in Question 10, a through g, for each case or
               motion. On the continuation page, use number 10, a through g, to number your responses.

         11.   For federal prisoners, have you sought a certificate of appealability regarding denial of a
               motion under 28 U.S.C. § 2255, or petitions for habeas corpus, or any other applications,
               petitions, or motions with respect to the challenged conviction(s) or sentence(s)?
                     YES       NO
               If yes, give the following information for each request for certificate of appealability:
               a. Name of Court:
               b. Result:
                                     -------------------------
                           ----------------------------
               c. Date of Result:
               d. Citation or number of opinion: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               Note: If you requested a certificate of appealability more than once, attach an additional
               sheet of the same size and give all the information requested in Question 11, a through d
               for each request. On the continuation page, use number 11, a through d, to number your
               responses.

                                    ADMINISTRATIVE PROCEEDINGS
         12.   If you are challenging a Federal Bureau of Prisons decision, did you file a request and
               appe9-l through all of the available procedures in the administrative remedy program?
               _✓  _YYES __NO                                                                      .




                                                        5




                                                       JA8
USCA4 Appeal: 21-7352       Doc: 19            Filed: 11/16/2022          Pg: 12 of 141
                9:20-cv-03040-JD         Date Filed 08/24/20       Entry Number 1        Page 6 of 15




               a. If yes, did you seek an informal resolution of your complaint, the initial step under 28
               C.F.~_J 542.13?
               -.,..,YES
                  -       - -NO
               b. If yes, did you file a formal Request(s) for Administrative Remedy (Form BP-9)
               concerning the BOP decision?
               -~ - S - -NO
               c. If yes, did you file an Administrative Remedy Appeal (Fonn BP-10)?
                 /YEs          NO
               d. If yes, did you file a "final administrative appeal" under 28 C.F.R. § 542.15
               conc_9Il-ing the BOP decision?
                 /YES           NO
               e. If you answered no to any section of this question, explain why you did not use any
               available procedures in the remedy program: - - - - - - - - - - - - - - - -




         13.   If you are challenging a South Carolina Department of Corrections decision, did you file
               a request and appeal through all of the available procedures in the prisoner grievance
               system?
                    YES ✓NO
                               /         •)
                                         l'J A
                                               l·
               a. If yes, list the prisoner grievance procedures you pursued: _ _ _ _ _ _ _ _ _ __




               b. If no, explain why you did not use any available procedures in the prisoner grievance system:




               c. Did you appeal the final decision of the South Carolina Department of Corrections to
               the South Carolina Administrative Law Court?
               _YES~O
               d. Explain why, if you answered no:


                                                          6




                                                         JA9
USCA4 Appeal: 21-7352           Doc: 19             Filed: 11/16/2022         Pg: 13 of 141
                    9:20-cv-03040-JD         Date Filed 08/24/20       Entry Number 1        Page 7 of 15




                e. Did you appeal the final decision of the South Carolina Administrative Law Court to
                the South Carolina Court of Appeals?
                _YES ...,...-NO

                f. Explain why, if you answered no:        ----~N~..,t.-A____________
                g. Did you appeal the final decision of the South Carolina C6urt of Appeals to the South
                Carolina Supreme Court?
                _YES_LN O

                h. Explain why, if you answered no:

         14.        If you are a prisoner challenging a parole revocation decision, complete the following:

                    a. Date of revocation decision:                      N     \A
                    b. Did you apI1eal the revocation decision?
                    - -YES -/NO
                             -
                1



                    appeal was filed):
                                                              NA
                                                                   l
                    c. If yes, what appellate process did you pursue (i.e. what court filed in; result; if further




                    d. If you did not appeal the revocation, explain why you didn't appeal:




                                           GROUNDS FOR HABEAS RELIEF

          15.       State concisely every ground on which you claim that you are being held unlawfully.
                    Summarize briefly the facts supporting each ground. Conclusions that are not supported by

                    specific facts are insufficient. If necessary, attach additional pages to raise additional
                    grounds or provide additional facts. Do not cite any law in your statement of facts.

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                                                            JA10
USCA4 Appeal: 21-7352        Doc: 19                  Filed: 11/16/2022               Pg: 14 of 141

                 9:20-cv-03040-JD             Date Filed 08/24/20          Entry Number 1               Page 8 of 15




                        a. Ground One:
                         uV\ ,L~                               -   5 ( b) ,,      B. o, P.


                        Supporting FACTS: (state briefly without citing cases or law")
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                        H/4ve u presented Ground One in a prior court action or administrative proceeding?                               ..J,    .
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                        If yes, explain what court action or administrative proceeding, the result, and date of the
                        result, including any appeals:
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                     b. Ground Two:
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USCA4 Appeal: 21-7352               Doc: 19             Filed: 11/16/2022                         Pg: 15 of 141
                 9:20-cv-03040-JD               Date Filed 08/24/20                    Entry Number 1                        Page 9 of 15




                c. Ground Three:
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          16.   Petitioner asks that the Court grant the following relief:
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USCA4 Appeal: 21-7352        Doc: 19               Filed: 11/16/2022       Pg: 16 of 141

                9:20-cv-03040-JD          Date Filed 08/24/20       Entry Number 1       Page 10 of 15




               Petitioner also requests any other relief to which petitioner may be entitled in this proceeding.
               (Money damages are not an available remedy in habeas corpus cases.)


               I declare, certify, verify, and state under penalty of perjury that the foregoing is true and correct.


               Signed this        Iq
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USCA4 Appeal: 21-7352                                     Doc: 19                 Filed: 11/16/2022                 Pg: 17 of 141
                                              9:20-cv-03040-JD             Date Filed 08/24/20             Entry Number 1                 Page 11 of 15

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USCA4 Appeal: 21-7352                                 Doc: 19                      Filed: 11/16/2022        Pg: 18 of 141
               I:              9:20-cv-03040-JD                            Date Filed 08/24/20      Entry Number 1    Page 12 of 15
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USCA4 Appeal: 21-7352                                             Doc: 19                      Filed: 11/16/2022                              Pg: 19 of 141
                                    9:20-cv-03040-JD                                   Date Filed 08/24/20                      Entry Number 1                               Page 13 of 15

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USCA4 Appeal: 21-7352        Doc: 19         Filed: 11/16/2022     Pg: 20 of 141
                    9:20-cv-03040-JD   Date Filed 08/24/20   Entry Number 1   Page 14 of 15
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USCA4 Appeal: 21-7352                                                Doc: 19                          Filed: 11/16/2022                            Pg: 21 of 141
                                            9:20-cv-03040-JD                                Date Filed 08/24/20                       Entry Number 1                              Page 15 of 15
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USCA4 Appeal: 21-7352                Doc: 19                  Filed: 11/16/2022                 Pg: 22 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20               Entry Number 1-1                Page 1 of 38




             UNITED STATES OF AMERICA, Plaintiff· Appellee, v. BOBBY JUNIOR VENABLE, Defendant·
                                                  Appellant.
                       UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                 943 F.3d 187; 2019 U.S. App. LEXIS 34497
                                                 No. 19-6280
                                         October 30, 2019, Argued
                                        November 20, 2019, Decided


          Editorial Information: Subsequent History
          On remand at, Motion denied by United States v. Venable, 2019 U.S. Dist. LEXIS 204770 (W.D. Va.,
          Nov. 26, 2019)
          Editorial Information: Prior History


          {2019 U.S. App. LEXIS 1}Appeal from the United States District Court for the Western District of
          Virginia, at Danville. 4:97-cr-70070-JLK-1. Jackson L. Kiser, Senior District Judge.
          Disposition:
                     VACATED AND REMANDED.
          Counsel                   ARGUED: Lisa M. Larish, OFFICE OF THE FEDERAL                                                     PUBLIC
                    DEFENDER, Charlottesville, Virginia, for Appellant.
                                              Jennifer R. Bockhorst, OFFICE OF THE UNITED                                            STATES
                    ATTORNEY, Abingdon, Virginia, for Appellee.
                                              ON BRIEF: Juval 0. Scott, Federal Public Defender,                                     OFFICE
                    OF THE FEDERAL PUBLIC DEFENDER, Roanoke, Virginia, for Appellant.
                                              Thomas T. Cullen, United States Attorney, OFFICE                                       OF THE
                    UNITED STATES ATTORNEY, Roanoke, Virginia, for Appellee.
          Judges: Before AGEE, THACKER, and QUATTLEBAUM, Circuit Judges.

          CASE SUMMARYDefendant was statutorily eligible for reduction of sentence under 18 U.S.C.S. §
          3582(c)(1 )(B), as authorized by First Step Act of 2018, where he had completed original sentence and
          was in prison after revocation of supervised release, because he was still serving sentence for "covered
          offense" for purposes of First Step Act.


          OVERVIEW: HOLDINGS: [1]-The district court erred in finding defendant statutorily ineligible for a
          reduction of sentence under 18 U.S.C.S. § 3582(c)(1)(B), as authorized by the First Step Act of 2018,
          Pub. L. No. 115-391, 132 Stat. 5194 (2018), on the ground that he had completed his original term of
          imprisonment and was currently in custody following revocation of supervised release, because
          defendant's original drug conviction under 21 U.S.C.S. § 841 (a) fell within the First Step Act's definition
          of "covered offense," his offense was reclassified from a Class B felony to a Class C felony, and, given
          that the revocation sentence was part of the penalty for his initial offense, he was still serving his
          sentence for a "covered offense" for purposes of the First Step Act.


          OUTCOME: Judgment vacated and remanded.




          A04CASES                                                          1

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USCA4 Appeal: 21-7352                Doc: 19                  Filed: 11/16/2022                 Pg: 23 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20               Entry Number 1-1                Page 2 of 38




               Following Johnson's reasoning, we adopted a unitary sentence framework in United States v.
               Ketter, 908 F .3d 61, 65 (4th Cir. 2018), stating that "[t]reating custodial and supervised release terms
               as {943 F.3d 194} components of one unified sentence appropriately recognizes the interdependent
               relationship between incarceration and supervised release." But we had acknowledged this
               underlying understanding of how the components of a sentence operated for some time before
               Ketter. E.g., United States v. Evans, 159 F.3d 908, 913 (4th Cir. 1998) ("[T]he term of supervised
               release, the revocation of that term, and any additional term of imprisonment imposed for violating
               the terms of supervised release are all part of the original sentence."); United States v. Woodrup, 86
               F .3d 359, 361 (4th Cir. 1996) ("The sentence imposed upon revocation of a term of supervised
               release is an authorized{2019 U.S. App. LEXIS 15} part of the original sentence, just as the term of
               supervised release is an authorized part of the original sentence[.]").




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USCA4 Appeal: 21-7352               Doc: 19                  Filed: 11/16/2022                 Pg: 24 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20              Entry Number 1-1                Page 3 of 38




               The United States Supreme Court spoke directly to the question of whether a revocation sentence
               constitutes part of a defendant's original sentence in Johnson v. United States, 529 U.S. 694, 120 S.
               Ct. 1795, 146 L. Ed. 2d 727 (2000), which resolved a circuit split over whether revocation and
               reimprisonment should be considered "punishment for the original offense." Id. at 699. In Johnson,
               the defendant challenged an additional term of supervised release imposed after he served prison
               time for violating the terms of his first release. He argued that the district court no longer had the
               authority to impose another period of supervised release once it revoked his original sentence. Id. at
               698. The Supreme Court disagreed, determining the district court's{2019 U.S. App. LEXIS 14}
               authority to "revoke" as a "recall," rather than a "termination," of the original sentence. Id. at 706,
               712. In its most recent term, a plurality of the Supreme Court reaffirmed the relevant conclusion of
               Johnson in United States v. Haymond, 139 S. Ct. 2369, 2379-80, 204 L. Ed. 2d 897 (2019) ("[W]e ..
               . acknowledge that an accused's final sentence includes any supervised release sentence he may
               receive. Nor in saying that do we say anything new: This Court has already recognized that
               supervised release punishments arise from and are treated ... as part of the penalty for the initial
               offense.").




          A04CASES                                                         1

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USCA4 Appeal: 21-7352               Doc: 19                  Filed: 11/16/2022                  Pg: 25 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20               Entry Number 1-1                Page 4 of 38




                                 UNITED STATES, Petitionerv. ANDRE RALPH HAYMOND
                                        SUPREME COURT OF THE UNITED STATES
                  139 S. Ct. 2369; 204 L. Ed. 2d 897; 2019 U.S. LEXIS 4398; 27 Fla. L. Weekly Fed. S 1079
                                                        No. 17-1672.
                                                   June 26, 2019, Decided
                                                 February 26, 2019, Argued


          Notice:
          The LEXIS pagination of this document is subject to change pending release of the final
          published version.
          Editorial Information: Prior History


          {2019 U.S. LEXIS 1}ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS
          FOR THE TENTH CIRCUITUnited States v. Haymond, 869 F.3d 1153, 2017 U.S. App. LEXIS 16747
          (10th Cir. Okla., Aug. 31, 2017)
          Disposition:
                     869 F. 3d 1153, vacated and remanded.Summary




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USCA4 Appeal: 21-7352               Doc: 19                  Filed: 11/16/2022                 Pg: 26 of 141
                  9:20-cv-03040-JD                 Date Filed 08/24/20              Entry Number 1-1                Page 5 of 38




              To the contrary, we recognized in Apprendi and Alleyne, a "criminal prosecution" continues and
              the defendant remains an "accused" with all the rights provided by the Sixth Amendment, until a
              final sentence is imposed. See Apprendi, 530 U. S., at 481-482, 120 S. Ct. 2348, 147 L. Ed. 2d 435.
              Today, we merely acknowledge that an accused's final sentence includes any supervised release
              sentence he may receive. Nor in saying that do we say anything new: This Court has already
              recognized that supervised release punishments {139 S. Ct. 2380} arise from and are "treat[ed) ...
              as part of the penalty for the initial offense." Johnson v. United States, 529 U.S. 694, 700, 120 S. Ct.
              1795, 146 L. Ed. 2d 727 (2000). The defendant receives a term of supervised release thanks to his
              initial offense, and whether that release is later revoked or sustained, it constitutes a part of the final
              sentence for his crime. As at the initial sentencing hearing, that does not mean a jury must find every
              fact{2019 U.S. LEXIS 22} in a revocation hearing that may affect the judge's exercise of discretion
              within the range of punishments authorized by the jury's verdict.




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USCA4 Appeal: 21-7352                  Doc: 19                    Filed: 11/16/2022                     Pg: 27 of 141
                    9:20-cv-03040-JD                   Date Filed 08/24/20                  Entry Number 1-1                   Page 6 of 38




          (b) The government's various replies are unpersuasive. First, it stresses that Alleyne arose in a different
          procedural posture, but this Court has repeatedly rejected efforts to dodge the demands of the Fifth and
          Sixth Amendments by the simple expedient of relabeling a criminal prosecution. And this Court has
          already recognized that punishments for revocation of supervised release arise from and are "treat[ed] .
          . . as part of the penalty for the initial offense." Johnson v. United States, 529 U.S. 694, 700, 120 S. Ct.
          1795, 146 L. Ed. 2d 727.




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USCA4 Appeal: 21-7352               Doc: 19                  Filed: 11/16/2022                  Pg: 28 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20               Entry Number 1-1                Page 7 of 38




              The dissent asserts that "a sentence is 'imposed' at final judgment, not again and again every time a
              convicted criminal ... violates a condition of his release." Post, at_, 204 L. Ed. 2d, at 924
              (opinion of Alita, J.) (citation omitted). But saying it does not make it so. As Johnson recognized,
              when a defendant is penalized for violating the terms of his supervised release, what the court is
              really doing is adjusting the defendant's sentence for his original crime. Even the dissent recognizes
              that the sword of Damocles hangs over a defendant "every time [he] wakes up to serve a day of
              supervised release." Post, at_, 204 L. Ed. 2d, at 924.




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USCA4 Appeal: 21-7352                  Doc: 19                    Filed: 11/16/2022                     Pg: 29 of 141
                    9:20-cv-03040-JD                   Date Filed 08/24/20                  Entry Number 1-1                   Page 8 of 38




               § 3585. Calculation of a term of imprisonment

              (a) Commencement of sentence. A sentence to a term of imprisonment commences on the
          date the defendant is received in custody awaiting transportation to, or arrives voluntarily to
          commence service of sentence at, the official detention facility at which the sentence is to be
          served.
              (b) Credit for prior custody. A defendant shall be given credit toward the service of a term
          of imprisonment for any time he has spent in official detention prior to the date the sentence
          commences-

                    (1) as a result of the offense for which the sentence was imposed; or

                (2) as a result of any other charge for which the defendant was arrested after the
          commission of the offense for which the sentence was imposed;
               that has not been credited against another sentence.
          HISTORY:
          Added Oct. 12, 1984, P. L. 98-473, Title II, Ch II,§ 212(a)(2), 98 Stat. 2001.




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USCA4 Appeal: 21-7352                  Doc: 19                    Filed: 11/16/2022                     Pg: 30 of 141
                    9:20-cv-03040-JD                   Date Filed 08/24/20                  Entry Number 1-1                   Page 9 of 38




              (e) Modification of conditions or revocation. The court may, after considering the factors
          set forth in section 3553 (a)(l), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)
          [18 uses§ 3553(a)(l), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)]-

                  (l) terminate a term of supervised release and discharge the defendant released at any time
          after the expiration of one year of supervised release, pursuant to the provisions of the Federal
          Rules of Criminal Procedure relating to the modification of probation, if it is satisfied that such
          action is warranted by the conduct of the defendant released and the interest of justice;

                  (2) extend a term of supervised release if less than the maximum authorized term was
          previously imposed, and may modify, reduce, or enlarge the conditions of supervised release, at
          any time prior to the expiration or termination of the term of supervised release, pursuant to the
          provisions of the Federal Rules of Criminal Procedure relating to the modification of probation
          and the provisions applicable to the initial setting of the terms and conditions of post-release
          superv1s1on;

                  (3) revoke a term of supervised release, and require the defendant to serve in prison all or
          part of the term of supervised release authorized by statute for the offense that resulted in such
          term of supervised release without credit for time previously served on postrelease supervision, if
          the court, pursuant to the Federal Rules of Criminal Procedure applicable to revocation of
          probation or supervised release, finds by a preponderance of the evidence that the defendant
          violated a condition of supervised release, except that a defendant whose term is revoked under
          this paragraph may not be required to serve on any such revocation more than 5 years in prison if
          the offense that resulted in the term of supervised release is a class A felony, more than 3 years in
          prison if such offense is a class B felony, more than 2 years in prison if such offense is a class C or
          D felony, or more than one year in any other case; or

                  (4) order the defendant to remain at his place of residence during nonworking hours and,
          if the court so directs, to have compliance monitored by telephone or electronic signaling devices,
          except that an order under this paragraph may be imposed only as an alternative to incarceration.

             (f) Written statement of conditions.           The court shall direct that the probation officer
         provide the defendant with a written statement that sets forth all the conditions to which the term
         of supervised release is subject, and that is sufficiently clear and specific to serve as a guide for the
         defendant's conduct and for such supervision as is required.




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USCA4 Appeal: 21-7352      Doc: 19          Filed: 11/16/2022     Pg: 31 of 141
               9:20-cv-03040-JD      Date Filed 08/24/20   Entry Number 1-1    Page 10 of 38


                                                                                      WIL 1330.13A
                                                                              Administrative Remedy
                                                                                   October 17, 2006

                                                                                      Attachment A

                        DOCUMENTATION OF INFORMAL RESOLUTION ATTEMPT

     Bureau of Prisons Program Statement 1330.13, Administrative Remedy Program, {December
     22, 1995), requires, in most cases, that inmates attempt informal resolution of grievances prior
     to the filing c;1 formal written complaint. This form will be used to document your efforts
     toward informally resolving your grievance.

     Inmate Name: Larone Elijah            Reg.No.:    70214-056          Unit: 1BL

     Specific Complaint and Requested Relief: In case#7: 07-cr-10-D, I was sentenced
     to 5yrs S/R as part of the sentence. I spent from May 14,2014-July 10,2015
     (14 months)on SIR until revoked. On June 26,2019, the Supreme Ct. found
     in US v Haymond, 139 S.Ct 1826(2019), that S/R is a criminal prosecution
      an accused final sentence includes any S/R he may received". This is now
     "official detention". I ask that the (14 months) be credited. I was sentenced
     to revocation on 8/17/2015 to 3yrs consecutive. I also ask for my 7 day GCT
     from 2007, this case is "aggregated" with case#4:15-cr-70-D.

      cc: inmate#70214-056
     Efforts Made by Inmate to Informally Resolve Grievance (be specific):




     -·------------------------"--------------




     Comments:
                 ---------------------------------




                                                  JA28
USCA4 Appeal: 21-7352       Doc: 19          Filed: 11/16/2022       Pg: 32 of 141
                  9:20-cv-03040-JD    Date Filed 08/24/20    Entry Number 1-1     Page 11 of 38




          FEDERAL CORRECTIONAL INSTITUTION
          WILLIAMSBURG, SOUTH CAROLINA
          PART 8 - RESPONSE TO REQUEST FOR INFORMAL RESOLUTION ATTEMPT

           Elijah, Larone
           Reg. No. 70214-056
           UNIT: Unit 1

          This is in response to your Request for Administrative Remedy, dated October 23,
          2019, in which you claim that your time computation is incorrect.

           US vs Haymon was an inmate whom was convicted of drug charges and sex offense
           and is arguing about his revocation sentence of 5 years, violated revocation because he
           downloaded child porn ..

           You are wanting time applied to your sentence as jail credit for being under supervised
           release; that is not official detention. He will not receive any of it. You should read
           18:3585 (b) and PS 5880.58 page 1-14F for more information about "official detention" ..

           Therefore your request for an informal resolution is denied. If you are not satisfied with
           this decision, you may appeal to the Warden on an Administrative Remedy Form BP-
           229.




                                                                   Unit Ma6a



                                                                   Date




                                                    JA29
USCA4 Appeal: 21-7352                          Doc: 19                     Filed: 11/16/2022                       Pg: 33 of 141
                         9:20-cv-03040-JD                     Date Filed 08/24/20                    Entry Number 1-1                     Page 12 of 38
     U.S. DEPARTMENT OF JUSTICE                                                                 REQUEST FOR ADMINISTRATIVE REMEDY
     Federal Bureau of Prisons


                          Type or use ball- point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

     From: _Larone
            ____   Elijah
                     _ _ _ _ _ _ _ _ _ _ __                                               70214-056                              1BL FCI Williamsburg
                       LAST NAME, FIRST, MIDDLE INITIAL                                         REG. NO.                            UNIT                        INSTITUTION
      Part A- INMATE REQUEST : I do not agree with the response [see attached BP-8].      And I
        fully adopt & again incorporate herein, respectfully. In case#7:07-cr-10- D,      I was
         sentenced to 5yrs S/R as part of the original sentence. I s~ent from May 14,2014 -
         July 10,2015 (14months) on S/R until revoked. On June 26,2019, the S.Ct found in US
         v. Haymond, 139 S.Ct 1826 (2019), that S/R is a criminal prosecution "an accused
         final sentence includes any S/R he may receive". I was sentenced to revocation on
         8/17/2015 to 3yrs consecutive. I also ask for my 7 day GCT from 2007, this case is
         ''aggregated'' with case#4: 15-cr-70-D. REJECTION RESUBMITTION: 11/26/2019 WITI1 MORE
         CI.ARITY; n1y BP-9 was filed concerning my 14 months served on S/R. In the BP-8 response
         to Raymond's application the BOP stated it applied to 3583(k) invalidation only. The
         S.Ct in Haymond also found that "an accused final sentence includes any S/R/ sentence
         he raay receive". The effect of that holding was clarified in US v. Venable #19-6280
         (4th.cir.2019)L1 1/20/2019J clearly shows the response of the BP-8 response was incorrect
         , it's other holding that I request credit under due to the 14 months pursuant to
         the 5 years S/R that was imposed in 2007, and thus due to the S.Ct holding in Haymond
         it places 3583(e)(3) in conflict. As you will see, the Venable case is a ·rug case
         and it will applx to any case that S/R has been i.mposed
         11/19/2019 Resutxnit Date:11/26/2019
                       DATE
      Part B- RESPONSE




                        DATE                                                                                              WARDEN OR REGIONAL DIRECTOR
     If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.

     ORIGINAL: RETURN TO INMATE                                                                                               CASE NUMBER:              ~ 9 8 3 S- I - F h
                                                                                                                              CASE NUMBER: _ _ _ _ _ _ _ __
      Part C- RECEIPT
     Return to:
                            LAST NAME, FIRST, MIDDLE INITIAL                                          REG. NO.                            UNIT                      INSTITUTION
    SUBJECT:-----------------------------------------

                      DATE                                                                          RECIPIENT'S SIGNATURE (STAFF MEMBER)


                                                                                       JA30
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 34 of 141
              9:20-cv-03040-JD    Date Filed 08/24/20   Entry Number 1-1   Page 13 of 38

                                                 ,.


                                 REQUEST FOR ADMINISTRATIVE REMEDY
                                       Part B - Response

          Admin. Remedy Case #:998351-F2



         This is in response to your Request for Administrativ e Remedy,
         dated November 19, 2019, in which you claim that Supervised
         Release is official detention. Specifically, you are requesting
         credit for being on Supervised Release from May 14, 2014 through
         July 10, 2015.

          Program Statement 5880.28, Sentence Computation Manual, dated
          February 14, 1997, page 1-24A, section c, states in part: "Time
          spent serving a term of probation is not official detention as
          to a sentence of imprisonment. "

         Accordingly, your Request for Administrativ e Rem~dy is denied.

          If you are not satisfied with this decision, you may appeal to
          the Regional Director at Bureau of Prisons, Southeast Regional
          Office, 3800 Camp Creek Parkway, S.W., Building 2000, Atlanta,
          Georgia, 30331-6226. Your appeal must be received in the
          Regional Office within 20 calendar days of the date of this
          response.



                                                             Date




                                               JA31
USCA4 Appeal: 21-7352    Doc: 19          Filed: 11/16/2022      Pg: 35 of 141
              9:20-cv-03040-JD     Date Filed 08/24/20   Entry Number 1-1     Page 14 of 38




             LARONE FREDRICK ELIJAH, 70214-056
             WILLIAMSBURG FCI    UNT: UNIT 1     QTR: A03-105U
             P.O. BOX 220
             SALTERS,  SC 29590




                                                              ~CEIVED

                                                                  MAYO 7 2020
                                                              BY:\-k_       ............,_   ~




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USCA4 Appeal: 21-7352                       Doc: 19                        Filed: 11/16/2022                      Pg: 36 of 141
                          9:20-cv-03040-JD                     Date Filed 08/24/20                   Entry Number 1-1                        Page 15 of 38

   Ll.S. Department of Justice                                                             Regional Administrative Remedy Appeal
   Federal Bureau of Prisons


   Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
   with this appeal.
   From:    Vt't'\\".~ tli,r~b                                                     7LP1L~~oss                          l ~L FC"_ Willi:m~h.1:r~
                      LAST NAME, FIRST, MIDDLE INITIAL                                     REG. NO .                            UNIT                                         INSTITUTION

   Part A. REASON FOR APPEAL !                 I do .1ot a.sree :.'1.th the :::.-es·)onsec: in the[ ~:-8 of
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      r.10nths on S/R ui1til r~•ro':-ed. On ~-une 25,2019 , the S.Ct found in US v. jayr.iond 139 S.Ct
      187.6 (2019) 1 th-=>t S/R is ?. crirainal prosecution ·• an accus'=d fin3.l s2nt~nce includes any
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      also -~_:;;·~ fo:.:- ny 7 d"'l.y GCi.' from 2007 . thia c'.l~e i :s 'a.g3-::-2:sated" r,ith c.:i.se-;?4:15-cr-70-D.
      R~iEC:•.'Iff~ RESu3~iL:J.':1:J,_;: 11/26/2019 \1717.-~ MORE CL-\B.I'f'!; my :~?-9 lHS :'i no,1 oeing filed 1
      concerning my (14) nonths served on S/R. In the 3P-3 f'£ now 3P-9 responses to Faymond s
      application the 30P sta':.ed it on'bly applied to 3583(1,) invalidation only. Ihe S.Ct in
      Hayraond also found "that an accused final sentence includes any S/R sentence he may
      receive". The efrect of that holding was clarified in US v. ~7enable #19-6280 (4th.cir.
       2019)[11/20/2019 J clearly shotrin8 the response given in the BP-8 f1e BP-9 ,ras incorrect:
       it's oth2.r holding that I rec;uest credit under due to the (14) months pursuant to the
       5 yrs S/R th.a:. ,Js.s imposed in 2007, and thus due to the S.Ct holding in Haymond it places
       3583(e)(3) in conflict. As you ,rill see, the Venable case is a drug case and it will apply
       to any case th?t S/R has been imposed.[See BP-8 ~ejection DP-9 response by JOP attached]
       [4 copies of 22chJ. "This is NOP "official detention" after 9:aymond's su tantive rulino."                         0

       12/17/2019                                                          /s/                          ··
                   DATE

    Part B · RESPONSE

                                                                                                                            ~.           ,_ ...... - ---.
                                                                                                                                               .       . ·-- ~-·· . ·-- -                     -·
                                                                                                                       ' . ,,                            . L
                                                                                                                       rt
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                                                                                                                                     .                                                    ,, ' '   ,,
                                                                                                                                                                                      j; ,.
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                                                                                                                                                                                          I
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                                                                                                                                                                                      I ...
                                                                                                                                                                                      iI
                                                                                                                                                                                  •   I
                                                                                                                                               I     •   ••

                                                                                                                                                                                 •.--.· f:O
                                                                                                                                            _...,.   _____     .. .•'.
                                                                                                                                                                   . . .\.




                    DATE                                                                                                         REGIONAL DIRECTOR
    If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
    days of the date of this response .                                                                                                                                      3
    ORIGIN A= RETURN TO INMATE -                       -       -   -   -   -   -   -   -    -    -    -   -   -    -   CASE NUMBER:                            q9g 5 J-f..- I -
    Part C . RECEIPT                                                                                                   CASE NUMBER: _ _ _ _ _ _ _ __

    Return to: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    LAST NAME, FIRST, MIDDLE INITIAL   REG. NO.          UNIT          INSTITUTION
    SUBJECT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                    DATE                                                                        SIGNATURE, RECIPIENT OF REGIONAL APPEAL
                                                                                                                                                                                                        BP-230113\


                                                                                       JA33
USCA4 Appeal: 21-7352          Doc: 19           Filed: 11/16/2022        Pg: 37 of 141
                 9:20-cv-03040-JD        Date Filed 08/24/20     Entry Number 1-1       Page 16 of 38


    Regional Administrative Remedy Appeal No. 998351-R1
    Part B - Response

                                                                                             er 19, 2019.
    This is in response to your Regional Administrative Remedy Appeal receipted Decemb
                                                                                           wherein you
    You are appealing the Warden's response to your institution Administrative Remedy
                                                                                     it is considered
    allege time spent of supervised release should be applied as jail credit because
                                                            your 7 days  Good   Conduc  t Time credit (GCT)
    "official detention." You further request to be awarded
    from your original sentence.
                                                                                                    imprisonment in
    An investigation into this matter reveals you were sentenced to a term of 180 months
                                                                                                Distribute Cocaine
    U.S. District Court, Eastern District of North Carolina, for Possession with Intent to
                                                             ment  on  May 23,  2014.    You    violated the terms
    Base. You were released from that term of imprison
                                                                              ment.    In accorda     nce with
    of your Supervised Release and were sentenced 36 months imprison
                                                                                           "A    revocati on of a
    Program Statement 5880.28, Sentence Computation Manual (CCCA OF 1984),
                                                                                                 date on which it is
    term of supervised release cannot begin to run, or commence, any earlier than the
                                                                                                 treated the same
    revoked. A supervised release revocation term, for calculation purposes, shall be
                                                                           other  NL  [New    Law]    sentences
    as any other NL [New Law] sentence and may be aggregated with
                                                                                        "   Convers     ely, your
    following the same aggregation policy as discussed" previously in the manual.
                                                                                               the new term of
    sentences cannot be aggregated because they were imposed and served prior to
                                                                                                taken into account
    imprisonment being imposed. Therefore, the original term of imprisonment is not
                                                                First Step Act.  Your   sentenc     e computation
    with relation to Good Time Credits (GTC) as part of the
                                                                            ation Center    in   accorda  nce with
    was reviewed and updated by the Designation & Sentence Comput
                                                                                                 ber  21, 2025.
    the First Step Act on March 17, 2020. Your projected release date is now Septem
                                                                                              Page 1 - 14G,
     In accordance with Program Statement 5880.28, Sentence Computation Manual,
                                                              e court held   the time   spent    under restrictive
     Reno V. Koray, 115 S.Ct 2021 (1995), the U.S. Suprem
                                                                            to  prior custody     time under 18
     conditions of release was not official detention entitling an inmate
                                                                                        18 U.S.C.     § 3585(b)
     U.S.C. § 3585(b). The court found the interaction of the Bail Reform Act and
                                                                                              (with no credit for
     supported the Bureau of Prison interpretation that a defendant is either released
                                                                                                 n.) Therefore,
     time under conditions of release) or detained (with credit for time in official detentio
                                                                conditio n of  bond   or release     on own
     the Koray decision means the time spent as a result of a
                                                                                 e.   Furtherm     ore, according to
     recognizance is not creditable to the service of the subsequent sentenc
                                                                                            "... a  defend ant is
     Program Statement 5880.28, Sentence Computation Manual (CCCA OF 1984),
                                                                                                 severity or
     not entitled to any time credit off the subsequent sentence, regardless of the
                                                               n of bond   or   release   on   own
     degree of restrictions, if such release was a conditio
                                                                                                 As such, all
      recognizance, or as a condition of parole, probation or supervised release."
      applicable jail credit has been awarded in accordance with policy and statutes.
                                                                                      this response, you
     Accordingly, your Regional Administrative Remedy is denied. If dissatisfied with
     may appeal to the Office of General Counsel, Bureau of Prisons,
                                                                                       the Office of
     320 First Street, NW, Washington, DC, 20534. Your appeal must be received in
     General Counsel within 30 calendar days of the date of this




                                                        JA34
USCA4 Appeal: 21-7352    Doc: 19          Filed: 11/16/2022      Pg: 38 of 141
              9:20-cv-03040-JD     Date Filed 08/24/20   Entry Number 1-1      Page 17 of 38




            LARONE FRE DRICK ELIJ
            WILLIAM
            P.O. BO~BURG FCI     : , 70214-056
                       SC 29590
            SALTERS I 220          T: UNIT 1     QTR: A03-105U




                                                          RECEIVED

                                                                 AUG O4 2020
                                                           BY:-..~__.../




                                                 JA35
USCA4 Appeal: 21-7352                         Doc: 19                    Filed: 11/16/2022                   Pg: 39 of 141
                              9:20-cv-03040-JD              Date Filed 08/24/20               Entry Number 1-1 Page 18 of 38
       U.S. Department of Justice                                                          Central Office Administrative Remedy Appeal
                        I

       Federal Bureau of Prisons ·     ·1 DI'=- JS lO             oot,C) S85"'/ 73d).b
       Type or use ball-point pen. If attachments are needed, submit four copies. One copy each of the completed BP-229(13) and BP-230(13), including any attach-
       ments must be submitted with this appeal.
       From:            Larone F. Elijah                                          70214-05::•                            lBL         FCI Williamsburg
                             LAST NAME, FIRST, MIDDLE INITIAL                              REG. NO.                         UNIT                        lNSTITUTION

            PartA-REASONFOR APPEAL: I do not agree with the responses in the [BP-8,9,10].
  ~ A n d I fully adopt & again incorporate herein, respectfully. In case#7:
             ;G 07-cr-10-D1, I was sentenced to 5 years S/R as part of the original sentence. I spent
        1 ~~ , from 5/14/2014 - 7/10/2015 (14
                                                        months) on S/R until revoked. On 5/26/2019, the S.Ct
   _,...:),. ~ found in US v Raymond, 139 S.Ct 2319 (2019), that S/R is a criminal prosecution, "an
        ~ Q.. accused final sentence includes any S/R he may receive". I was sentenced for revocation
        ~\ ~ on 8/17/2015 to 3S months consecutive to any other sentence. I also ask for my 7 day
 ~ \ll L.- GCT from 2007, this case is "aggregated" with case:l,~4:15-cr-70-D1. In the BP-8, 9,10
 ~~"'X' responses to Haymond's application concerning my (14) months served on S/R the FBOP
 : 0            stated it only applied to 3583(k) invalidation only. The S.Ct in Haymond also found
 )            ~ "that an accused final sentence includes ANY S/R sentence he may receive". The effect
 S j            of that holding was clarified in US v. Venable#19-6280 4th. circuit 11/20/2019, clearly
 : ,~ u showing the responses from FBOP in the BP-8 1 9,10 was incorrect, years              it's other holding that
                                                                                                   S/R that was
         <::l~ -I  request     credit under  due  to   the (14)  months  pursuant to the  5
   j
 t o) imposed in 2007, and thus due to the S.Ct holding in Haymond                       it places 3583(e)(3) in
                 c:i .fl.;_:::t uith th<>t rulin~. As yolj uill al:so s~e the Velrnble cqse is a dru~
       .C c;.a-:;e and ~ayr.iond~ ,:- .. liug will 3. ? 1ly to any_case ~hcit S/~ h~i \1een imp~s"d.
       ~         LS8e Pi.2-8,9 , 10 responses by FBOP attachedJL4 copies ""';"2.hJ. 1.hic:;                   ~}Oh
                 "official detention"af           ter    Haynond   's  s bstanti,re  rul  i.n-~.              'I.;:,.-{
                       DATE 511/'f/ 2 l) 2 0     C\.l, ~ Lf..'l-1)
                                                                      1S                       1
                                                                                      SIGNATURE OF

       Part B - RESPONSE




                            DATE                                                                                              GENERAL COUNSEL

        ORIGINAL: RETURN TO INMATE                                                                                                                                          ·A"-I_ _
                                                                                                                        CASE NUMBER: _qq...L...A..::....1'=5...;...~l:.......a...

        Part C - RECEIPT                                                                                                CASE NUMBER: _ _ _ _ _ _ _ __

        Return to : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                        LAST NAME, FIRST, MIDDLE INITIAL REG . NO.         UNIT         INSTITUTION
        SUBJECT: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                            DATE                                                        SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL
                                                                                                                                                                         BP-231(13)
                                                                                                                                                                         JUNE2002
        I IP"-11\/1\J
                                                     @"""""""""""'"'""
                                                                                   JA36
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 40 of 141
              9:20-cv-03040-JD    Date Filed 08/24/20   Entry Number 1-1   Page 19 of 38




          Administrativ e Remedy No. 998351-Al
          Part B - Response

          This is in response to your Central Office Administrativ e Remedy
          Appeal, wherein you contend that under the First Step Act of
          2018 (FSA), you are eligible for additional Good Conduct Time
          (GCT) credit toward a previously served term of confinement.
          You specifically request the Bureau of Prisons (Bureau) to apply
          7 days GCT toward your current term of imprisonment.

          A review of your record revealed on October 25, 2007, the United
          States District Court for the Eastern District of North Carolina
          sentenced you to a 108-month term of imprisonment for Possession
          With Intent to Distribute More Than 5 Grams of Cocaine Base, a
          Quantity of Cocaine, a Quantity of Heroin, and a Quantity of
          Methylenedioxy rnethamphetam ine, case number 7:07-CR-10-1-D .
          You earned a total of 399 days GCT credits during the service of
          this sentence.    You released from this sentence on May 23, 2014,
          with 5-years supervision.

          On June 11, 2015, you were arrested by North Carolina state
          authorities for Trafficking Cocaine (x2), case number 15CR54389,
          and Possession With Intent to Sell and Deliver Schedule I
          Controlled Substance, Possession With the Intent to Manufacture,
          Sell, or Deliver Heroin, and Maintaining a Vehicle, Dwelling, or
          Place for Controlled Substances, case number 15CR54390. On
          June 18, 2015, you released from state custody via bond, and
          state charges remained pending.   On July 10, 2015, you were
          arrested by the United States  Marshals Service (USMS) for
          Supervised Release Violation in case number 7:07-CR-10-1-D .   In
          addition to new charges for Possession With the Intent to
          Distribute a Quantity of Cocaine, A Quantity of Heroin, and a
          Quantity of 3, 4-Methlylened iocy-N-ethylc athinone in case number
          4:15-CR-70-1-D .

          On August 17, 2015, the United States District Court for the
          Eastern District of North Carolina sentenced you to an 36-month
          term of imprisonment for a Supervised Release Violation, case
          number 7:07-CR-10-lD .  On November 24, 2015, Pitt County, North
          Carolina dismissed state charges in lieu of federal prosecution
          in case numbers 15CR54389, and 15CR54390. On March 7, 2017, the
          United States District Court for the Eastern District of North
          Carolina imposed an additional 108-month term of imprisonment
          for Possession With the Intent to Distribute a Quantity of
          Cocaine, A Quantity of Heroin, and a Quantity of 3, 4-
          Methlylenedio cy-N-ethylcath inone. The respective judgment was
          ordered to run consecutive to any other sentence imposed.




                                               JA37
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 41 of 141
              9:20-cv-03040-JD    Date Filed 08/24/20   Entry Number 1-1   Page 20 of 38




          Administrative Remedy No. 998351-Al
          Part B - Response
          Page 2

          Therefore, the Bureau computed a 144-month aggregate term of
          imprisonment.

          On March 17, 2020, the Bureau computed your sentence computation
          to reflect 54 days of GCT credits earned pursuant to the FSA.
          You have currently earned 216 days GCT, and projected to earn
          648 days.  Your projected release date is September 21, 2025.

          Accordingly, the provisions of the new law took effect on
          July 19, 2019.  The changes made to the GCT earnings were made
          retroactive, but applicable only to sentences not yet satisfied
          as of July 19, 2019; therefore any sentence satisfied prior to
          the effective date of the FSA is not eligible to receive
          additional GCT credits. You released from your prior federal
          sentence before the enactment of the FSA.

          Your sentence has been computed as directed by federal statute,
          and Bureau of Prisons Program Statement 5880.28, Sentence
          Computation Manual (CCCA of 1984).

          Accordingly, your appeal is denied.




          Date                                  Ian Connors, Administrator
                                                National Inmate Appeals        /l~




                                               JA38
USCA4 Appeal: 21-7352                  Doc: 19                  Filed: 11/16/2022    Pg: 42 of 141
                   9:20-cv-03040-JD                Date Filed 08/24/20        Entry Number 1-1     Page 21 of 38

          WILH3, 540·*23 *                            SENTENCE MONITORING                          08-05-2020
        PAGE 001         *                              COMPUTATION DATA                           13:17:01
                                                        AS OF 08-05-2020

        REGNO . . : 70214-056 NAME: ELIJAH, LARONE FREDRICK


        FBI NO ...........         :   538647PAS                         DATE OF BIRTH: 02-06-1976      AGE:    44
        ARSl .............         :   WIL/A-DES
        UNIT .............         :   UNIT 1                             QUARTERS ..... : A03-105U
        DETAINERS ........         :   NO                                 NOTIFICATIONS: NO

        HOME DETENTION ELIGIBILITY DATE: 03-21-2025

        THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
        THE INMATE IS PROJECTED FOR RELEASE:  09-21-2025 VIA GCT REL


        ----------------------CURR ENT JUDGMENT/WARRANT NO: 020 ------------------------

        COURT OF JURISDICTION ........... :                     NORTH CAROLINA, EASTERN DISTRICT
        DOCKET NUMBER . . . . . . . . . . . . . . . . . . . :   7:07-CR-10-lD
        JUDGE .......................... .. :                   DEVER
        DATE SENTENCED/PROBATION IMPOSED:                       10-25-2007
        DATE SUPERVISION REVOKED ........ :                     08-17-2015
        TYPE OF SUPERVISION REVOKED ..... :                     REG
        DATE COMMITTED . . . . . . . . . . . . . . . . . . :    09-14-2015
        HOW COMMITTED . . . . . . . . . . . . . . . . . . . :   COMMIT OF SUPERVISED REL VIOL
        PROBATION IMPOSED . . . . . . . . . . . . . . . :       NO

                                   FELONY ASSESS           MISDMNR ASSESS FINES                COSTS
        NON-COMMITTED.:            $100.00                 $00.00         $00.00              $00.00

        RESTITUTION ... :          PROPERTY:         NO    SERVICES:     NO         AMOUNT:   $00. 00

        -------------------------CU RRENT OBLIGATION NO: 010 ------------------------ ---
        OFFENSE CODE .... : 409       21:841 & 846 SEC 841-851
        OFF/CHG: 21:84l(A) (1) POSSESSION WITH INTENT TO DISTRIBUTE MORE THAN 5
                   GRAMS OF COCAINE BASE, A QUANTITY OF COCAINE, A QUANTITY OF
                   HEROIN, AND A QUANTITY OF METHYLENEDIOXYMETHAMPHETAMINE

         SENTENCE PROCEDURE ............. : SUPERVISED RELEASE VIOLATION PLRA
         SENTENCE IMPOSED/TIME TO SERVE.:                     36 MONTHS
         DATE OF OFFENSE . . . . . . . . . . . . . . . . : 06-09-2006




        G0002              MORE PAGES TO FOLLOW . . .




                                                                      JA39
USCA4 Appeal: 21-7352                     Doc: 19                       Filed: 11/16/2022    Pg: 43 of 141
                     9:20-cv-03040-JD                     Date Filed 08/24/20         Entry Number 1-1         Page 22 of 38


          WILH3· 540·*23 *                                   SENTENCE MONITORING                      *        08-05-2020
        PAGE 002         *                                     COMPUTATION DATA                       *        13:17:01
                                                               AS OF 08-05-2020

        REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK



        ----------------------CURRENT JUDGMENT/WARRANT NO: 030 ------------------------

        COURT OF JURISDICTION ........... :                             NORTH CAROLINA, EASTERN DISTRICT
        DOCKET NUMBER . . . . . . . . . . . . . . . . . . . :           4:15-CR-70-1-D
        JUDGE . . . . . . . . . . . . . . . . . . . . . . . . . . . :   DEVER
        DATE SENTENCED/PROBATION IMPOSED:                               03-07-2017
        DATE COMMITTED . . . . . . . . . . . . . . . . . . :            03-10-2017
        HOW COMMITTED . . . . . . . . . . . . . . . . . . . :           US DISTRICT COURT COMMITMENT
        PROBATION IMPOSED . . . . . . . . . . . . . . . :               NO

                                       FELONY ASSESS               MISDMNR ASSESS FINES                    COSTS
        NON-COMMITTED.:                $100.00                     $00.00         $00.00                  $00.00

        RESTITUTION ... :              PROPERTY:            NO     SERVICES:     NO         AMOUNT:       $00. 00

        -------------------------CURRENT OBLIGATION NO: 010 ---------------------------
        OFFENSE CODE .... : 381       21:841 SCH II NARCOTIC
        OFF/CHG: 21:84l(A) (1), 21:841(B) (1) (C) POSSESSION WITH THE INTENT TO
                  DISTRIBUTE A QUANTITY OF COCAINE, A QUANTITY OF HEROIN & A
                   QUANTITY OF 3,4-METHLYLENEDIOCY-N-ETHYLCATHINONE

         SENTENCE PROCEDURE ............. : SUPERVISED RELEASE VIOLATION PLRA
         SENTENCE IMPOSED/TIME TO SERVE.:                      108 MONTHS
         TERM OF SUPERVISION ............ :                      3 YEARS
         RELATIONSHIP OF THIS OBLIGATION
          TO OTHERS FOR THE OFFENDER .... : 030 CS 020
         DATE OF · OFFENSE . . . . . . . . . . . . . . . . : 06-11-2015




        G0002                 MORE PAGES TO FOLLOW . . .




                                                                              JA40
USCA4 Appeal: 21-7352                  Doc: 19                    Filed: 11/16/2022      Pg: 44 of 141
                    9:20-cv-03040-JD                 Date Filed 08/24/20         Entry Number 1-1    Page 23 of 38


          WILH3' 540'*23 *                              SENTENCE MONITORING                          08-05-2020
        PAGE 003         *                                COMPUTATION DATA                           13:17:01
                                                          AS OF 08-05-2020

        REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK


        -------------------------CU RRENT COMPUTATION NO: 020 ------------------------ --

        COMPUTATION 020 WAS LAST UPDATED ON 03-17-2020 AT DSC AUTOMATICALLY
        COMPUTATION CERTIFIED ON 04-13-2017 BY DESIG/SENTENCE COMPUTATION CTR

        THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
        CURRENT COMPUTATION 020: 020 010, 030 010

        DATE COMPUTATION BEGAN ..........                     : 08-17-2015
        AGGREGATED SENTENCE PROCEDURE ...                     : AGGREGATE GROUP BOO PLRA
        TOTAL TERM IN EFFECT . . . . . . . . . . . .          :   144 MONTHS
        TOTAL TERM IN EFFECT CONVERTED ..                     :    12 YEARS
        AGGREGATED TERM OF SUPERVISION ..                     :     3 YEARS
        EARLIEST DATE OF OFFENSE ........                     : 06-09-2006

        JAIL CREDIT . . . . . . . . . . . . . . . . . . . . . :     FROM DATE      THRU DATE
                                                                    06-11-2015     06-18-2015
                                                                    07-10-2015     08-16-2015

        TOTAL PRIOR CREDIT TIME ......... :                       46
        TOTAL INOPERATIVE TIME .......... :                       0
        TOTAL GCT EARNED AND PROJECTED .. :                       648
        TOTAL GCT EARNED . . . . . . . . . . . . . . . . :        270
        STATUTORY RELEASE DATE PROJECTED:                         09-21-2025
        TWO THIRDS DATE . . . . . . . . . . . . . . . . . :       07-02-2023
        EXPIRATION FULL TERM DATE ....... :                       07-01-2027
        TIME SERVED . . . . . . . . . . . . . . . . . . . . . :        5 YEARS        1 MONTHS      4 DAYS
        PERCENTAGE OF FULL TERM SERVED .. :                         42.4
        PERCENT OF STATUTORY TERM SERVED:                           49.8




        G0002               MORE PAGES TO FOLLOW . . .




                                                                        JA41
USCA4 Appeal: 21-7352       Doc: 19          Filed: 11/16/2022     Pg: 45 of 141
                9:20-cv-03040-JD      Date Filed 08/24/20   Entry Number 1-1   Page 24 of 38


          WILH3' S4a*23 *              SENTENCE MONITORING              *      08-05-2020
        PAGE 004 OF 004 *                COMPUTATION DATA               *      13:17:01
                                         AS OF 08-05-2020

        REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK



        PROJECTED SATISFACTION DATE ..... : 09-21-2025
        PROJECTED SATISFACTION METHOD ... : GCT REL

        REMARKS ....... : 3-14-17 RCVD 2ND SENT 030 CS TO 020 C/JLJ;
                          03/17/2020 FSA GCT UPDATE- 4/CLW.




        GOOOO       TRANSACTION SUCCESSFULLY COMPLETED




                                                   JA42
USCA4 Appeal: 21-7352                     Doc: 19                Filed: 11/16/2022                   Pg: 46 of 141
                     9:20-cv-03040-JD                 Date Filed 08/24/20                Entry Number 1-1                  Page 25 of 38


          WILH3 542°*22 *                                SENTENCE MONITORING                                   *           08-05-2020
        PAGE 001 OF 001 *                                  GOOD TIME DATA                                      *           13:17:25
                                                          AS OF 08-05-2020

        REGNO ... : 70214-056                    NAME: ELIJAH, LARONE FREDRICK
        ARS 1 ... : WIL A-DES                                                                           PLRA
        COMPUTATION NUMBER .. :                  020                                            PRT       ACT DT:
        LAST UPDATED:              DATE.:        03-17-2020                           FACL .. : DSC            CALC:         AUTOMATIC
        UNIT . . . . . . . . . . . . . . . . :   UNIT 1                               QUARTERS . . . . . . . . . . . . :     A03-105U
        DATE COMP BEGINS .... :                  08-17-2015                           COMP STATUS ......... :                COMPLETE
        TOTAL JAIL CREDIT ... :                  46                                   TOTAL INOP TIME ..... :                0
        CURRENT REL DT ...... :                  10-04-2026 SUN                       EXPIRES FULL TERM DT:                  07-01-2027
        PROJ SATISFACT DT ... :                  09-21-2025 SUN                       PROJ SATISF METHOD .. :                GCT REL
        ACTUAL SATISFACT DT.:                                                         ACTUAL SATISF METHOD:
        DAYS REMAINING ...... :                                                       FINAL PUBLC LAW DAYS:
        GED PART STATUS ..... :                                                       DEPORT ORDER DATED .. :

        ---------------------------GOOD CONDUCT TIME AMOUNTS---------------------------

            START                 STOP               MAX POSSIBLE TO                 ACTUAL TOTALS                 VESTED       VESTED
            DATE                  DATE               DIS      FFT                   DIS   FFT                      AMOUNT        DATE
          07-02-2015            07-01-2016            54       54
          07-02-2016            07-01-2017            54      108
          07-02-2017            07-01-2018            54      162
          07-02-2018            07-01-2019            54      216
          07-02-2019            07-01-2020            54      270
          07-02-2020            07-01-2021            54
          07-02-2021            07-01-2022            54
          07-02-2022            07-01-2023            54
          07-02-2023            07-01-2024            54
          07-02-2024            07-01-2025            54
          07-02-2025            07-01-2026            54
          07-02-2026            07-01-2027            54

                 TOTAL EARNED AMOUNT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . :      270
                 TOTAL EARNED AND PROJECTED AMOUNT . . . . . . . . . . . . . . . . . . . . . . . . . . . . :                    648




        GOODS                 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED




                                                                            JA43
USCA4 Appeal: 21-7352                     Doc: 19                 Filed: 11/16/2022                Pg: 47 of 141
                      9:20-cv-03040-JD                  Date Filed 08/24/20           Entry Number 1-1                Page 26 of 38



     AO 245B (Rev. 02/16) Judgment in a Criminal Case
                          Sheet I


                                              UN1TED STATES DISTRICT COURT
                                                           Eastern District of North Carolina
                                                                              )
                   UNITED STATES OF AMERICA                                   )      JUDGMENT IN A CRIMINAL CASE
                                       v.                                     )
                      LARONE FREDERICK ELIJAH                                 )
                                                                              )       Case Number: 4:15-CR-70-1-D
                                                                              )      USM Number: 70214-056
                                                                             .)
                                                                              )        Brian M. Aus (stand-by counsel)
                                                                              )       Defendant's Attorney
     THE DEFENDANT:
     Ill pleaded guilty to count(s)         1 of the Indictment

     D pleaded nolo contendere to count(s)
        which was accepted by the court.
     D was found guilty on count(s)
        after a plea of not guilty.

     The defendant is adjudicated guilty of these offenses:

     Title & Section                   Nature of Offense                                                        Offense Ended               Count
      21 U.S.C. § 841 (a)(1 ),           Possession With the Intent to Distribute a Quantity of                  6/11/2015                    1
      21 U.S.C. § 841(b)(1)(C)           Cocaine, a Quantity of Heroin, and a Quantity of
                                         3,4-Methlylenediocy-N-ethylcathinone

            The defendant is sentenced as provided in pages 2 through         __6 _ _ of this judgment. The sentence is imposed pursuant to
     the Sentencing Reform Act of 1984.
     D The defendant has been found not guilty on count(s)
     □ Count(s)
                     ------------D                                is   D are dismissed on the motion of the United States.
              It is ordered that the defendant must notify the United States attorney for this district within 30 da:,,s of any change of name, residence,
     or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to pay restitution,
     the defenclant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                                                                             I
                                                                              3/7/2017
                                                                             Date oflmposition of Judgment




                                                                              James C. Dever Ill, Chief United States District Judge
                                                                             Name and Title of Judge

                                                                              3/7/2017
                                                                             Date




                                 Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 1 of 6




                                                                          JA44
USCA4 Appeal: 21-7352                    Doc: 19                   Filed: 11/16/2022               Pg: 48 of 141
                        9:20-cv-03040-JD              Date Filed 08/24/20             Entry Number 1-1             Page 27 of 38




     AO 245B (Rev. 02/16) Judgment in Criminal Case
                            Sheet 2 - fmprisonment
                                                                                                         Judgment - Page     2    of   6
      DEFENDANT: LARONE FREDERICK ELIJAH
      CASE NUMBER: 4:15-CR-70-1-D

                                                                   IMPRISONMENT
                 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
      term of:

       Count 1 - 108 months and shall run consecutively to any other sentence imposed

       The court orders that the defendant provide support for all dependents while incarcerated.

          Ill The court makes the following recommendations to the Bureau of Prisons:

       The court recommends that the defendant receive the 500 hour Intensive substance abuse treatment program, and
       vocational and educational training opportunities. The court recommends that he serve his term in FCI Butner, NC.

          Ill The defendant is remanded to the custody of the United States Marshal.

          D The defendant shall surrender to the United States Marshal for this district:
                                                                     D p.m.
                           -------- D
                 D at                                       a.m.                 on

                 D as notified by the United States Marshal.

          D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 D before 2 p.m. on
                 D as notified by the United States Marshal.
                 D as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
      I have executed this judgment as follows:




                  Defendant delivered on                                                      to

      a _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                                By-------- --==--.,,..-    .,--=-=::-, --,------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                  Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 2 of 6



                                                                          JA45
USCA4 Appeal: 21-7352                     Doc: 19                  Filed: 11/16/2022                   Pg: 49 of 141
                       9:20-cv-03040-JD                   Date Filed 08/24/20            Entry Number 1-1                      Page 28 of 38




     AO 245B (Rev. 02/16) Judgment in a Criminal Case
                           Sheet 3 - Supervised Release
                                                                                                                       Judgment-Page   ___1__   of   6
      DEFENDANT: LARONE FREDERICK ELIJAH
      CASE NUMBER: 4:15-CR-70-1-D
                                                              SUPERVISED RELEASE
      Upon release from imprisonment, the defendant shall be on supervised release for a term of:
       Count 1 - 3 years

              The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
      custody of the Bureau of Prisons.
      The defendant shall not commit another federal, state or local crime.
      The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
      substance. The defendant shall submit to one drug test within 15 days of release from imprisonment anil at least two periodic drug tests
      thereafter, as determined by the court.
      D The above drug testing      condition is suspended, based on the court's detennination that the defendant poses a low risk of
           future substance abuse. (Check, ifapplicable.)
              The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, Ifapplicable.)
              The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

      D The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by thef.robat10n officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
              works, is a studen , or was convicted of a qualifying offense. (Check, if applicable.)

      D The defendant shall participate in an approved program for domestic violence.              (Check,   If applicable.)
                If this judgment imposes.a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
      Schedule of Payments sheet of this judgment.
                                                  "
                The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
      on the attached    page.

                                              STANDARD CONDITIONS OF SUPERVISION
         1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
         2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
         4)     the defendant shall support his or her dependents and meet other family responsibilities;
         5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
         6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)     the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
                felony, unless granted permission to do so by the probation officer;
        10)     the defendant shall P.ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observeil in plain view of the probation officer;
        11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
                penmss1on of the court; and
        13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
                record or Rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.




                                  Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 3 of 6



                                                                             JA46
USCA4 Appeal: 21-7352                     Doc: 19               Filed: 11/16/2022      Pg: 50 of 141
                      9:20-cv-03040-JD                   Date Filed 08/24/20   Entry Number 1-1          Page 29 of 38



     AO 245B (Rev. 02/16) Judgment in a Criminal Case:
             Sheet 3C - Supervised Release
                                                                                                  Judgment-Page   _A__   of _   ___;6_ _
      DEFENDANT: LARONE FREDERICK ELIJAH
      CASE NUMBER: 4:15-CR-70-1-D

                                                SPECIAL CONDITIONS OF SUPERVISION
      The defendant shall provide the probation office with access to any requested financial information.
                                                                                                               of the probation
      The defendant shall not incur new credit charges or open additional lines of credit without the approval
      office.
                                                                                                                       of narcotic
       The defendant shall participate as directed in a program approved by the probation office for the treatment
                                       alcohol  dependency   which  will include urinalysis testing or other drug detection measures
       addiction, drug dependency, or
       and may require residence or participation in a residential treatment facility.
                                                                                                                    of the probation
       The defendant shall consent to a warrantless search by a United States probation officer or, at the request
                                                                      person and premises, including any vehicle, to determine
       officer, any other law enforcement officer, of the defendant's
       compliance with the   conditions of this judgment.

       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       The defendant shall support his dependent(s).




                                   Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 4 of 6



                                                                      JA47
USCA4 Appeal: 21-7352                     Doc: 19                    Filed: 11/16/2022              Pg: 51 of 141
                       9:20-cv-03040-JD                  Date Filed 08/24/20                 Entry Number 1-1          Page 30 of 38


     AO 245B (Rev. 02/16) Judgment in a Criminal Case
              Sheet S - Criminal Monetary Penalties·
                                                                                                          Judgment - Page   --'--5_ of           6
      DEFENDANT: LARONE FREDERICK ELIJAH
      CASE NUMBER: 4:15-CR-70-1-D
                                                        CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                              Assessment                                         Fine                              Restitution
      TOTALS              $   100.00                                         $                                 $



                                                                                    Amended Judgment in a Criminal Case (AO 245CJ will be entered
      D The detennination ofrestitution is deferred until
        after such determination.
                                                                - - -. An
      D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned8ayment, unless specified otherwise in
           the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664 1), all nonfederal victims must be paid
           before the United States is paid.

        Name of Payee                                                              Total Loss*       Restitution Ordered         Priority or Percentage




       TOTALS                                $                        0.00              $                 0.00
                                                 ---------                                  -------- -
       D      Restitution amount ordered pursuant to plea agreement          $
                                                                                 ----------
       D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
              fifteenth day after the date of the judgment, pursuantto 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
              to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       D      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
              D the interest requirement is waived for the           D fine       D restitution.

              D the interest requirement for the          D   fine     O restitution is modified as follows:

        • Findings for the total amount oflosses are required under Chapters 109A, 110, 11 0A, and 113A of Title 18 for offenses committed on or after
        September 13, 1994, but before April 23, 199i'i.

                                   Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 5 of 6




                                                                                 JA48
USCA4 Appeal: 21-7352                     Doc: 19                Filed: 11/16/2022                  Pg: 52 of 141
                      9:20-cv-03040-JD                  Date Filed 08/24/20             Entry Number 1-1                Page 31 of 38


     AO 245B (Rev. 02/16) Judgment in a Criminal Ca,.
             Sheet 6 - Schedule of Payments
                                                                                                                Judgment - Page _ _ _ of
      DEFENDANT: LARONE FREDERICK ELIJAH
      CASE NUMBER: 4:15-CR-70-1-D

                                                          SCHEDULE OF PAYMENTS

      Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
      A     D Lump sum payment of$                                  due immediately, balance due

                 D      not later than _ _ _ _ _ _ _ _ _ _ , or
                 D      in accordance     D C, D D, D E, or                        D Fbelow; or
      B     D Payment to begin immediately (may be combined with                DC,         D D, or      D F below); or
      C     D Payment in equal _ _ _ _ _                   (e.g., weekly, monthly, quarterly) installments of $  _ _ _ _ _ over a period of
                                 (e.g., months or years), to commence        _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or
      D     D Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of          $       _ _ _ _ _ over a period of
                                 (e.g., months or years), to commence    _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or

      E     D    Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
      F     IZI Special instructions regarding the payment of criminal monetary penalties:
                   The special assessment in the amount of $100.00 shall be due in full immediately.




      Unless the court has expressly ordered otherwise, if this judgn:J.ent imposes imprisonment, payment of criminal monet!U)' fenalties is due durin~
      the period of imprisonment. All criminal monetary penalties, except those payments made through the Federa Bureau of Prisons
      Inmate Financial Responsibility Program, are made to the clerk of the court.

      The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      D     Joint and Several

            Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
            and corresponding payee, if appropriate.




      D The defendant shall pay the cost of prosecution.
      D The defendant shall pay the following court cost(s):
      D The defendant shall forfeit the defendant's interest in the following property to the United States:



      Pa}'!!lents shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
      (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

                                 Case 4:15-cr-00070-D Document 116 Filed -03/07/17 Page 6 of 6




                                                                           JA49
USCA4 Appeal: 21-7352          Doc: 19              Filed: 11/16/2022            Pg: 53 of 141
                9:20-cv-03040-JD           Date Filed 08/24/20         Entry Number 1-1           Page 32 of 38




                                        UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF NORTH CAROLINA
                                                      Southern Division
                                               DOCKET NO. 7:07-CR-10-ID

          United States Of America                        )                           JUDGMENT
                                                          )
                         vs.                              )
                                                          )
          Larone Frederick Elijah                         )



             On October 25, 2007, Larone Frederick Elijah appeared before the Honorable James C. Dever lll,
          Chief U.S. District Judge in the Eastern District of North Carolina, and upon an earlier plea of guilty to 21
          U.S.C. § 841 (a)(!), Possession With Intent to Distribute More Than 5 Grams of Cocaine Base, a Quantity
          of Cocaine, a Quantity of Heroin, and a Quantity of Methylenedioxymethamphetamine, was sentenced to
          l 08 months imprisonment, and 60 months supervised release.

             From evidence presented at the revocation hearing on August l 7, 20 l 5, the court finds as a fact that
          Larone Frederick Elijah, who is appearing before the court with counsel, has violated the terms and
          conditions of the judgment as follows:

              I. Criminal conduct.

             IT IS, THEREFORE, ORDERED AND ADJUDGED that the supervised release term heretofore
          granted be revoked, and the defendant is ordered committed to the custody of the Bureau of Prisons or its
          authorized representative for imprisonment for a period of 36 months.

             IT IS RECOMMENDED that the defendant serve this sentence at FCI Bennettsville, SC, and receive
          vocational training and the 500 hour drug treatment program while incarcerated.

             IS FURTHER ORDERED that the Clerk provide the U.S. Marshal a copy of this Judgment and same
          shall serve as the commitment herein.

             This the 17th day of August, 2015




                                                                J a ~ . Dever lll
                                                                Chief U.S. District Judge




                          Case 7:07-cr-00010-D Document 82 Filed 08/17/15 Page 1 of 1




                                                              JA50
USCA4 Appeal: 21-7352                       Doc: 19                    Filed: 11/16/2022                      Pg: 54 of 141
                       9:20-cv-03040-JD                    Date Filed 08/24/20                  Entry Number 1-1                    Page 33 of 38

                                                                                                                                            S1P I!/5/7,(1'1)--t
                                 Case 7:07-cr-00010-D                  Document 32              Filed 10/25/2007               Page 1 of 6      JI! 13      JC-
        '!:I.AO 245B   (Rev. 12/03) Judgmenl in a Criminal Case
           NCEC        Sheet 1



                                                   UNITED STATES DISTRICT COURT
                                  Eastern                                     District of                                 North Carolina
                   UNITED STATES Of AMERICA                                            JUDGMENT IN A CRIMlNAL CASE
                                       V.
                  LARONE FREDRICK ELIJAH                                               Case Number: 7:07-CR-10-1-D

                                                                                       USM Nwnber: 70214-056

                                                                                       Robert E. Nunley
                                                                                       Defendant's Attorney
       THE DEFENDANT:
       ~ pleaded guilty to count(s)     1 of the Indictment
       □
                                       ----------------------------------
           pleaded nolo contendere to count(s)
           which was accepted by the court.
       D was found guilty on count(s)
           after a plea ofnot guilty.

       The defendant is adjudicated guilty of these offenses:

       Title & Section                                    Nature of Offense                                                       Offense Ended     Count
       21 U.5,C. § 841 (a)(1)                              Possession With Intent to Distribute More Than 5 Grams of                6/9/2006        1
                                                           Cocaine Base, a Quantity of Cocaine, a Quantity of Herlon,
                                                           and a Quantity of Melhylenedioxymethamphetamfne




              The defendant is sentenced as provided in pages 2 through                __e__          of this judgment. The sentence is imposed pursuant to
       lhe Sentencing Rcfo!ll1 Act of 1984.
       D The defendant has been found not guilty on count(s)
       D Count(s) _ _ _ _ _ _ _ _ _ _ _ _ □                             is     D arc    dismissed on the motion of the United States.

                lt is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, resid,;,nce,
       ormailing_ address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. ff ordered to pay restitution;
       ihe defenclant must notify the court and United States attorney of material changes in cconomu: circumstances.
         Sentencing Location;                                                          10/25/2007
           Raleigh, NC                                                                 Date or Imposition of Judgment



                                                                                         ~ .....h-sAA
                                                                                         igmeofJudge




                                                                                        James C. Dever           rrr, U.S. Dfstrfct Judge
                                                                                       Name and Title of Judge


                                                                                       10/25/2007
                                                                                       Date




                                                                                  JA51
USCA4 Appeal: 21-7352                      Doc: 19                   Filed: 11/16/2022               Pg: 55 of 141
                      9:20-cv-03040-JD                    Date Filed 08/24/20             Entry Number 1-1          Page 34 of 38



                                 Case 7:07-cr-00010-D                Document 32          Filed 10/25/2007     Page 2 of 6
        AO 24S8       (Rev. 12/03) Judgment in G:riminal Cm
           NCEO       Sheet 2- lmprisonmcnl
                                                                                                           Judgment- Page   __1_   or   6
        DEFENDANT: LARONE FREDRICK ELIJAH
        CASE NUMBER: 7:07-CR-10-1-D

                                                                      IMPRISONME"NT

                 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
         total term of:
         Count 1 • 108 months




           ~      the court makes the following recommendations to the Bureau of Prisons:

         The court recommends that the defendant receive intensive substance abuse treatment and vocational and
         educational training opportunities. The court recommends that he serve his term in FCI, Bennettsvllle, SC or as
         close as possible to New Hanover County, NC.

           ~      The defendant is remanded to the custody of the United States Marshal.

           D The defendant shall surrender to the United States Marshal for this district:
                              _________ 0                      am.      D p.m.
                  □     at                                                           on

                  □      as notified by the United States Marshal.

           D The defendant shall surrender for seJVice of sentence at the institution designated by the Bureau of Prisons:
                  0     before       p.m. on
                  D      as notified by the United States Marshal.
                  D     as notified by the Probation or Pretrial Services Office.


                                                                            RETURN
         I have executed this judgment 115 follows:




                  Defendant delivered on                                                        to

         a,___ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL



                                                                                    By----~==-:-:-:-:--:-:-=~   -=,,....,.,,.,.,...~~----
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                            JA52
USCA4 Appeal: 21-7352                      Doc: 19                 Filed: 11/16/2022                 Pg: 56 of 141
                      9:20-cv-03040-JD                      Date Filed 08/24/20          Entry Number 1-1                Page 35 of 38



                                 Case 7:07-cr-00010-D              Document 32           Filed 10/25/2007           Page 3 of 6
        A0245B       {Rev. 12/03) Judgment in a Criminal Case
              NCEO   Sheet J - Supervised Release
                                                                                                                 Judgment-Page __J_ of                6
        DEFENDANT: LARONE FREDRICK ELIJAH
        CASE NUMBER: 7:07-CR-10-1-D
                                                                 SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a ienn of:
          Count 1 - 5 years
             The defendant must report to the probation office in the district to which. the defendant is released within 72 hours of release from the
        custody of the Bureau of Prisons.
        The defendant shall not commit another federal, state or local crime.
        The defendant shall not unlawfully ~ssess a controlled S\.Jb~tance. The defendant shal,1 refi;ain from any unlawful use o~ a i:ontrolled
        substance. The defe(ld.µit shall submit to one drug test within 15 days ofrelease from unprtsonment ancl at least two periodic drug tests
        thereafter, as detenntned by the court
             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
        D substance      abuse.
        ¢ The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
        ~       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        D The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is ·a
                student, as directed by the probation officer. (Check, if applicable.)
         0   The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
        Schedule of Payments stieet of this judgment.
             Tho defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
        on the attached page,
                                                       STANDARD CONDITIONS OF SUPERVISION
         1.      The defendant shaU not leave the judicial district or other specified geographic area without the permission of the court or probation
                 officer.
         2.      The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
                 complete written report within the first five (5) days of each month.
         3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
         4.      The defendant shall support the defendant's dependents and meet other family responsibilities.
         5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
                 acceptable reasons.                                                                                                      ·
         6.      The defendant shall notify the probation officer at least then (I 0) days prior 10 any change of residence or employment
         7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
                 substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
         8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
                places specified by the court.
         9.  The defendant shall not associate with any Rersons engag_ed in criminal activity, and shall not associate with any person convicted of
             a felony unless granted permission to do so by the probation officer,
         10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall pennrt confiscation of
             any contraband observed in plain view by the probation officer.
         11. The defendant shall notify the probation officer within seventy-two (72) hoim of being arrested or questioned by a law enforcement
             officer.
         12. Toe defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency wjthout the
             permission of the court.
         13. As dire(;ted by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
             criminal record or personal history or characteristics, and shafl penmt the probation officer to make such notifications.and to confinn
             the defendant's compliance with such notification requirement.




                                                                             JA53
USCA4 Appeal: 21-7352                   Doc: 19                  Filed: 11/16/2022      Pg: 57 of 141
                   9:20-cv-03040-JD                      Date Filed 08/24/20   Entry Number 1-1            Page 36 of 38


                              Case 7:07-cr-00010-D               Document 32   Filed 10/25/2007          Page 4 of 6
         AO 245B    (Rev. 12/03) Judgment in 11 Criminil Cu.sc
           NCEO     Sheet .lC - Supervised Release
                                                                                                    Juagmcnl·-Page __A_ cf    ----JJ.6__
         DEFENDANT: LARONE FREDRICK ELIJAH
         CASE NUMBER: 7:07-CR-10-1·O

                                                    SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall provide the probation office with access to any requested financial information.

          The defendant shall not incur new credit charges or open addrtional lines of credit without the approval of the probation
          office.

          The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
          addiction, drug dependency, or alcohol dependency which wlll include urinalysis testing or other drug detection measures
          and may require residence or participation in a residential treatment facility.

          The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
          officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
          compliance with the conditions of this judgment.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.




                                                                       JA54
USCA4 Appeal: 21-7352                     Doc: 19                        Filed: 11/16/2022               Pg: 58 of 141
                    9:20-cv-03040-JD                      Date Filed 08/24/20                 Entry Number 1-1              Page 37 of 38



                              r.ase 7:07-.c r-M010-D                     Document 32           Filed 10/25/2007        Page 5 of 6
        AO 245B   {Rev. 12/03)1'uagmcn1 In a Cr1mmaf l::L,e ·
          NCEO    Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment •- Page - " - - of         6
        DEFENDANT: LARONE FREDRICK ELIJAH
        CASE NUMBER: 7:07-CR-10-1,D
                                                         CRIMINAL MONETARY PENALTIES
             The defendant mast pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment                                             Fine                             Restitution
        TOTALS            S 100.00                                                s                                s

        0 The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will he entered
             after such determination.

        D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a partial payment, each payee shall receive an approximately prop_ortioned P.ayment, unless specified. otherwise in
             the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be.paid
             before. the United States is paid. ·

        Name of Payee                                                                  Total Loss*       Restitution Ordered     Priorit\' or Percentage




                                           TOTALS                                                $0.00                   $0.00


        0     Restitution amount ordered pursuant to plea agreement S
                                                                                      ---------
        0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
              fifteenth day after the date ofthejudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
              to penalties for delinquency and default, pursuant to I 8 U.S.C. § 3612(g),

        0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
              D the interest requirement is waived for the               D fine       D restitution.
              0 the interest requirement for the                D fine     O restitution is modified as follows:


        * Findings for the total amount oflosses arc required under Chapters l 09A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
        Septem6cr 13, I 994. but before April 23, 1996.




                                                                                  JA55
USCA4 Appeal: 21-7352                  Doc: 19                    Filed: 11/16/2022                    Pg: 59 of 141
                    9:20-cv-03040-JD                  Date Filed 08/24/20                 Entry Number 1-1                  Page 38 of 38



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                               r.ase 7.:07-.cr-nno10-O
                    (Rev.12/03)}udgmenl m aCnm1miTCasc
                                                                   Document 32              Filed 10/25/2007            Page 6 of 6
            NCEO    Sheet 6 - Schedule of Payments

                                                                                                                    Judgment-Page    __JL_ of           6
         DEFENDANT: LARONE FREDRICK ELIJAH
         CASE NUMBER: 7:07-CR-10-1-D

                                                             SCHEDULE OF PAYMENTS
         Having assessed the defendanl's abililyto pay, payment of the total criminal monetary penalties are due as follows:
        A      D    Lump sum payment of$ _ _ _ _ _ _ due immediately, balance due

                    D     not later than _ _ _ _ _ _ _ _ _ , or
                    0     in accordance     D C, O D, D E, or                         D F below; or
        B      D Payment to begin immediately (may be combined with                DC,          DD, or      D F below); or
        C      D    Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of S _ _ _ _ _ over a period of
                   _____ (e.g.• months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

        D      D Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $_ _ _ _ _ over a period of
                   _____ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                    term of supervision; or

        E      O    Payment during the term of supervised release will commence within _ _ _ _ (e.g., 30. or 60 days) after release from
                    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
        F     F/    Special instructions regarding the payment of criminal monetary penalties:

                     The special assessment in the amount of $100.00 shall be due immediately.




        Unless the coun bas expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
        imprisonment. All cnminal monetaiy penalties, except those payments made through ihe Federal Bureau of Pnsons' Inmate Financial
        Responsibility Program, are made to the clerk of the court.

        The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



        0     foint and Several

              Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joinl and Several Amount,
              and corresponding payee, if appropriate.




        D     The defendant shall pay the cost of prosecution.

        0 The defendant shall pay the following court cost(s):
        0 The defendant shall forfeit the defendant's interest in the following property to the United States:



        Pnymen;s shall be applied in _the fol!ow,ing order: (1) !15sessment, (2) re~titutiqn principal, (3) rcst~tution interest, (4) fine principal,
        (SJ fine interest, (6) community restitution, {7} penalties, and (8) costs, mcludmg cost ofprosecutton and court costs.




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USCA4 Appeal: 21-7352         Doc: 19                       Filed: 11/16/2022                                 Pg: 60 of 141

                   9:20-cv-03040-JD             Date Filed 08/24/20                             Entry Number 1-2                          Page 1 of 2


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USCA4 Appeal: 21-7352            Doc: 19             Filed: 11/16/2022         Pg: 61 of 141
                       9:20-cv-03040-JD       Date Filed 08/24/20      Entry Number 1-2        Page 2 of 2

 Date:   08/17/2020                                                                                          Location: WIL
 Time:   09:19:17 AM
                              UNITED STATES DEPARTMENT OF JUSTICE
                                   FEDERAL BUREAU OF PRISONS
                            Request for Withdrawa l of Inmate's Personal Funds
  WIL-A-B, 70214056 - ELIJAH, LARONE

                                                                 I Encumbrance No.:    2896



                                                                                   /

   Please charge to my account the sum of   $5.00 and authorize the same to be paid to:

   Contact/FMIS Certification Address                                   V e...r ; -f,· CCA -\-,' o n
   USO C, Clerk
   PO BOX 2317                                                                    of'
   FLORENCE
   SC 29503
                                                                         ry.o()e,~             s-e..,v\+.
   United States
                                                                                  +o
                                                                               GLEK. \( •
   Purpose: Bills
   Check Memo: 2241 Payment/Elijah v. Dobbs




                                                                  70214056 - ELIJAH, LARONE

    (Signature of Inmate)                                         (Inmate Register No./Name)




    (Signature of Approving Official)




    (Signature of Deposit Fund Tech)                              (Payment#)



   The inmate's personal account has been charged in the amount indicated above.




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USCA4 Appeal: 21-7352               Doc: 19   Filed: 11/16/2022           Pg: 62 of 141




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       9:20-cv-03040-JD




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USCA4 Appeal: 21-7352        Doc: 19   Filed: 11/16/2022   Pg: 63 of 141



       Page 2 of 2
       Entry Number 1-3
       Date Filed 08/24/20
       9:20-cv-03040-JD




                                             JA60
USCA4 Appeal: 21-7352        Doc: 19           Filed: 11/16/2022       Pg: 64 of 141


              9:20-cv-03040-JD         Date Filed 11/10/20      Entry Number 8        Page 1 of 8




                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA


      Larone F. Elijah,                              ) C/A No.: 9:20-3040-JFA-MHC
                                                     )
                             Petitioner,             )
                                                     )
                     v.                              )
                                                     )
      Bryan K. Dobbs,                                )
                                                     )
                             Respondent.             )

                                 MOTION FOR SUMMARY JUDGMENT

             COMES NOW the Respondent, by and through Peter M. McCoy, United States Attorney

      and the undersigned Assistant United States Attorney, and motions the court pursuant to Fed. R.

      Civ. P. 12(b)(6) and Fed. R. Civ. P. 56, for summary judgment as the Respondent is entitled to

      judgment. The basis of this motion is that the petition fails to state a claim for which relief may be

      granted. This motion is further explained in the attached Memorandum in Support.

                              MEMORANDUM IN SUPPORT OF MOTION

      I.     STATEMENT OF THE CASE

             Petitioner Larone F. Elijah, Federal Register Number 70214-056, is an inmate designated

      by the Federal Bureau of Prisons (“BOP”) to serve his sentence at the Federal Correctional

      Institution (“FCI”) Williamsburg, in Salters, South Carolina. [Respondent’sExhibit A,

      Declaration of Forest Kelly].

             Mr. Elijah brings this action pursuant to 28 U.S.C. § 2241, seeking credit for time during

      which he was on Supervised Release, as well as the application of additional Good Conduct Time

      credit toward his sentence. [ECF No. 1, 1-1]. A review of Mr. Elijah’s BOP administrative remedy

      history reveals that he fully exhausted administrative remedies through all three levels before filing


                                                      JA61
USCA4 Appeal: 21-7352            Doc: 19          Filed: 11/16/2022      Pg: 65 of 141

                   9:20-cv-03040-JD        Date Filed 11/10/20    Entry Number 8       Page 2 of 8




      the instant petition. [Respondent’s Exhibit A, Attachment 7, Administrative Remedy No.

      998351].

      II.          SUBJECT MATTER JURISDICTION

                   A petition for habeas corpus under 28 U.S.C. § 2241 is the proper method to challenge the

      computation or execution of a federal sentence. See United States v. Little, 392 F.3d 671, 679 (4th

      Cir. 2004) (citing In re Vial, 115 F.3d 1192, 1194 n. 5 (4th Cir. 1997) (en banc)). Specifically, a

      petition for writ of habeas corpus under 28 U.S.C. § 2241 has been resorted to only in limited

      situations—such as actions challenging the administration of parole, Doganiere v. United States,

      914 F.2d 165, 169-70 (9th Cir. 1990); computation of good time or jail time credits, McClain v.

      United States Bureau of Prisons, 9 F.3d 503, 504-05 (6th Cir. 1993); prison disciplinary actions,

      United States v. Harris, 12 F.3d 735, 736 (7th Cir. 1994); or imprisonment beyond the expiration

      of a sentence, Atehortua v. Kindt, 951 F.2d 126, 129-30 (7th Cir. 1991).

            III.      STATEMENT OF THE FACTS

             On October 25, 2007, Mr. Elijah was sentenced in the United States District Court for the

      Eastern District of North Carolina, Case Number 7:07-CR-10-1-D, to a 108-month term of

      confinement and a 5-year term of Supervised Release for Possession with Intent to Distribute More

      than 5 Grams of Cocaine Base, a Quantity of Cocaine, a Quantity of Heroin, and a Quantity of

      Methylenedioxymethamphetamine. [Respondent’s Ex. A, Attachment #1, Judgment in a

      Criminal Case, Case No. 7:07-CR-10-1D, E.D. N.C.].

             Mr. Elijah satisfied the 108-month sentence on May 23, 2014, and was released from BOP

      custody. His 5-year term of Supervised Release commenced on May 23, 2014. [Respondent’s Ex.




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                                                         JA62
USCA4 Appeal: 21-7352        Doc: 19          Filed: 11/16/2022       Pg: 66 of 141

              9:20-cv-03040-JD         Date Filed 11/10/20     Entry Number 8       Page 3 of 8




      A, Attachment #2, SENTRY Public Information Inmate Data, and Presentence Investigation

      Report] 1.

           On June 11, 2015, Mr. Elijah was arrested by state authorities in Pitt County, North Carolina,

      for state offenses related to Case Number 4:15-CR-70-1-D, in the U.S. District Court for the

      Eastern District of North Carolina. He was released, via bond, on June 18, 2015, and the state

      charges were ultimately dismissed. [Respondent’s Ex. A, and Presentence Investigation Report].

      Mr. Elijah was arrested by federal authorities on July 10, 2015. [Respondent’s Ex. A, Attachment

      #3, USMS Form 129].

           On August 17, 2015, Mr. Elijah was sentenced in Case Number 7:07-CR-10-1D, to a 36-

      month term of confinement for Supervised Release Violation. [Respondent’s Ex. A, Attachment

      #4, Supervised Release Revocation Judgment].

           On March 7, 2017, Mr. Elijah was sentenced in the United States District Court for the Eastern

      District of North Carolina, Case Number 4:15-CR-70-1-D, to a 108-month term of confinement

      for Possession with Intent to Distribute a Quantity of Cocaine, a Quantity of Heroin, and a Quantity

      of 3,4-Methylenedioxy-N-ethylcathinone. The sentencing court ordered the 108-month term to be

      served consecutive to any other sentence. [Respondent’s Ex. A, Attachment #5, Judgment in a

      Criminal Case, Case No. 4:15-CR-70-1-D, E.D. N.C.].




      1
        Some of the information herein is also contained in Mr. Elijah’s Presentence Investigation Report
      (PSR). Pursuant to Bureau of Prisons Program Statement 1351.05, Release of Information, which
      is available at www.bop.gov, and in the inmate law library at the institution, inmates may not
      possess copies of their PSR. Accordingly, a copy of the PSR is not attached to Respondent’s
      Exhibit A. Mr. Elijah, however, can review his PSR by making a request to his unit team, in
      accordance with the procedures set forth in the program statement.


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                                                     JA63
USCA4 Appeal: 21-7352        Doc: 19           Filed: 11/16/2022       Pg: 67 of 141

              9:20-cv-03040-JD         Date Filed 11/10/20      Entry Number 8        Page 4 of 8




             The BOP computed Elijah’s sentences of 36 months and 108 months as a 144-month single,

      aggregate term of confinement commencing on August 17, 2015, with 46 days of prior credit time

      (jail credit) for time spent in official detention from June 11, 2015 (the date of his arrest by state

      authorities) through June 18, 2015 (the date he was released on bond by the state), and from July

      10, 2015 (the date of his arrest by federal authorities) through August 16, 2015 (the day before the

      imposition of the revocation term). [Respondent’s Ex. A, Attachment #6, SENTRY Public

      Information Inmate Data as of September 28, 2020].

      V. STANDARDS

          A. SUMMARY JUDGMENT STANDARD

             Summary judgment is appropriate only if the moving party “shows that there is no genuine

      dispute as to any material fact and the [moving party] is entitled to judgment as a matter of law.”

      Fed. R. Civ. P. 56(a). A party may support or refute that a material fact is not disputed by “citing

      to particular parts of materials in the record” or by “showing that the materials cited do not

      establish the absence or presence of a genuine dispute, or that an adverse party cannot produce

      admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1). Rule 56 mandates entry of

      summary judgment “against a party who fails to make a showing sufficient to establish the

      existence of an element essential to that party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

      (1986). In deciding whether there is a genuine issue of material fact, the evidence of the non-

      moving party is to be believed and all justifiable inferences must be drawn in favor of the non-

      moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). However, “[o]nly

      disputes over facts that might affect the outcome of the suit under the governing law will properly

      preclude the entry of summary judgment. Factual disputes that are irrelevant or unnecessary will


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                                                      JA64
USCA4 Appeal: 21-7352        Doc: 19           Filed: 11/16/2022        Pg: 68 of 141

              9:20-cv-03040-JD         Date Filed 11/10/20      Entry Number 8         Page 5 of 8




      not be counted.” Id. at 248.

             The moving party has the burden of proving that summary judgment is appropriate. Once

      the moving party makes this showing, however, the opposing party may not rest upon mere

      allegations or denials, but rather must, by affidavits or other means permitted by the Rule, set forth

      specific facts showing that there is a genuine issue for trial. See Fed. R. Civ. P. 56(c), (e); Celotex

      Corp., 477 U.S. at 322. Further, while the federal court is charged with liberally construing a

      petition filed by a pro se litigant to allow the development of a potentially meritorious case, See,

      e.g., Erickson v. Pardus, 551 U.S. 89 (2007), the requirement of liberal construction does not mean

      that the court can ignore a clear failure in the pleadings to allege facts which set forth a federal

      claim, nor can the court assume the existence of a genuine issue of material fact where none exists.

      Weller v. Dep’t of Soc. Servs., 901 F.2d 387 (4th Cir. 1990).

      B. HABEAS CORPUS GENERALLY

             Habeas corpus proceedings are the proper mechanism for a prisoner to challenge the

      legality or duration of his custody. See Preiser v. Rodriguez, 411 U.S. 475, 484 (1973). A petition

      for habeas corpus under § 2241 is the proper method to challenge the computation or execution of

      a federal sentence. See Little, 392 F.3d at 679 (citing In re Vial, 115 F.3d at 1194, n.5 (en banc));

      United States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989).

          VI.     ARGUMENT

            The computation of a federal sentence is the responsibility of the Attorney General of the

      United States and has been delegated to the BOP. See United States v. Wilson, 503 U.S. 329, 331

      (1992); 28 C.F.R. § 0.96. The computation of a federal sentence requires consideration of two

      separate issues: the commencement date of the federal sentence and whether the defendant can


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                                                       JA65
USCA4 Appeal: 21-7352         Doc: 19          Filed: 11/16/2022        Pg: 69 of 141

              9:20-cv-03040-JD        Date Filed 11/10/20       Entry Number 8        Page 6 of 8




      receive credit for time spent in pre-trial custody prior to commencement of the federal sentence.

      The BOP has promulgated Program Statement 5880.28, Sentence Computation Manual (CCCA of

      1984), to provide guidance on the application of the federal statutes in federal sentence

      computations. 2

             A. Petitioner Is Not Entitled to Credit for Time Spent on Supervised Release

             Mr. Elijah is not entitled to any credit for time spent on Supervised Release. Both Federal

      statute and BOP policy preclude the application of credit for time released from custody while

      subject to conditions of supervised release.

             Title 18 U.S.C. § 3585(b) governs prior custody credit and states as follows:

                     A defendant shall be given credit toward the service of a term of
             imprisonment for any time he has spent in official detention prior to the date the
             sentence commences--
                            (1) as a result of the offense for which sentence was imposed; or
                            (2) as a result of any other charge for which the defendant was
                            arrested after the commission of the offense for which the sentence
                            was imposed;
             that has not been credited against another sentence.

             18 U.S.C. § 3585(b). Pursuant to Title 18 U.S.C. § 3585(b), as referenced in Program

      Statement 5880.28, Sentence Computation Manual (CCCA of 1984), an inmate must be in “official

      detention” as a prerequisite to receiving jail credit, and “time spent . . . as a condition of parole,

      probation or supervised release, is not creditable to the service of a subsequent sentence.” Program

      Statement 5880.28, p. 1-14F-14H.; See also Reno v. Koray, 515 U.S. 50, 55, 115 S.Ct. 2021, 2024

      (1995); U.S. v. Johnson, 418 F.3d 879, 880-81 (8th Cir. 2005). “Official detention” is defined as


      2
            Bureau   of    Prisons’     Program      Statements      are      available     online    at
      http://www.bop.gov/policy/index.jsp and are available to inmates in the Institution Law Libraries.



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                                                       JA66
USCA4 Appeal: 21-7352        Doc: 19          Filed: 11/16/2022        Pg: 70 of 141

              9:20-cv-03040-JD         Date Filed 11/10/20     Entry Number 8        Page 7 of 8




      time spent under a federal detention order. P.S. 5880.28; U.S. v. Insley, 927 F.2d 185, 186 (4th Cir.

      1991) (official detention means imprisonment in a place of confinement . . . .”). Mr. Elijah’s

      citation to United States v. Haymond, 139 S.Ct. 2369 (2019), does not change this analysis, and

      has no bearing on the meaning of “official detention” under the statute. Mr. Elijah was not in

      “official detention” while subject to conditions of supervised release; therefore, none of this time

      is creditable against his federal term of confinement under 18 U.S.C. § 3585(b).

          B. Petitioner is Not Entitled to Additional Good Conduct Time Credit Under the FSA

             On December 21, 2018, the President signed into law the First Step Act (“FSA”). Prior

      to the First Step Act of 2018 (FSA), effective July 19, 2019, good conduct time credit was applied

      only for time actually served, rather than the length of the sentence imposed. Section 102(b) of the

      First Step Act amended 18 U.S.C. § 3624(b) such that inmates can earn up to 54 days of good time

      credit for every year of their imposed sentence, rather than 54 days for every year of their sentence

      served. Section 102 (b) (2) states "EFFECTIVE DATE.- The amendments made by this subsection

      shall take effect beginning on the date that the Attorney General completes and releases the risk

      and needs assessment system under subchapter D of chapter 229 of title 18, United States Code,

      as added by section 101(a) of this Act." First Step Act of 2018, PL 115-391, 132 Stat.5194 (2018).

             The amendments to § 3624(b) took effect on July 19, 2019. The changes made to the good

      conduct time earnings were made retroactive, but the changes are applicable only to sentences not

      yet satisfied as of the effective date of the FSA; therefore, any sentences satisfied prior to the

      effective date of the FSA are not eligible to receive additional GCT credits. As Mr. Elijah’s 108-

      month term of confinement in Case Number 7:07-CR-10-1-D was satisfied prior to the effective

      date of the FSA, he is not eligible to receive any additional GCT credit toward that term.


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                                                      JA67
USCA4 Appeal: 21-7352        Doc: 19          Filed: 11/16/2022       Pg: 71 of 141

              9:20-cv-03040-JD       Date Filed 11/10/20      Entry Number 8         Page 8 of 8




             Pursuant to Title 18 U.S.C. § 3624(b), as amended by the First Step Act of 2018 (FSA), an

      inmate serving a 144-month (12-year) term is eligible to receive a maximum of 648 (12 x 54) days

      of GCT credit. Mr. Elijah is currently eligible to receive 648 days of GCT credit, and is scheduled

      to release from BOP custody, via Good Conduct Time Release, on September 21, 2025.

      [Respondent’s Ex. A, Attachment #6, SENTRY Public Information Inmate Data as of

      September 28, 2020].

                                            VII. CONCLUSION

              As Mr. Elijah’s federal sentence is correctly calculated, his request for relief must be

      denied and the Respondent is entitled to summary judgment.

                                                           Respectfully Submitted,

                                                           PETER M. MCCOY, JR.
                                                           UNITED STATES ATTORNEY

                                                   By:     s/Marshall Prince
                                                           Marshall Prince (#5617)
                                                           Assistant United States Attorney
                                                           1441 Main Street, Suite 500
                                                           Columbia, SC 29201
                                                           (803) 929-3000
      November 10, 2020                                    marshall.prince@usdoj.gov




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                                                     JA68
USCA4 Appeal: 21-7352   Doc: 19       Filed: 11/16/2022  Pg: 72 of 141
            9:20-cv-03040-JD Date Filed 11/10/20 Entry Number 8-1 Page 1 of 43



                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF SOUTH CAROLINA


        Larone F. Elijah,                           ) C/A No.: 9:20-3040-JFA-MHC
                                                    )
                              Petitioner,           )
                                                    )
                       v.                           )
                                                    )
        Bryan K. Dobbs,                             )
                                                    )
                              Respondent.           )

                                    DECLARATION OF FOREST KELLY

               In accordance with the provisions of Section 1746 of Title 28, United States Code, I, the
        undersigned, do hereby make the following declaration:

        1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons
               (“BOP”), as a Correctional Program Specialist at the Designation and Sentence
               Computation Center (“DSCC”) in Grand Prairie, Texas.

        2.     I have worked for the BOP since July 1989 and I have worked in the area of inmate
               sentence computations since January 1992. I have been employed as a Correctional
               Program Specialist at the DSCC since December 2005. My duties include providing
               litigation assistance to the United States Attorney’s Office in cases where federal inmates
               challenge their sentence computations, which includes auditing and reviewing such
               computations.

        3.     As a Correctional Program Specialist, I have access to records maintained by the BOP
               regarding federal inmates. This information includes, but is not limited to, access to the
               BOP’s SENTRY computer database, which tracks the status and activities of inmates
               while in federal custody, Judgment and Commitment files, and Central Files.

        4.     Larone F. Elijah (“Petitioner”), Federal Register Number 70214-056, is an inmate
               designated by the Federal Bureau of Prisons (“BOP”) to serve his sentence at the Federal
               Correctional Institution (“FCI”) Williamsburg, in Salters, South Carolina.

        5.     A review of SENTRY records shows that Petitioner exhausted administrative remedies
               with regard to his sentence computation challenge.

        6.     On October 25, 2007, Mr. Elijah was sentenced in the United States District Court for the
               Eastern District of North Carolina, Case Number 7:07-CR-10-1-D, to a 108-month term
               of confinement and a 5-year term of Supervised Release for Possession with Intent to
               Distribute More than 5 Grams of Cocaine Base, a Quantity of Cocaine, a Quantity of
               Heroin, and a Quantity of Methylenedioxymethamphetamine.

                                                   Page 1 of 3


                                                                                               Exhibit A
                                                      JA69
USCA4 Appeal: 21-7352  Doc: 19      Filed: 11/16/2022  Pg: 73 of 141
          9:20-cv-03040-JD Date Filed 11/10/20 Entry Number 8-1 Page 2 of 43




       7.    Mr. Elijah satisfied the 108-month sentence on May 23, 2014, and was released from
             BOP custody.

       8.    His 5-year term of Supervised Release commenced on May 23, 2014.

       9.    On June 11, 2015, Mr. Elijah was arrested by state authorities in Pitt County, North
             Carolina, for state offenses related to Case Number 4:15-CR-70-1-D, in the U.S. District
             Court for the Eastern District of North Carolina. He was released, via bond, on June 18,
             2015, and the state charges were ultimately dismissed.

       10.   Mr. Elijah was arrested by federal authorities on July 10, 2015.

       11.   On August 17, 2015, Mr. Elijah was sentenced in Case Number 7:07-CR-10-1D, to a 36-
             month term of confinement for Supervised Release Violation.

       12.   On March 7, 2017, Mr. Elijah was sentenced in the United States District Court for the
             Eastern District of North Carolina, Case Number 4:15-CR-70-1-D, to a 108-month term
             of confinement for Possession with Intent to Distribute a Quantity of Cocaine, a Quantity
             of Heroin, and a Quantity of 3,4-Methylenedioxy-N-ethylcathinone. The sentencing
             court ordered the 108-month term to be served consecutive to any other sentence.

       13.   The BOP computed Elijah’s sentences of 36 months and 108 months as a 144-month
             single, aggregate term of confinement commencing on August 17, 2015, with 46 days of
             prior credit time (jail credit) for time spent in official detention from June 11, 2015 (the
             date of his arrest by state authorities) through June 18, 2015 (the date he was released on
             bond by the state), and from July 10, 2015 (the date of his arrest by federal authorities)
             through August 16, 2015 (the day before the imposition of the revocation term).

       14.   Mr. Elijah was not in “official detention” while subject to conditions of supervised
             release; therefore, none of this time is creditable against his federal term of confinement
             under 18 U.S.C. § 3585(b).

       15.   Section 102(b) of the First Step Act amended 18 U.S.C. § 3624(b) such that inmates can
             earn up to 54 days of good time credit for every year of their imposed sentence, rather
             than 54 days for every year of their sentence served.

       16.   The amendments to § 3624(b) took effect on July 19, 2019. The changes made to the
             good conduct time earnings were made retroactive, but the changes are applicable only to
             sentences not yet satisfied as of the effective date of the FSA; therefore, any sentences
             satisfied prior to the effective date of the FSA are not eligible to receive additional GCT
             credits.

       17.   As Mr. Elijah’s 108-month term of confinement in Case Number 7:07-CR-10-1-D was
             satisfied prior to the effective date of the FSA, he is not eligible to receive any additional
             GCT credit toward that term.

                                                  Page 2 of 3


                                                     JA70
USCA4 Appeal: 21-7352       Doc: 19          Filed: 11/16/2022         Pg: 74 of 141
            9:20-cv-03040-JD       Date Filed 11/10/20          Entry Number 8-1    Page 3 of 43



      18.    Pursuant to Title 18 U.S.C. § 3624(b), as amended by the First Step Act of 2018 (FSA),
             an inmate serving a 144-month (12-year) term is eligible to receive a maximum of 648
             (12 x 54) days of GCT credit.

      19.    Mr. Elijah is currently eligible to receive 648 days of GCT credit, and is scheduled to
             release from BOP custody, via Good Conduct Time Release, on September 21, 2025.

      20.    Attached are true and accurate copies of the following documents, which have been
             redacted for privacy and security reasons:

             Attachment 1: Judgment in a Criminal Case, Case No. 7:07-CR-10-1D, E.D. N.C.
             Attachment 2: SENTRY Public Information Inmate Data
             Attachment 3: USMS Form 129
             Attachment 4: Supervised Release Revocation Judgment
             Attachment 5: Judgment in a Criminal Case, Case No. 4:15-CR-70-1-D, E.D. N.C.
             Attachment 6: SENTRY Public Information Inmate Data as of September 28, 2020
             Attachment 7: Administrative Remedy ID No. 998351, all levels

             Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true
      and correct.

             Executed this ____
                            12th day of November, 2020.

                                                   _______________________________________
                                                   ________________
                                                   Forest Kelly, Correctional
                                                                 Correc       Program Specialist
                                                   Designation and Sentence Computation Center




                                                  Page 3 of 3

                                                     JA71
USCA4 Appeal: 21-7352   Doc: 19       Filed: 11/16/2022    Pg: 75 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1      Page 4 of 43




                        Attachment 1


                                            JA72
USCA4 Appeal: 21-7352                        Doc: 19                   Filed: 11/16/2022                  Pg: 76 of 141
                          9:20-cv-03040-JD                   Date Filed 11/10/20               Entry Number 8-1             Page 5$JP
                                                                                                                                  of 43         ll/'5/2-#~
                                Case 7:07-cr-00010-D                   Document 32               Filed 10/25/2007           Page 1 of 6      JI 3 l.3 ;TC-
      ~AO 245B         (Rev. 12/03) Judgment in a Criminal Case
        NCEO           Sheet 1



                                                    UNITED STATES DISTRICT COURT
                                 Eastern                                      District of                              North Carolina
                UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                       V.
               LARONE FREDRICK ELIJAH                                                 Case Number: 7:07-CR-10-1-D

                                                                                       USM Number: 70214-056

                                                                                      Robert E. Nunle y
                                                                                      Defendant's Attorney
     THE DEFENDANT:
     ~ pleaded guilty to cou.nt(s)    1 the Indictment
                                               of

     □
                                     -  ---------- --------------------- ---
         pleaded nolo contendere to count(s)
         which was accepted by the court.
     D was found guilty on count(s)
         after a plea of not guilty.

     The defendant is adjudicated guilty of these offenses:

     Title & Section                                     Nature of Offense                                                   Offense Ended     Count
     21 U.S.C. § 841 (a)(1)                               Possession With Intent to Distribute More Than 5 Grams of           6/9/2006
                                                          Cocaine Base, a Quantity of Cocaine, a Quantity of Herfon,
                                                          and a Quantity of Methylenedioxymethamphetamine




            The defendant is sentenced as provided in pages 2 through                 _ _ 6_ _ of this judgment. The sentence is imposed pursuant t<>
     the Sentencing Rcfonn Act of 1984.
     D The defendant has been found not guilty on count(s)
     D Count(s)                                         D          is    D are dismissed on motion of the United States.
               It
                        ------------                                                                   th~

                    is ordered that the defendant must notify the United States attorney for this district within days ofany change of name, residence,
                                                                                                                       30
     ormailing_address until all fines, restitution, costs, and special assessments imposed by this judgment arc fully paid. lfordcrcd to pay restitution,
     the defenciant must notify the court and United States attorney of material changes in economic circumstances.
      Sentencing Location:                                                            10/25/2007
         Raleigh, NC                                                                  Date of (mposilion of Judgment


                                                                                       ~ •.,,,I'k,uµ.
                                                                                       ;,;;;; uf Judge



                                                                                       James C. Dever IH, U.S. Distrfct Judge
                                                                                      Name and Title uf Judge


                                                                                      10/25/2007
                                                                                      Date




                                                                                 JA73
USCA4 Appeal: 21-7352                    Doc: 19                 Filed: 11/16/2022              Pg: 77 of 141
                         9:20-cv-03040-JD                  Date Filed 11/10/20            Entry Number 8-1       Page 6 of 43

                             Case 7:07-cr-00010-O                 Document 32              Filed 10/25/2007      Page 2 of 6
      AO 245B     (Rev. 12/03) Judgment in Criminal Case
         NCEO     Sheet 2 - Imprisonment

                                                                                                                             2_
                                                                                                           Judgment - Page _ _     of   6
       DEFENDANT: LARONE FREDRICK ELIJAH
       CASE NUMBER: 7:07-CR-10-1-D


                                                                   IMPRISONMENT

               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
       total term of:

       Count 1 • 108 months




        t1'   The court makes the following recommendations to the Bureau of Prisons:

       The court recommends that the defendant receive intensive substance abuse treatment and vocational and
       educational training opportunities. The court recommends that he serve his term in FCI, Bennettsville, SC or as
       close as possible to New Hanover County, NC.

        t1'   The defendant is remanded to the custody of the United States Marshal.

        0     The defendant shall surrender to the Unjted States Marshal for this district:

              D     at    _ _ _ _ _ _ _ _ _ D a.m.                   D   p.m.        on

              D     as notified by the United States Marshal.

        D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              D    before      p.m. on
              D    as notified by the United States Marshal.

              D    as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
      l have executed this judgment as fol lows:




              Defendant delivered on                                                           to

      a._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this j udgment.



                                                                                                       UNITED STATES MARSHAL



                                                                                By   --------.:-=--:-:-=-c--- -------------
                                                                                                    DEPUTY UNITED STATES MARSHAL




                                                                         JA74
USCA4 Appeal: 21-7352                    Doc: 19                  Filed: 11/16/2022           Pg: 78 of 141
                      9:20-cv-03040-JD                      Date Filed 11/10/20    Entry Number 8-1               Page 7 of 43

                            Case 7:07-cr-0001 0-0                 Document 32        Filed 10/25/2007            Page 3 of 6
      AO 2458    (Rev. 12/03) Judgment in a Criminal Case
         NCEO    Sheet 3 - Supervised Release
                                                                                                             Judgment-Page ____i_ of _          _..6...__
      DEFENDANT: LARONE FREDRICK ELIJAH
      CASE NUMBER: 7:07-CR-10-1-D
                                                                 SUPERVISED RELEASE
      Upon release from imprisonment, the defendant shaJl be on supervised release for a tenn of:
       Count 1 • 5 years
           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
      custody of the Bureau of Prisons.
      The defendant shall not commit another federal, state or local crime.
      The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)'. unlawful use of a controlled
      substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
      thereafter, as detennined by the court.
      □    The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
           substance abuse.
      41J" The defendant shall not possess a fircann, destructive device, or any other dangerous weapon. (Check, if applicable.)
      ~    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      D    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           student, as directed by the probation officer. (Check, if applicable.)
      D    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
      Schedule of Payments slieet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
      on the attached page.
                                                 STANDARD CONDITIONS OF SUPERVISION
      1.   The defendant shall not leave the judicial district or other specified geographic area without the pennission of the court or probation
           officer.
      2.   Th.e defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
           complete written report within the first five (5) days of each month.
      3.   The defendant shall answer truthfully all iinquiries by the probation officer and follow the instructions of the probation officer.
      4.   The defendant shall support the defendant's dependents and meet other family responsibilities.
      5.   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
           acceptable reasons.
      6.   The defendant shall notify the probation officer at least then ( I0) days prior to any change of residence or employment.
      7.   The defendant shal I refrain from excessive use of alcohol and shall not purchase, possess use distribute, or administer any controlled
           substance, or any paraphernalia related to any controlled substance, except as prescribed 6y a physician.
      8.   The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
           places specified by the court.
      9.   The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
           a felony unless granted pennission to do s,o by the probation officer.
      I 0. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
           any contraband observed in plain view by the probation officer.
      11. The defendant shall notlfy the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
           officer.
      I 2. The defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           permission of the court.
      13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics, and shafl penn1t the probation officer to make such notifications and to confirm
          the defendant' s compliance with such notification requirement.




                                                                         JA75
USCA4 Appeal: 21-7352                 Doc: 19               Filed: 11/16/2022       Pg: 79 of 141
                   9:20-cv-03040-JD                   Date Filed 11/10/20   Entry Number 8-1           Page 8 of 43

                          Case 7:07-cr-00010-O               Document 32     Filed 10/25/2007          Page 4 of 6
       AO 24SB   (Rev. 12/03) Judgment in a Criminal Case
         NCEO    Sheet JC - Supervised Release
                                                                                                  Judgmcnt-- Page __L_ of   _......,6...__
       DEFENDANT: LARONE FREDRICK ELIJAH
       CASE NUMBER: 7:07-CR-10- 1-O

                                               SPECIAL CONDITIONS OF SUPERVISION
        The defendant shall provide the probation office with access to any requested financial information.

        The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
        office.

        The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
        addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
        and may require residence or participation in a residential treatment facility ..

        The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
        officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
        compliance with the conditions of this judgment.

        The defendant shall cooperate in the collection of DNA as directed by the probation officer.




                                                                   JA76
USCA4 Appeal: 21-7352                     Doc: 19                     Filed: 11/16/2022                     Pg: 80 of 141
                       9:20-cv-03040-JD                      Date Filed 11/10/20                Entry Number 8-1            Page 9 of 43

                             r.ase ?.:0'Z-.cr-nno10-o
                  (Rev. 12/03)Tuagmenl in a Criminal' Case
                                                                      Document 32                 Filed 10/25/2007         Page 5 of 6
      A024SB
          NCED    Sheet 5 - Criminal Monetary Penalties
                                                                                                                   Judgmen1 - Page      5   of     6
      DEFENDANT: LARONE FREDRICK ELIJAH
      CASE NUMBER: 7:07-CR-10-1-D
                                                      CRIMINAL MONETARY PENALTIES
            The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                             Assessment                                                                                   Restitution
      TOTALS              $ 100.00                                                $                                   $



      0 The detennination of restitution is deferred until                                Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.
                                                                      --- . An
      0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
            Jfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
            the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
            before the United States is paid.

      Name of Payee                                                                   Total Loss*            Restitution Ordered Priority or Percentage




                                        TOTALS                                                      $0.00                  $0.00


      0     Restitution amount ordered pursuant to plea agreement             $

      0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      0     The court dctennined that the defendant does not have the ability to pay interest and it is ordered that:
            O    the interest requirement is waived for the           O    fine       O    restitution.
            D    the interest requirement for the            O fine       O restitution is modified as follows:


      • Findings forthe total amount of losses are required under Chapters 109A, 1I 0, I 1OA, a,nd 11 JA ofTitle I 8 for offenses committed on or after
      Septeml:ier 13, 1994, but before April 23, 1996.




                                                                                  JA77
USCA4 Appeal: 21-7352                       Doc: 19                   Filed: 11/16/2022                Pg: 81 of 141
                        9:20-cv-03040-JD                     Date Filed 11/10/20          Entry Number 8-1            Page 10 of 43

      AO 245B
                                r.ase 7·07-cr-00010-D                    Document 32            Filed 10/25/2007        Page 6 of 6
                     (Rev. 12103)Tuagment in a Crim1naft'.asc
           NCEO      Sheet 6 - Schedule of Payments

                                                                                                                    Judgment - Page ----6..._ of    6
          DEFENDANT: LARONE FREDRICK ELIJAH
          CASE NUMBER: 7:07-CR-1 0-1-D

                                                                    SCHEDULE OF PAYMENTS
          Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

       A       D    Lump sum payment of$                                  due immediately, balance due

                    D      not later than _ _ __ _ __ _ __ , or
                    O     in accordance           D     C,      O   D,    O    E, or     O    F below; or
      B        O    Payment to begin immediately (may be combined with                 O C,       0   D, or   OF below); or
      C       D     Payment in equal _ __ _ _ (e.g., weekly, monthly, quanerly) installments of $ _ __ _ _ over a period of
                   _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

      D       D     Payment in equal - ~ - - - (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ over a period of
                   - - ~- - (e.g., months or years), to commence _ __ _ (e.g., 30 or 60 days) after release from imprisonment to a
                    tenn of supervision; or

      E       O     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
                    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

      F       ~ Special instructions regarding the payment of criminal monetary penalties:

                     The special assessment in the amount of $100.00 shall be due immediately.




      Unless the coun has express!( ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
      imprisonment. All crimina monetaJY penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
      Responsibility Program, are made to the clerk of the court.

      The defendant shall receive credit for all payments previously made toward any criminal monetaJY penalties imposed.



      0      Joint and Several

             Defendant and Co-Defendant Names and Case Numbers (including defendant nwnber), Total Amount, Joint and Several Amount,
             and corresponding payee, if appropriate.




      0      The defendant shall pay the cost of prosecution.

      0      The defendant shall pay the following court cost(s):

      0      The defendant shall forfeit the defendant's interest in the following property to the United States:




     Payments shall be applied in the following order: ( l ) assessment, (2) restitution principal, (3) restitution interest, (4) tine principal,
     (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and coun costs.




                                                                              JA78
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 82 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1      Page 11 of 43




                        Attachment 2


                                             JA79
USCA4 Appeal: 21-7352       Doc: 19       Filed: 11/16/2022    Pg: 83 of 141




                  9:20-cv-03040-JD     Date Filed 11/10/20    Entry Number 8-1   Page 12 of 43
         DSCCN          *                 PUBLIC INFORMATION               *     09-28-2020
       PAGE 001         *                     INMATE DATA                  *     13:04:30
                                           AS OF 09-28-2020

       REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                              RESP OF: WIL
                              PHONE .. : 843-387-9400   FAX: 843-387-6961
                                                        RACE/SEX ... : BLACK/ MALE
                                                        AGE: 44
       PROJ REL MT: GOOD CONDUCT TIME RELEASE           PAR ELIG DT: N/A
       PROJ REL DT: 09-21-2025                          PAR HEAR DT:




       G0002        MORE PAGES TO FOLLOW . . .




                                                 JA80
USCA4 Appeal: 21-7352                   Doc: 19                  Filed: 11/16/2022      Pg: 84 of 141




                       9:20-cv-03040-JD                   Date Filed 11/10/20        Entry Number 8-1        Page 13 of 43
        DSCCN                      *                           PUBLIC INFORMATION                   *         09-28-2020
      PAGE 002                     *                               INMATE DATA                      *         13:04:30
                                                                AS OF 05-23-2014

      REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                         RESP OF: WIL
                         PHONE .. : 843-387-9400  FAX: 843-387-6961
      HOME DETENTION ELIGIBILITY DATE: 11-26-2013

      THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S PRIOR COMMITMENT.
      THE INMATE WAS SCHEDULED FOR RELEASE:  05-23-2014 VIA GCT REL

      ------------------------PRIOR JUDGMENT/WARRANT NO: 010 ------------------------

      COURT OF JURISDICTION ........... :                             NORTH CAROLINA, EASTERN DISTRICT
      DOCKET NUMBER . . . . . . . . . . . . . . . . . . . :           7:07-CR-10-1-D
      JUDGE . . . . . . . . . . . . . . . . . . . . . . . . . . . :   DEVER II I
      DATE SENTENCED/PROBATION IMPOSED:                               10-25-2007
      DATE COMMITTED . . . . . . . . . . . . . . . . . . :            01-10-2008
      HOW COMMITTED . . . . . . . . . . . . . . . . . . . :           US DISTRICT COURT COMMITMENT
      PROBATION IMPOSED . . . . . . . . . . . . . . . :               NO

                                       FELONY ASSESS             MISDMNR ASSESS FINES                    COSTS
      NON-COMMITTED.:                  $100.00                   $00.00         $00.00                  $00.00

      RESTITUTION ... :                PROPERTY:          NO     SERVICES:     NO         AMOUNT:       $00. 00

      ---------------------------PRIOR OBLIGATION NO: 010
      OFFENSE CODE .... : 409      21:841 & 846 SEC 841-851
      OFF/CHG: 21:841(A) (1) PWITD MORE THAN 5 GRMS OF COCAINE BASE, A
                QUANTITY OF COCAINE, A QUANTITY OF HEROIN & A QUANTITY OF
                METHYLENEDROXYMETHAMPHETAMINE.

       SENTENCE PROCEDURE . . . . . . . . . . . . . : 3559 PLRA SENTENCE
       SENTENCE IMPOSED/TIME TO SERVE.:                    108 MONTHS
       TERM OF SUPERVISION . . . . . . . . . . . . :         5 YEARS
       DATE OF OFFENSE . . . . . . . . . . . . . . . . : 06-09-2006




      G0002                 MORE PAGES TO FOLLOW . . .




                                                                         JA81
USCA4 Appeal: 21-7352                Doc: 19                Filed: 11/16/2022      Pg: 85 of 141




                     9:20-cv-03040-JD                Date Filed 11/10/20        Entry Number 8-1     Page 14 of 43
        DSCCN                    *                      PUBLIC INFORMATION                     *      09-28-2020
      PAGE 003 OF 003            *                          INMATE DATA                        *      13:04:30
                                                         AS OF 05-23-2014

      REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                           RESP OF: WIL
                           PHONE .. : 843-387-9400 FAX: 843-387-6961
      ---------------------------PRIOR COMPUTATION NO: 010 --------------------------

      COMPUTATION 010 WAS LAST UPDATED ON 04-11-2013 AT DSC AUTOMATICALLY
      COMPUTATION CERTIFIED ON 04-11-2013 BY DESIG/SENTENCE COMPUTATION CTR

      THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
      PRIOR COMPUTATION 010:   010 010

      DATE COMPUTATION BEGAN ..........                     : 10-25-2007
      TOTAL TERM IN EFFECT . . . . . . . . . . . .          :   108 MONTHS
      TOTAL TERM IN EFFECT CONVERTED ..                     :     9 YEARS
      EARLIEST DATE OF OFFENSE ........                     : 06-09-2006

      JAIL CREDIT . . . . . . . . . . . . . . . . . . . . . :     FROM DATE       THRU DATE
                                                                  06-09-2006      06-14-2006
                                                                  07-05-2006      10-24-2007

      TOTAL PRIOR CREDIT TIME ......... :                       483
      TOTAL INOPERATIVE TIME .......... :                       0
      TOTAL GCT EARNED AND PROJECTED .. :                       399
      TOTAL GCT EARNED . . . . . . . . . . . . . . . . :        399
      STATUTORY RELEASE DATE PROJECTED:                         05-26-2014
      ELDERLY OFFENDER TWO THIRDS DATE:                         06-29-2012
      EXPIRATION FULL TERM DATE ....... :                       06-29-2015
      TIME SERVED . . . . . . . . . . . . . . . . . . . . . :        7 YEARS      10 MONTHS        25 DAYS
      PERCENTAGE OF FULL TERM SERVED .. :                         87.7
      PERCENT OF STATUTORY TERM SERVED:                           99.8

      ACTUAL     SATISFACTION          DATE ........        :   05-23-2014
      ACTUAL     SATISFACTION          METHOD ......        :   GCT REL
      ACTUAL     SATISFACTION          FACILITY ....        :   CRL
      ACTUAL     SATISFACTION          KEYED BY ....        :   TM

      DAYS REMAINING . . . . . . . . . . . . . . . . . . : 3 9 9
      FINAL PUBLIC LAW DAYS ........... : 3




      GOOOO               TRANSACTION SUCCESSFULLY COMPLETED




                                                                    JA82
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 86 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1      Page 15 of 43




                        Attachment 3


                                             JA83
USCA4 Appeal: 21-7352                  Doc: 19            Filed: 11/16/2022          Pg: 87 of 141
                    9:20-cv-03040-JD             Date Filed 11/10/20       Entry Number 8-1        Page 16 of 43


                                                       LIMITED OFFICAL USE
                                                   United States Marshals Service
                      USM-129 Individual Custody/Detention Report
 I. IDENTIFICATION DATA
                                 DISTRICT: EASTERN NORTH CAROLINA NC/E RALEIGH

 Prepared On: 7:50 AM 03/16/2017                                                                                       _JSave



   USMS NUMBER: 70214-056

           DOB:
   CURRENT INST:
       SEX: M
                   -
       ADDRESS: FAYETTEVILLE NC



                          RACE: B
                                            FID: 01286214

                                          AGE: 42y


                                                   HAIR: BLK
                                                                           PHONE: (

                                                                                     -
                                                                            NAME: ELIJAH, LARONE FREDERICK

                                                                             POB: NEW YORK, NY
                                                                         ADMITTED:
                                                                          EYE: BRO       HEIGHT: 72 in       WEIGHT: 205lb
      SSN:                                                 FBI UCN: 538647PA5                                      ALIEN NBR:
  OTHER NUMBER        OTHER NUMBER TYPE                    ISSUE DATE         EXP DATE             REMARKS
  NC0650374A          Originating Police or Identification                                         NC SID
                      Number
  NY711964OR          Originating Police or Identification                                         NY SID
                      Number
  0515491             Originating Police or Identification                                         NC DOC
                      Number
  **SPECIAL CAUTIONS AND MEDICAL              REMARKS

  TB CLEARANCE STATUS                                        ASSESSMENT DATE                          EXPIRED
  CLEARED                                                    08-10-2015                               08-09-2016
  CLEARED                                                    08-04-2016                               08-04-2017
  DNA TEST DATE TAKEN?           DEPUTY                                    REMARKS/KIT#
                 No                                                        Prior to mandatory DNA requirement dated 9/29/09
                 No                                                        TO BE TAKEN BY AGENT
  DETAINER DATE     L/R            ACTIVE        AGENCY                         REMARK
  12-01-2015        L              N             BUTNER MEDIUM II
  PRISONER ALIAS                                                                      ALIAS REMARK




  GENERAL REMARKS
  NONE

 II. CUSTODY INFORMATION
  Custody 1                CUSTODY START DATE: 01-31-2007                   END DATE: 01-02-2008
  CUSTODY STATUS           OFFICE         START DATE        END DATE        REMARK
  WT-CASE-RESOLVE          056            11-23-2007        11-23-2007
  WT-DESIG                 056            11-23-2007        11-27-2007      PACKET SENT TO BOP
  WT-MOVE                  056            11-27-2007        01-02-2008      DESIGNATED TO BENNETTSVILLE FCI
  RL-BOP                   056            01-02-2008        01-02-2008      VANCE BUS PTM00357-08
  Court Case 1          Federal Court City    Judge                             US Attorney              Defense Attorney
  7:07-CR-10-1-D        NC/E WILMINGTON       DEVER, JAMES                                               NUNLEY, ROBERT
                    ARREST DATE     ARRESTING AGENCY                       ARREST LOCATION               WARRANT NUMBER



                                                                                                                                ]

                                                                  JA84
USCA4 Appeal: 21-7352          Doc: 19             Filed: 11/16/2022       Pg: 88 of 141
                  9:20-cv-03040-JD           Date Filed 11/10/20   Entry Number 8-1        Page 17 of 43

  Arrest          01-31-2007    DRUG ENFORCEMENT                   NEW HANOVER JAIL
                                ADMINISTRATION
                  OFF CODE      OFFENSE                            REMARKS                                DISPOSITION
  Offense
                  3532          Cocaine - Possess                                                         Guilty
                  SENTENCE DATE SENTENCE                     APPEAL DATE     DURATION
  Sentence
                  10-25-2007    Prison - Other                               108 Month(s) Fine: $100.00
  Reduced         SENTENCE DATE REDUCED SENTENCE             APPEAL DATE     DURATION
  Sentence
  COURT CASE STATUS            START DATE       END DATE         REMARKS
  ARREST                       01-31-2007       01-31-2007
  WT-TRIAL                     01-31-2007       05-14-2007       STATE CHARGES DISMISSED
  WT-SENT                      05-14-2007       10-25-2007       GUILTY PLEA/JUDGE DEVER
  WT-J/C                       10-25-2007       01-02-2008       SENT. TO 108 MONS
  CASE-RESOLVED                01-02-2008       01-02-2008
  INST      INSTITUTION NAME              ADMIT            RELEASE          BOARDEDACTION OR DISPOSITION
  4JL      New Hanover County Detention 01-31-2007         02-13-2007              13
           Center
  4LJ       Wake Co Jail                  02-13-2007       02-27-2007              14
  4ZM       Johnston Co Jail              02-27-2007       05-11-2007              73
  4LJ       Wake Co Jail                  05-11-2007       05-17-2007               6
  4ZM       Johnston Co Jail              05-17-2007       08-17-2007              92
  4LJ       Wake Co Jail                  08-17-2007       09-04-2007              18
  4SQ       Franklin Co Jail              09-04-2007       10-22-2007              48
  4LJ       Wake Co Jail                  10-22-2007       10-29-2007               7
  3VN       Western Tidewater Reg Jail    10-29-2007       12-27-2007              59
  4LJ       Wake Co Jail                  12-27-2007       01-01-2008               5
  4Z2       Vance Co Jail                 01-01-2008       01-02-2008               1
                                                       TOTAL DAYS BOARDED:        336


  Custody 2            ICUSTODY START DATE: 11-19-2015             IEND DATE: 03-10-2017
  CUSTODY STATUS        OFFICE       START DATE      END DATE       REMARK
  WT-CASE-RESOLVE       056          11-19-2015      12-01-2015     WAIVED DH ON 11/24 IFO JUDGE GATES
  RL-BOP                056          12-01-2015      03-29-2016     BUTNER RASR
  READMIT               056          03-29-2016      03-29-2016     ASR-P IN FROM BUTNER II
  WT-CASE-RESOLVE       056          03-29-2016      03-30-2016     IN FOR A SUPPRESSION HEARING ON 3/30/2016
  WT-CASE-RESOLVE       056          03-30-2016      04-05-2016     MOTION TO SUPRESS DENIED BY JUDGE DEVER.
                                                                    3/30/2016.
  RL-WHCAP              056         04-05-2016       07-05-2016     RASR TO BUTNER
  READMIT               056         07-05-2016       07-05-2016     ASR IN
  WT-CASE-RESOLVE       056         07-05-2016       07-19-2016
  RL-WHCAP              056         07-19-2016       08-09-2016
  READMIT               056         08-09-2016       08-09-2016     ASR FROM FCC BUTNER
  WT-CASE-RESOLVE       056         08-09-2016       08-26-2016     SENTENCING CONT UNTIL NOV
  WT-MOVE               056         08-26-2016       09-01-2016     RASR BUTNER 2
  RL-WHCAP              056         09-01-2016       03-03-2017
  READMIT               056         03-03-2017       03-03-2017     ASR IN FROM BUTNER 2
  WT-CASE-RESOLVE       056         03-03-2017       03-08-2017
  WT-MOVE               056         03-08-2017       03-10-2017     RASR TO BUTNER 2
  RL-BOP                056         03-10-2017       03-10-2017
  Court Case 2          Federal Court City        Judge                 US Attorney             Defense Attorney
  4:15-CR-00070         NC/E RALEIGH                                    MORALES, ELEANOR
                  ARREST DATE       ARRESTING AGENCY           ARREST LOCATION                WARRANT NUMBER
  Arrest
                  11-19-2015        U.S. ATTORNEY'S OFFICE     RALEIGH, NC
                  OFF CODE          OFFENSE                    REMARKS                              DISPOSITION
  Offense
                  3599              Dangerous Drugs                                                 Guilty
                  SENTENCE DATE     SENTENCE              APPEAL DATE     DURATION
  Sentence        03-07-2017        Prison - Other                        108 Month(s) 3 Year(s) Supervision




                                                          JA85
USCA4 Appeal: 21-7352          Doc: 19            Filed: 11/16/2022        Pg: 89 of 141
                  9:20-cv-03040-JD       Date Filed 11/10/20       Entry Number 8-1        Page 18 of 43

                                                                             Assessment: $100.00
  Reduced          SENTENCE DATE REDUCED SENTENCE           APPEAL DATE      DURATION
  Sentence         03-07-2017    Prison - Other                              108 Month(s)
  COURT CASE STATUS            START DATE        END DATE          REMARKS
  ASR-P                        11-19-2015        11-19-2015        FROM FCI BUTNER 2
  WT-TRIAL                     11-19-2015        08-17-2016
  WT-SENT                      08-17-2016        03-07-2017        GUILTY PLEA ENTERED- 8/17/16
  WT-J/C                       03-07-2017        03-07-2017        108 MOS
  RC-J/C                       03-07-2017        03-07-2017
  CASE-RESOLVED                03-07-2017       03-07-2017
  INST      INSTITUTION NAME              ADMIT             RELEASE          BOARDEDACTION OR DISPOSITION
  4SQ      Franklin Co Jail               11-19-2015        11-30-2015              11
  3PV       Piedmont Regional Jail        11-30-2015        12-01-2015                1
  3PV       Piedmont Regional Jail        03-29-2016        04-05-2016                7IN FROM BUTNER
  3PV       Piedmont Regional Jail        07-05-2016        07-19-2016              14
  3PV       Piedmont Regional Jail        08-09-2016        09-01-2016               23
  3PV       Piedmont Regional Jail        03-03-2017        03-10-2017                7
                                                        TOTAL DAYS BOARDED:          63


  Custody 3             ICUSTODY START DATE: 07-10-2015            IEND DATE: 09-14-2015
  CUSTODY STATUS        OFFICE      START DATE      END DATE       REMARK
  WT-CASE-RESOLVE       056         07-10-2015      07-13-2015
  WT-CASE-RESOLVE       056         07-13-2015      08-27-2015     DEF WAIVED DH BEFORE JUDGE JONES
  WT-DESIG              056         08-27-2015      09-04-2015
  WT-MOVE               056         09-04-2015      09-14-2015     BUTNER MED II
  RL-BOP                056         09-14-2015      09-14-2015
  Court Case 3           Federal Court City         Judge               US Attorney            Defense Attorney
                         NC/E RALEIGH               DEVER, JAMES        MORALES, ELEANOR       UMSTEAD, SUSAN
                   ARREST DATE       ARRESTING AGENCY              ARREST LOCATION             WARRANT NUMBER
  Arrest           07-10-2015        UNITED STATES MARSHALS        WILMINGTON, NC
                                     SERVICE
                   OFF CODE          OFFENSE                       REMARKS                          DISPOSITION
  Offense
                   5012              Probation Violation                                            Guilty
                   SENTENCE DATE SENTENCE                     APPEAL DATE     DURATION
  Sentence
                   08-17-2015        Prison - Other                           36 Month(s)
  Reduced          SENTENCE DATE REDUCED SENTENCE             APPEAL DATE     DURATION
  Sentence
  COURT CASE STATUS            START DATE       END DATE         REMARKS
  REVHEAR                      07-10-2015       08-17-2015       WAIVED PC/DH AT HIS IA
  WT-J/C                       08-17-2015       08-27-2015       REVOKED AND SENTENCED TO 36 MONTHS- 8/17/15
  RC-J/C                       08-27-2015       08-27-2015
  CASE-RESOLVED                08-27-2015       08-27-2015
  INST      INSTITUTION NAME              ADMIT            RELEASE         BOARDEDACTION OR DISPOSITION
  4JL      New Hanover County Detention 07-10-2015         07-16-2015               6
           Center
  4LJ      Wake Co Jail                   07-16-2015       08-05-2015              20
  4LV       Edgecomb Co Jail              08-05-2015       08-17-2015              12
  4SQ       Franklin Co Jail              08-17-2015       08-18-2015               1TRANSFER AFTER RH
  3PV       Piedmont Regional Jail        08-18-2015       09-14-2015              27TRANSFER VIA 05 CELL
                                                       TOTAL DAYS BOARDED:         66


  III. MEDICAL CONDITION/TREATMENT HISTORY
  DATE SERVICE PROVIDED                          VENDOR                            SERVICE PROVIDED
  11-12-2007                                     LABCORP                           87070
  11-05-2007                                     LABCORP                           87070 87184
  10-17-2007                                     JAMES HARDY DDS                   D0140 D0220 D7140




                                                         JA86
USCA4 Appeal: 21-7352               Doc: 19             Filed: 11/16/2022          Pg: 90 of 141
                     9:20-cv-03040-JD          Date Filed 11/10/20        Entry Number 8-1         Page 19 of 43

  This Document Represents the most recent USM129 Data as of 7:50 AM 03/16/2017.




https://ows.doj.gov/...older&AttachmentOwner=0000000000000000000000040922839&SN=A5B2869C-614A-48D1-A307-611CF85E95DC[3/16/2017 9:14:12 AM]

                                                                JA87
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 91 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1      Page 20 of 43




                        Attachment 4


                                             JA88
USCA4 Appeal: 21-7352          Doc: 19            Filed: 11/16/2022          Pg: 92 of 141
                9:20-cv-03040-JD         Date Filed 11/10/20       Entry Number 8-1         Page 21 of 43


                                      UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                              Southern Division
                                         DOCKET NO. 7:07-CR-10-lD

        United States Of America                        )                            JUDGMENT
                                                        )
                       vs.                              )
                                                        )
        Larone Frederick Elijah                         )



            On October 25, 2007, Larone Frederick Elijah appeared before the Honorable James C. Dever 111,
        Chief U.S. District Judge in the Eastern District of North Carolina, and upon an earlier plea of guilty to 21
        U .S.C. § 84 I (a)( I), Possession With Intent to Distribute More Than 5 Grams of Cocaine Base, a Quantity
        of Cocaine, a Quantity of Heroin, and a Quantity of Methylenedioxymethamphetamine, was sentenced to
        I 08 months imprisonment, and 60 months supervised release.

           From evidence presented at the revocation hearing on August 17, 2015, the court finds as a fact that
        Larone Frederick Elijah, who is appearing before the court with counsel, has violated the terms and
        conditions of the judgment as follows:

            I. Criminal conduct.

           IT IS, THEREFORE, ORDERED AND ADJUDGED that the supervised release term heretofore
        granted be revoked, and the defendant is ordered committed to the custody of the Bureau of Prisons or its
        authorized representative for imprisonment for a period of 36 months.

           IT IS RECOMMENDED that the defendant serve this sentence at FCl Bennettsville, SC, and receive
        vocational training and the 500 hour drug treatment program while incarcerated.

           IS FURTHER ORDERED that the Clerk provide the U.S. Marshal a copy of this Judgment and same
        shall serve as the commitment herein.

           This the 17th day of August, 2015




                                                              J a ~ . Dever III
                                                              Chief U.S . District Judge




                       Case 7:07-cr-00010-D Document 82 Filed 08/17/15 Page 1 of 1


                                                            JA89
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 93 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1      Page 22 of 43




                        Attachment 5


                                             JA90
USCA4 Appeal: 21-7352                     Doc: 19               Filed: 11/16/2022               Pg: 94 of 141
                       9:20-cv-03040-JD               Date Filed 11/10/20           Entry Number 8-1             Page 23 of 43

   AO 245B (Rev. 02/16) Judgment in a Criminal Case
                        Sheet I



                                             UNITED STATES DISTRICT COURT
                                                          Eastern District of North Carolina
                                                                             )
                 UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                     v.                                      )
                     LARONE FREDERICK ELIJAH                                 )
                                                                                     Case Number: 4:15-CR-70-1-D
                                                                             )
                                                                             )       USM Number: 70214-056
                                                                            -)
                                                                             )        Brian M. Aus (stand-by counsel)
                                                                             )       Defendant's Attorney
   THE DEFENDANT:
   Ill pleaded guilty to count(s)         1 of the Indictment

   D pleaded nolo contendere to count(s)
     which was accepted by the court.
   D was found guilty on count(s)
     after a plea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section                   Nature of Offense                                                         Offense Ended               Count
    21 U.S.C. § 841(a)(1),             Possession With the Intent to Distribute a Quantity of                   6/11/2015                    1
    21   u.s.c. § 841 (b)(1 )(C)       Cocaine, a Quantity of Heroin, and a Quantity of

                                      3,4-Methlylenediocy-N-ethylcathinone

          The defendant is sentenced as provided in pages 2 through         __
                                                                             6 _ _ of this judgment. The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)

   D Count(s)                                              Dis        Dare dismissed on the motion of the United States.

            It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
   or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
   the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             3/7/2017
                                                                            Date oflmposition of Judgment




                                                                             James C. Dever 111, Chief United States District Judge
                                                                            Name and Title of Judge


                                                                             3/7/2017
                                                                            Date




                               Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 1 of 6


                                                                        JA91
USCA4 Appeal: 21-7352                    Doc: 19              Filed: 11/16/2022            Pg: 95 of 141
                        9:20-cv-03040-JD            Date Filed 11/10/20             Entry Number 8-1         Page 24 of 43

   AO 245B (Rev. 02/16) Judgment in Criminal Case
                          Sheet 2 - Imprisonment
                                                                                                        Judgment - Page   _2~_   of   6
    DEFENDANT: LARONE FREDERICK ELIJAH
    CASE NUMBER: 4:15-CR-70-1-D

                                                               IMPRISONMENT

               The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
    term of:

     Count 1 - 108 months and shall run consecutively to any other sentence imposed

     The court orders that the defendant provide support for all dependents while incarcerated.

       [l] The court makes the following recommendations to the Bureau of Prisons:


     The court recommends that the defendant receive the 500 hour intensive substance abuse treatment program, and
     vocational and educational training opportunities. The court recommends that he serve his term in FCI Butner, NC.


       Ill The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
               D at                                  D a.m.       D p.m.       on

               D as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               D before 2 p.m. on
               D as notified by the United States Marshal.
               D as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
    I have executed this judgment as follows:




               Defendant delivered on                                                      to

    a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                             By---------------------
                                                                                                 DEPUTY UNITED ST ATES MARSHAL




                              Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 2 of 6


                                                                       JA92
USCA4 Appeal: 21-7352                     Doc: 19                Filed: 11/16/2022              Pg: 96 of 141
                         9:20-cv-03040-JD               Date Filed 11/10/20          Entry Number 8-1                Page 25 of 43

   AO 245B (Rev. 02/16) Judgment in a Criminal Case
                         Sheet 3 - Supervised Release
                                                                                                                Judgment-Page           of
    DEFENDANT: LARONE FREDERICK ELIJAH
    CASE NUMBER: 4:15-CR-70-1-D
                                                             SUPERVISED RELEASE
    Upon release from imprisonment, the defendant shall be on supervised release for a tenn of :
    Count 1 - 3 years

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
    custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state or local crime.
    The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)'. unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
    thereafter, as detennined by the court.

    □        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
             future substance abuse. (Check, if applicable.)

             The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
    □        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
             works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

    □        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
              If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
    Schedule of Payments sheet of this judgment.
                                                "
             The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
    on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
        1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)      the defendant shall support his or her dependents and meet other family responsibilities;
      5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
      6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)      the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
              felony, unless granted permission to do so by the probation officer;
     10)      the defendant shall P.ennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
              contraband observea in plain view of the probation officer;
     11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
              pennission of the court; and
     13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant' s criminal
              record or ~ersona1 history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
              defendant s compliance with such notification requirement.




                                Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 3 of 6


                                                                          JA93
USCA4 Appeal: 21-7352                    Doc: 19              Filed: 11/16/2022     Pg: 97 of 141
                       9:20-cv-03040-JD                Date Filed 11/10/20   Entry Number 8-1       Page 26 of 43
    AO 245B (Rev. 02/16) Judgment in a Criminal Case
            Sheet 3C - Supervised Release
                                                                                                Judgment-Page   _4-'----_   of   6
    DEFENDANT: LARONE FREDERICK ELIJAH
    CASE NUMBER: 4:15-CR-70-1-D

                                              SPECIAL CONDITIONS OF SUPERVISION
     The defendant shall provide the probation office with access to any requested financial information.

     The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
     office.

     The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
     addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
     and may require residence or participation in a residential treatment facility.

     The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
     officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
     compliance with the conditions of this judgment.

     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

     The defendant shall support his dependent(s).




                              Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 4 of 6


                                                                    JA94
USCA4 Appeal: 21-7352                     Doc: 19               Filed: 11/16/2022             Pg: 98 of 141
                        9:20-cv-03040-JD               Date Filed 11/10/20           Entry Number 8-1          Page 27 of 43
   AO 245B (Rev. 02/16) Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties ·
                                                                                                         Judgment - Page __5
                                                                                                                           __ of               6
    DEFENDANT: LARONE FREDERICK ELIJAH
    CASE NUMBER: 4:15-CR-70-1-D
                                                      CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                        Fine                              Restitution
    TOTALS             $   100.00                                        $                                 $



    0     The detennination ofrestitution is deferred until
                                                            ----
                                                                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

    D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.

        Name of Payee                                                          Total Loss*        Restitution Ordered        Priority or Percentage




    TOTALS                               $                0.00                  $                      0.00
                                             - -- - - - - - --                      - - - -- - - - - -

    0      Restitution amount ordered pursuant to plea agreement $

    0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    D      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

           D the interest requirement is waived for the         O fine       O restitution.
           O the interest requirement for the          O fine    O restitution is modified as follows:

    * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 0A, and 113A of Title 18 for offenses committed on or after
    September 13, 1994, but before April 23, 1996.

                               Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 5 of 6


                                                                         JA95
USCA4 Appeal: 21-7352                    Doc: 19              Filed: 11/16/2022               Pg: 99 of 141
                       9:20-cv-03040-JD               Date Filed 11/10/20           Entry Number 8-1             Page 28 of 43
   AO 2458 (Rev. 02/16) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                             Judgment - Page _ _ _ of
    DEFENDANT: LARONE FREDERICK ELIJAH
    CASE NUMBER: 4:15-CR-70-1-D

                                                        SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

    A     D    Lump sum payment of$                             due immediately, balance due

               □     not later than - - - - - - - - - - ' or
               D     in accordance      D C, D D,    D E, or                   D F below; or

    B     D    Payment to begin immediately (may be combined with            D C,        DD, or       D F below); or

    C     D    Payment in equal _ _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $      _ _ _ _ __ over a period of
                            (e .g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

    D     D    Payment in equal _ _ _ _ __ (e.g., weekly, monthly, quarterly) installments of $       _ _ _ __ _ over a period of
                             (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E     D    Payment during the term of supervised release will commence within _ __ __ (e .g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

    F     0    Special instructions regarding the payment of criminal monetary penalties:

                The special assessment in the amount of $100.00 shall be due in full immediately.




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin&
    the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
    Inmate Financial Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




    D     Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.




    D     The defendant shall pay the cost of prosecution.

    D    The defendant shall pay the following court cost(s):

    D     The defendant shall forfeit the defendant's interest in the following property to the United States:




    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

                              Case 4:15-cr-00070-D Document 116 Filed 03/07/17 Page 6 of 6


                                                                       JA96
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 100 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1   Page 29 of 43




                        Attachment 6


                                             JA97
USCA4 Appeal: 21-7352       Doc: 19       Filed: 11/16/2022    Pg: 101 of 141




                  9:20-cv-03040-JD     Date Filed 11/10/20    Entry Number 8-1   Page 30 of 43
         DSCCN          *                 PUBLIC INFORMATION               *     09-28-2020
       PAGE 001         *                     INMATE DATA                  *     13:05:23
                                           AS OF 09-28-2020

       REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                              RESP OF: WIL
                              PHONE .. : 843-387-9400   FAX: 843-387-6961
                                                        RACE/SEX ... : BLACK/ MALE
                                                        AGE: 44
       PROJ REL MT: GOOD CONDUCT TIME RELEASE           PAR ELIG DT: N/A
       PROJ REL DT: 09-21-2025                          PAR HEAR DT:




       G0002        MORE PAGES TO FOLLOW . . .




                                                 JA98
USCA4 Appeal: 21-7352                   Doc: 19                   Filed: 11/16/2022    Pg: 102 of 141




                       9:20-cv-03040-JD                   Date Filed 11/10/20       Entry Number 8-1        Page 31 of 43
        DSCCN                      *                           PUBLIC INFORMATION                  *         09-28-2020
      PAGE 002                     *                               INMATE DATA                     *         13:05:23
                                                                AS OF 09-28-2020

      REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                         RESP OF: WIL
                         PHONE .. : 843-387-9400  FAX: 843-387-6961
      HOME DETENTION ELIGIBILITY DATE: 03-21-2025

      THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
      THE INMATE IS PROJECTED FOR RELEASE:  09-21-2025 VIA GCT REL

      ----------------------CURRENT JUDGMENT/WARRANT NO: 020 ------------------------

      COURT OF JURISDICTION ........... :                             NORTH CAROLINA, EASTERN DISTRICT
      DOCKET NUMBER . . . . . . . . . . . . . . . . . . . :           7:07-CR-10-lD
      JUDGE . . . . . . . . . . . . . . . . . . . . . . . . . . . :   DEVER
      DATE SENTENCED/PROBATION IMPOSED:                               10-25-2007
      DATE SUPERVISION REVOKED ........ :                             08-17-2015
      TYPE OF SUPERVISION REVOKED ..... :                             REG
      DATE COMMITTED . . . . . . . . . . . . . . . . . . :            09-14-2015
      HOW COMMITTED . . . . . . . . . . . . . . . . . . . :           COMMIT OF SUPERVISED REL VIOL
      PROBATION IMPOSED . . . . . . . . . . . . . . . :               NO

                                       FELONY ASSESS             MISDMNR ASSESS FINES                   COSTS
      NON-COMMITTED.:                  $100.00                   $00.00         $00.00                 $00.00

      RESTITUTION ... :                PROPERTY:          NO     SERVICES:     NO        AMOUNT:       $00. 00

      -------------------------CURRENT OBLIGATION NO: 010
      OFFENSE CODE .... : 409      21:841 & 846 SEC 841-851
      OFF/CHG: 21:841(A) (1) POSSESSION WITH INTENT TO DISTRIBUTE MORE THAN 5
                 GRAMS OF COCAINE BASE, A QUANTITY OF COCAINE, A QUANTITY OF
                 HEROIN, AND A QUANTITY OF METHYLENEDIOXYMETHAMPHETAMINE

       SENTENCE PROCEDURE . . . . . . . . . . . . . : SUPERVISED RELEASE VIOLATION PLRA
       SENTENCE IMPOSED/TIME TO SERVE.:                     36 MONTHS
       DATE OF OFFENSE . . . . . . . . . . . . . . . . : 06-09-2006

      ----------------------CURRENT JUDGMENT/WARRANT NO: 030 ------------------------

      COURT OF JURISDICTION ........... :                             NORTH CAROLINA, EASTERN DISTRICT
      DOCKET NUMBER . . . . . . . . . . . . . . . . . . . :           4:15-CR-70-1-D
      JUDGE . . . . . . . . . . . . . . . . . . . . . . . . . . . :   DEVER
      DATE SENTENCED/PROBATION IMPOSED:                               03-07-2017
      DATE COMMITTED . . . . . . . . . . . . . . . . . . :            03-10-2017
      HOW COMMITTED . . . . . . . . . . . . . . . . . . . :           US DISTRICT COURT COMMITMENT
      PROBATION IMPOSED . . . . . . . . . . . . . . . :               NO




      G0002                 MORE PAGES TO FOLLOW . . .




                                                                         JA99
USCA4 Appeal: 21-7352          Doc: 19           Filed: 11/16/2022   Pg: 103 of 141




                 9:20-cv-03040-JD         Date Filed 11/10/20    Entry Number 8-1          Page 32 of 43
        DSCCN             *                    PUBLIC INFORMATION                 *         09-28-2020
      PAGE 003            *                        INMATE DATA                    *         13:05:23
                                                AS OF 09-28-2020

      REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                                RESP OF: WIL
                                PHONE .. : 843-387-9400      FAX: 843-387-6961

                              FELONY ASSESS     MISDMNR ASSESS FINES                   COSTS
      NON-COMMITTED.:         $100.00           $00.00         $00.00                 $00.00

      RESTITUTION ... :       PROPERTY:   NO    SERVICES:   NO          AMOUNT:       $00. 00

      -------------------------CURRENT OBLIGATION NO: 010
      OFFENSE CODE .... : 381       21:841 SCH II NARCOTIC
      OFF/CHG: 21:841(A) (1), 21:841(B) (1) (C) POSSESSION WITH THE INTENT TO
                 DISTRIBUTE A QUANTITY OF COCAINE, A QUANTITY OF HEROIN & A
                 QUANTITY OF 3,4-METHLYLENEDIOCY-N-ETHYLCATHINONE

       SENTENCE PROCEDURE . . . . . . . . . . . . . : SUPERVISED RELEASE VIOLATION PLRA
       SENTENCE IMPOSED/TIME TO SERVE.:                    108 MONTHS
       TERM OF SUPERVISION . . . . . . . . . . . . :         3 YEARS
       RELATIONSHIP OF THIS OBLIGATION
        TO OTHERS FOR THE OFFENDER .... : 030 CS 020
       DATE OF OFFENSE . . . . . . . . . . . . . . . . : 06-11-2015

      -------------------------CURRENT COMPUTATION NO: 020 --------------------------

      COMPUTATION 020 WAS LAST UPDATED ON 03-17-2020 AT DSC AUTOMATICALLY
      COMPUTATION CERTIFIED ON 04-13-2017 BY DESIG/SENTENCE COMPUTATION CTR

      THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
      CURRENT COMPUTATION 020: 020 010, 030 010




      G0002         MORE PAGES TO FOLLOW . . .




                                                      JA100
USCA4 Appeal: 21-7352                 Doc: 19             Filed: 11/16/2022      Pg: 104 of 141




                      9:20-cv-03040-JD                Date Filed 11/10/20       Entry Number 8-1     Page 33 of 43
          DSCCN                   *                      PUBLIC INFORMATION                    *      09-28-2020
        PAGE 004 OF 004           *                          INMATE DATA                       *      13:05:23
                                                          AS OF 09-28-2020

       REGNO .. : 70214-056 NAME: ELIJAH, LARONE FREDRICK

                          RESP OF: WIL
                          PHONE .. : 843-387-9400             FAX: 843-387-6961
       DATE COMPUTATION BEGAN .......... : 08-17-2015
       AGGREGATED SENTENCE PROCEDURE ... : AGGREGATE GROUP 800 PLRA
       TOTAL TERM IN EFFECT . . . . . . . . . . . . : 144 MONTHS
       TOTAL TERM IN EFFECT CONVERTED .. :             12 YEARS
       AGGREGATED TERM OF SUPERVISION .. :              3 YEARS
       EARLIEST DATE OF OFFENSE ........ : 06-09-2006

       JAIL CREDIT . . . . . . . . . . . . . . . . . . . . . :     FROM DATE      THRU DATE
                                                                   06-11-2015     06-18-2015
                                                                   07-10-2015     08-16-2015

       TOTAL PRIOR CREDIT TIME ......... :                       46
       TOTAL INOPERATIVE TIME .......... :                       0
       TOTAL GCT EARNED AND PROJECTED .. :                       648
       TOTAL GCT EARNED . . . . . . . . . . . . . . . . :        270
       STATUTORY RELEASE DATE PROJECTED:                         09-21-2025
       ELDERLY OFFENDER TWO THIRDS DATE:                         07-02-2023
       EXPIRATION FULL TERM DATE ....... :                       07-01-2027
       TIME SERVED . . . . . . . . . . . . . . . . . . . . . :        5 YEARS      2 MONTHS        27 DAYS
       PERCENTAGE OF FULL TERM SERVED .. :                         43.7
       PERCENT OF STATUTORY TERM SERVED:                           51.2

        PROJECTED SATISFACTION DATE ..... : 09-21-2025
        PROJECTED SATISFACTION METHOD ... : GCT REL




       GOOOO               TRANSACTION SUCCESSFULLY COMPLETED




                                                                  JA101
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022   Pg: 105 of 141




            9:20-cv-03040-JD   Date Filed 11/10/20   Entry Number 8-1   Page 34 of 43




                        Attachment 7


                                            JA102
USCA4 Appeal: 21-7352                                         Doc: 19                 Filed: 11/16/2022                    Pg: 106 of 141
                                                9:20-cv-03040-JD          Date Filed 11/10/20                 Entry Number 8-1                  Page 35 of 43
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                        ~}              tme?\~f Justice

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                                       qeai,/offlis ons    lDjb      ::;.k1c,Q     ()ODD
                                                                                                             Central Office Administr~tive Remedy Appeal
                                                                                                   SB5{ 73;J..b
                        Type or use ball-point pen. If attachments are needed, submit four copies.
                                                                                                   One'copy each of the completed BP-229(i 3) and BP-230(13 ), including any
                        ments m_u st be submitted with this appeal.                                                                                                          attach-

                    From:             Laron e F .Elija h;                                            70214 -056                            1BL        FCI Willia msbur g
                                                 LAST NAME, FIRST, MIDDLE INITIAL                          . REG. NO .                        UNIT                                INSTITUT ION
                    PartA-R EASON FORAP PEAL:
                                      I do not agr_ee witl'l the
    - ~.... And I fully adopt & again incot'- J?orat e hereirespo             nses 1.n the [BP-8,9 1 i◊J.
                                                                        n t" respe ctfull y. In cas·e#         7J
           ~ 07-cr-1 0-D1, I was senten ced, to 5 years S/R as part
                                                                         of the origin al senten ce. I spent
       r ~ from 5/14/2 014 - 7/10/2 015 (14 months) on S/R until
     > C found in US v Haymond,. 139 S.Ct 2319 (2019) , that S/Rrevoke           d. On 6/26/2 019, the S.Ct
                                                                            iJ a _c rimina l prosec ution, "an
       ~ 8_. accuse d final senten ce~lud es any S/R he may receive~'-'. 1/ was senten
   , ~) ~ On 8/17/2 015 to 36 months consec utive to ·~ y
                                                                                                 ced foi; revoca tion
  Ci l.ll 1.,. Ger from 2007, this case is "aggre gated 0 wl.'thother   senten ce. I also ask for ' my 7 day
                                                                   case#4 :15-cr- 70-D1 . In the BP-8,9 ,10
  tl)lt-- °St' respon ses to Haymond• s applic ation concer ning my (14) months
  C O stated it only applie d to 3583(k ) invali dation only. The S.Ctserved          in
                                                                                               on S/R the FBOP
                                                                                           Haymon  d also found
  \)        O
            _ "that an accuse d final senten ce includ es AN'i S/R senten ce he may
                                                                                           receiv e". The effect
  ~        j   of that holdin g was clarif ied in US v. Venable#19-6280 4th. circui
                                                                                            t 11/20/ 2019, clearly
  .L.. _ C5" showing the respon ses from FBOP in
                                                      the BP.:-8,9,10 was incc:>rrect it's other holdin g that
  T t C)..     I reques t credit under due to the (14) months pursua nt to the .:,1 years
           3
  :C c) imposed in 2007, and thus due to the S.Ct                                                 S/R that was
                                                             holdin g in Haymond it places 3583(e )(3) in
               confl ict with that rulin g. As you will also see the
      ~        case and Haymo nds t"uling wil 1 a pp ly to any case that Venab                   le · c,ase is a drug
        ::r h    See BP-8, 9, 10 respo nses by FBOP at tache dJ[ 4 copie s each]        S/R    _has
                                                                                                . "This
                                                                                                       been impos ed.
                                                                                                           is OW
      -..._,/ 'offic ial ,~e~e ntion_ "after ,R aymon d's /~~bs tantiv e rulin
                                                                                        g.          ~            ~
                    DATES tl}-,T 2020               J.,'bl:O           MC\ ~,     SIGNATU RE OF   QUESTER
                  Part B - RESPONSE
                                  f.. , ..,,{
                                                                                          j   '1
                                                                                                                                                             ! i
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                                                                                                                                                                     f
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                                                                                                                                                             ,       I
   . . .. ···~•.·,..,    .




                                           DATE
                                                                                                                                            GENERAL COUNSEL
              FIRST COPY: WASHIN GTON FILE COPY
                                                                                                                                      CASE NUMBER :          ---'qq'-"-'f=--3:;;._5;_/..:....·ll_!_ _
              Part C - RECEIPT
                                                                                                                                      CASE NUMBER: _ _ _ _ _ _ _ __

             Return to: - - - - - - . - ' - - - - - - - - - - -
                            LAST NAME, FIRST, MIDDLE INITIAL                                                REG.NO.
             SUBJECT: _ _ _ _ _ _ _ _....;..__ _ _ _ _ _ _                                                                   UNIT         INSTITUT ION
                                                             ___                                           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __;_
                                                                                                                                                    __


                                         DATE
                                                                                                      SIGNATU RE OF RECIPIEN T OF CENTRAL OFFICE APPEAL
                                                                                                                                                                                           BP-231(13)


                                                                                                   JA103
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 107 of 141
              9:20-cv-03040-JD    Date Filed 11/10/20   Entry Number 8-1   Page 36 of 43




           Admini strative Remedy No. 998351- Al
           Part B - Respon se

           This is in respons e to your Central Office Admin istrativ e Remedy
           Appeal, wherein you contend that under the First Step Act of
           2018 (FSA), you are eligibl e for additio nal Good Conduc t Time
           (GCT) credit toward a previou sly served term of confine ment.
           You specifi cally request the Bureau of Prisons (Bureau ) to apply
           7 days GCT toward your current term of impriso nment.

           A review of your record reveale d on October 25, 2007, the United
           States Distric t Court for the Eastern Distric t of North Carolin a
           sentenc ed you to a 108-mon th term of impriso nment for Possess ion
           With Intent to Distrib ute More Than 5 Grams of Cocaine Base, a
           Quantit y o f Cocaine , a Quantit y of Heroin, and a Quantit y o f
           Methyle nedioxy metham phetami ne, case number 7:07-CR -10-1-D .
           You earned a total of 399 days GCT credits during the service of
           this sentenc e.   You release d from this sentenc e on May 23, 2014,
           with 5-years superv ision.

           On June 11, 2015, you were arreste d by North Carolin a state
           author ities for Traffic king Cocaine (x2), case number 15CR543 89,
           and Possess ion With Intent to Sell and Deliver Schedu le I
           Contro lled Substan ce, Poss e ssion With the Intent to Manufa cture,
           Sell, or Deliver Heroin, and Maintai ning a Vehicle , Dwellin g, or
           Place for Contro lled Substan ces, case number 15CR54 390. On
           June 18, 2015, you release d from state custody via bond, and
           state charges remaine d pending .    On July 10, 2015, you were
           arreste d by the United States Marsha ls Service (USMS) for
           Supervi sed Release Violati on in case number 7:07-CR -10-1-D .    In
           additio n to new charges for Possess ion With the Intent to
           Distrib ute a Quanti ty of Cocaine , A Quantit y of Heroin, and a
           Quantit y of 3, 4-Meth lylened iocy-N -ethylc athinon e in case number
           4:15-CR -70-1-D .

          On August 17, 2015, the United States Distric t Court for the
          Eastern Distric t of North Carolin a sentenc ed you to an 36-mont h
          term of impriso nment for a Super v ised Release Violati on, case
          number 7:07-CR -10-lD.    On Novemb er 24, 2015, Pitt County, North
          Carolin a dismiss ed state charges in lieu of federal prosecu tion
          in case numbers 15CR543 89, and 15CR543 90.    On March 7, 201 7 , the
          United States Distric t Court for the Eastern Distric t o f North
          Carolin a imposed an additio nal 108-mon th term of impriso nment
          for Possess ion With the Intent to Distrib ute a Quantit y of
          Cocaine , A Quanti ty of Heroin, and a Quantit y of 3, 4-
          Methly lenedio cy-N-e thylcath inone.  The respect ive judgmen t was
          ordered to run consec utive to any other sentenc e imposed .




                                              JA104
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 108 of 141
              9:20-cv-03040-JD    Date Filed 11/10/20   Entry Number 8-1   Page 37 of 43




           Admini strative Remedy No. 998351- Al
           Part B - Respon se
           Page 2

           Therefo re, the Bureau compute d a 144-mon th aggrega te term of
           impriso nment.

           On March 17, 2020, the Bureau compute d your sentenc e comput ation
           to reflect 54 days of GCT credits earned pursuan t to the FSA.
           You have curren tly earned 216 days GCT, and project ed to earn
           648 days.  Your project ed release date is Septemb er 21, 2025.

           Accord ingly, the provisi ons of the new law took effect on
           July 19, 2019.   The changes made to the GCT earning s were made
           retroac tive, but applica ble only to sentenc es not yet satisfi ed
           as of July 19, 2019; therefo re any sentenc e satisfi ed prior to
           the effecti ve date of the FSA is not eligibl e to receive
           additio nal GCT credits . You release d from your prior federal
           sentenc e before the enactme nt of the FSA.

           Your sentenc e has been compute d as directe d by federal statute ,
           and Bureau of Prisons Program Stateme nt 5880.28 , Sentenc e
           Comput ation Manual (CCCA of 1984).

           Accord ingly, your appeal is denied.




           Date                                  Ian Connors , Admin istrator
                                                 Nationa l Inmate Appeals /)~




                                              JA105
USCA4 Appeal: 21-7352        Doc: 19          Filed: 11/16/2022      Pg: 109 of 141
                 9:20-cv-03040-JD      Date Filed 11/10/20   Entry Number 8-1     Page 38 of 43



     Regional Administrative Remedy Appeal No. 998351-R1
     Part B - Response


     This is in response to your Regional Administrative Remedy Appeal receipted December 19, 2019.
     You are appealing the Warden's response to your institution Administrative Remedy wherein you
     allege time spent of supervised release should be applied as jail credit because it is considered
     "official detention." You further request to be awarded your 7 days Good Conduct Time credit (GCT)
     from your original sentence.

     An investigation into this matter reveals you were sentenced to a term of 180 months imprisonment in
     U.S. District Court, Eastern District of North Carolina, for Possession with Intent to Distribute Cocaine
     Base. You were released from that term of imprisonment on May 23, 2014. You violated the terms
     of your Supervised Release and were sentenced 36 months imprisonment. In accordance with
     Program Statement 5880.28, Sentence Computation Manual (CCCA OF 1984). "A revocation of a
     term of supervised release cannot begin to run, or commence, any earlier than the date on which it is
     revoked. A supervised release revocation term, for calculation purposes, shall be treated the same
     as any other NL [New Law] sentence and may be aggregated with other NL [New Law] sentences
     following the same aggregation policy as discussed" previously in the manual." Conversely, your
     sentences cannot be aggregated because they were imposed and served prior to the new term of
     imprisonment being imposed. Therefore, the original term of imprisonment is not taken into account
     with relation to Good Time Credits (GTC) as part of the First Step Act. Your sentence computation
     was reviewed and updated by the Designation & Sentence Computation Center in accordance with
     the First Step Act on March 17, 2020. Your projected release date is now September 21, 2025.

     In accordance with Program Statement 5880.28, Sentence Computation Manual, Page 1 - 14G,
     Reno V. Koray, 115 S.Ct 2021 (1995), the U.S. Supreme court held the time spent under restrictive
     conditions of release was not official detention entitling an inmate to prior custody time under 18
     U.S.C. § 3585(b). The court found the interaction of the Bail Reform Act and 18 U.S.C. § 3585(b)
     supported the Bureau of Prison interpretation that a defendant is either released (with no credit for
     time under conditions of release) or detained (with credit for time in official detention.) Therefore,
     the Koray decision means the time spent as a result of a condition of bond or release on own
     recognizance is not creditable to the service of the subsequent sentence. Furthermore, according to
     Program Statement 5880.28, Sentence Computation Manual (CCCA OF 1984). "... a defendant is
     not entitled to any time credit off the subsequent sentence, regardless of the severity or
     degree of restrictions, if such release was a condition of bond or release on own
     recognizance, or as a condition of parole, probation or supervised release." As such, all
     applicable jail credit has been awarded in accordance with policy and statutes.

     Accordingly, your Regional Administrative Remedy is denied. If dissatisfied with this response, you
     may appeal to the Office of General Counsel, Bureau of Prisons,
     320 First Street, NW, Washington, DC, 20534. Your appeal must be received in the Office of
     General Counsel within 30 calendar days of the date of this




                                                    JA106
USCA4 Appeal: 21-7352                      Doc: 19                    Filed: 11/16/2022                    Pg: 110 of 141
                        9:20-cv-03040-JD                  Date Filed 11/10/20                 Entry Number 8-1                          Page 39 of 43

    U.S. Depar'tment of Justice                                                          Regional Administrative Remedy Appeal
     Federal Bureau of Prisons

    Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
    with this appeal.
    From:    Vtrl,"\~ t1i,13h                                                    7021L~~05S                                 :t::L       FC~. WU_l_i_aFi_1_~_h_,1.:_r_c;_____
                       LAST NAME, FIRST, MIDDLE INITIAL                                   REG. NO.                               UNIT                    INSTITUTION
    Part A- REASON FOR APPEAL:                            I do 1.1ot agree :,;ith the :::-es·)onses in the[ :'~-8 of ,3?-9 _! - ''illd I
       folly ado~it :'t: 3.'s-1i.n in~oroorat2 h2r27_n 1 res:_)e::.tfo.lly. In case f.7:07-c:c-10-D, I FEJS 3ente~1ced
       to 5 yrs S/1 ::1.., .)a,:': of ':hr~ o;:-i,:sii:nl s2nt~nc2. I S"J?ent fro□ 5/14/2014 ·· .july 10 20J.5 (1•'.f)
       r.ionths cm S/3.. ut1til r2,ro~ed. On ~~une 25 1 2019:, the S.Ct found in US v. ~-faynond 139 S.Ct
       187.6 (2019) 7 th=>t S/R is ?. criminal prosecution " an accused fin3.l s.:?.nt2nce includes ;.my
       S/R h? r.my r2::.eiv2d. I uas 32ntenced to ::evocation on 8/17/2015 to 3 yrs consecutive. I
       also ._,:c:~ fo;:- ny 7 d3.y GCi.' from 2007, thi.:o c:12e is i.a_g~-::-2:;at-ed" l7ith C-3.se#4:15-cr-70-D.
       R---,·:·'""c··'T()'"         u..),J -'--'·--' ,_,; 11/26/2019
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                                                                                                                ":)c)      , no,-1 oeuH_;
                                                                                                                                      .    1. el:l
                                                                                                                                          f'l
       concerning my (14) nonths served on S/R. In the ,3P-3 f'.I: now 3P-9 responses to Haymond's
       applica.t:ion the 30P sta':ed it on-bly applied to 3583(k) invalidation only. "Ihe S.Ct in
       Hayr,1ond also found "that an accused final sentence includes any S/R sentence he may
       rec2ive". The effect of that holding was clarified in US v. /enable #19-6280 (4th.cir.
       2019)[11/20/2019J clearly shm-.rin8 the response given in the BP-8 f11: BP-9 was incorr2ct:
       it's oth2r holding that I re0.uest credit under due to the (14) months pursuant to the
       5 yrs S/R tha'.: \JB.s imposed in 2007, and thus due to the S.Ct holding in Haymond it places
       3583(e)(3) in conflict. As you will see, the Venable case is a drug case and it will apply
       to any case th2t S/R has been imposec1.[See BP-8 "?-.ejection 3P-9 response by "30P attached]
                                                   11
       (4 copies of 2achJ. This is NOP "official detention" after :-Iaymond's su tantive ruling . "
       12/17/2019                                                                            /s/                         ~
                    DATE

     Part B - RESPONSE




                                                                                                                                 I:
                                                                                                                                 ii
                                                                                                                                 i.
                                                                                                                             I   ~d ;




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                     DATE                                                                                                   REGIONAL DIRECTOR
    If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
    days of the date of this response.
    ______________________________________
    ORIGINAL: RETURN TO INMATE CASE NUMBER: 3 5 J-!;.. c_
                                                       I                                                                                         q9g
    Part C - RECEIPT
                                                                                                                        CASE NUMBER: _ _ _ _ _ _ _ __

    Return to: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                             LAST NAME, FIRST, MIDDLE INITIAL                                 REG.NO.                                   UNIT                INSTITUTION
    SUBJECT:---------------------------------------------

                   DATE                                                                    SIGNATURE, RECIPIENT OF REGIONAL APPEAL

                                                                                JA107
USCA4 Appeal: 21-7352   Doc: 19          Filed: 11/16/2022     Pg: 111 of 141
              9:20-cv-03040-JD    Date Filed 11/10/20   Entry Number 8-1   Page 40 of 43


                                                   '·



                                  REQUEST FOR ADMINISTRA TIVE REMEDY
                                        Part B - Response

           Admin. Remedy Case #:998351 -F2



          This is in response to your Request for Adminis trative Remedy,
          dated November 19, 2019, in which you claim that Supervis ed
          Release is official detentio n. Specific ally, you are requesti ng
          credit for being on Supervis ed Release from May 14, 2014 through
          July 10, 2015.

          Program Statemen t 5880.28, Sentence Computa tion Manual, dated
          February 14, 1997, page l-24A, section c, states in part: "Time
          spent serving a term of probatio n is not official detentio n as
          to a sentence of imprison ment."

          Accordin gly, your Request for Adminis trative Remedy is denied.

          If you are not satisfie d with this decisioh , you may app~al to
          the Regional Director at Bureau of Prisons, Southeas t Regional
          Office, 3800 Camp Creek Parkway, S.W., Building 2000, Atlanta,
          Georgia, 30331-62 26. Your appeal must be received in the
          Regional Office within 20 calendar days of the date of this
          response .



                                                             Date




                                              JA108
USCA4 Appeal: 21-7352                        Doc: 19                          Filed: 11/16/2022                     Pg: 112 of 141
                        9:20-cv-03040-JD                       Date Filed 11/10/20                     Entry Number 8-1                 Page 41 of 43
      U.S .. DEPARTMENT OF JUSTICE
                                                                                                 REQUEST FOR ADMINISTRATIVE REMEDY
      Federal Bureau of Prisons


                           Type or use ball-point p en. If attachments are needed, submit f our copies. Additional instructions on reverse.

      From: _Larone
             ____   Elijah
                     _ _ _ _ _ _ _ _ _ _ _ __                                               70214-056                              lBL FCI Williamsburg
                        LAST NAME, FIRST, MIDDLE INITIAL                                          REG . NO .                          UNIT                        INSTITUTION
        Part A- INMATE REQUEST :   I do not agree with the response [see attached BP-8]. And I
          fully adopt & again incorpora te herein, resj,>ectfu lly. In case#7:07 -cr-10-D, I was
          sentenced to Syrs S/R as part of the original sentence. I s~ent from May 14;2014 -
          July 10,2015 (14months) on S/R until revoked. On June 26,2019, the S.Ct found in US
          v. Haymond, 139 S.Ct 1826 (2019), that S/R is a criminal prosecutio n "an accused
          final sentence includes any S/R he may receive". I was sentenced to revocation on
          8/17/2015 to 3yrs consecutiv e. I also ask for my 7 day GCT from 2007, this case is
          "aggregate d" with case#4:15-cr-70-D.REJECTION RESUBMTITION: 11/26/2019 WIT~i MURE
          CL\RITY; my BP-9 was filed concerning my 14 months served on S/R. In the BP-8 response
          to Haymond's applicatio n the BOP stated it applied to 3583(k) invalidati on only. The
          S.Ct in Haymond also found that 11an accused final sentence includes any S/R/ sentence
          he filay receive". The effect of that holding was clarified in US v. Venable #19-6280
          (4th.cir.20 19)L11/20 /2019J clearly shows the response of the BP-8 response was incorrect
          , it's other holding that I request credit under due to the 14 months pursuant to
          the 5 years S/R that was imposed in 2007, and thus due to th2 S.Ct holding in Haymond
          it places 3583(e)(3) in conflict. As you will see , the Venable                ·
          and it will apply to any case that S/R has been imposed.

          11/19/2019 Resubnit Date:11/26 /2019
                       DATE
       Part B- RESPONSE




                        DATE                                                                                              WARDEN OR REGIONAL DIRECTOR
     If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office
                                                                                                                                      within 20 calendar days of the date of this response.
     ORIGINAL: RETURN TO INMATE                                                                                              CASE NUMBER : _ _ _ _ _ _ _ _ __
     ---------                        ·      ·                 ··       -      ~       ·   - -     ·      -     -     - - - CASE~UMB E~:                qc1~3s1 ·-~a --
      Part C- RECEIPT
     Return to :
                           LAST NAME , FIRST, MIDDLE INITIAL                                            REG . NO .                       UNIT                       INSTITUTION
     SUBJECT: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                        ----                                                                        ----------

                     DATE                                                                          RECIPIENT'S SIGNATURE (STAFF MEMBER)
                                                                                                                                                                                BP-229(13)
      USP LVN                                      *"""'°ONAEC><:l£1l PAPER                                                                                                     APRIL 1982


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USCA4 Appeal: 21-7352      Doc: 19          Filed: 11/16/2022      Pg: 113 of 141
               9:20-cv-03040-JD      Date Filed 11/10/20   Entry Number 8-1       Page 42 of 43




            FEDERAL CORRECTIO NAL INSTITUTION
            WILLIAMSBURG, SOUTH CAROLINA
            PART B - RESPONSE TO REQUEST FOR INFORMAL RESOLUTION ATTEMPT

            Elijah, Larone
            Reg. No. 70214-056
            UNIT: Unit 1

            This is in response to your Request for Administrative Remedy, dated October 23,
            2019, in which you claim that your time computation is incorrect.

            US vs Haymon was an inmate whom was convicted of drug charges and sex offense
            and is arguing about his revocation sentence of 5 years, violated revocation because he
            downloaded child porn. .

            You are wanting time applied to your sentence as jail credit for being under supervised
            release; that is not official detention. He will not receive any of it. You should read
            18:3585 (b) and PS 5880.58 page 1-14F for more information about "official detention" ..

           Therefore your request for an informal resolution is denied. If you are not satisfied with
           this decision, you may appeal to the Warden on an Administrative Remedy Form BP-
           229 .




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                                                                  Unit Ma~ag
                                                                               ,T.ifag,,. h: ,

                                                                  Date




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USCA4 Appeal: 21-7352      Doc: 19          Filed: 11/16/2022     Pg: 114 of 141
                9:20-cv-03040-JD     Date Filed 11/10/20   Entry Number 8-1    Page 43 of 43



                                                                                         WIL 1330.13A
                                                                                Administrative Remedy .
                                                                                     October 17, .2006

                                                                                          Attachment A

                         DOCUMENTATION OF INFORMAL RESOLUTION ATTEMPT

       Bureau of Prisons Program Statement 1330.13, Administrative Remedy Program, (December
       22, 1995), requires, in most cases, that inmates attempt informal resolution of grievances prior
       to the filing a formal written complaint. This form will be used to document your efforts
       toward informally resolving your grievance.

       Inmate Name: Larone Elijah            Reg. No.:     70214-056          Unit: 1BL

      Specific Complaint and Requested Relief: In case#7: 07-cr-10-D , I was sentenced
      to 5yrs S/R as part of the sentence. I spent from May 14,2014-Ju ly 10,2015
      (14 months)on S/R until revoked. On June 26,2019, the Supreme Ct. found
      in US v Haymond, 139 S.Ct 1826(2019) , that SIR is a criminal prosecutio n
      "an accused final sentence includes any S/R he may received". This is now
      "official detention" . I ask that the (14 months) be credited. I was sentenced
      to revocation on 8/17/2015 to 3yrs consecutiv e. I also ask for my 7 day GCT
      from 2007, this case is "aggregate d" with case#4:15- cr-70-D.

       cc: inmate#702 14-05~
      Efforts Made ~y Inmate to Informally Resolve Grievance (be specific):




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      Comments:
                  ---------------------------------




                                                 JA111
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 115 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12      Page 1 of 7




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USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 116 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 2 of 7




                                             JA113
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 117 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 3 of 7




                                             JA114
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 118 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 4 of 7




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                                             JA115
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 119 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 5 of 7




                                             JA116
USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 120 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 6 of 7




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USCA4 Appeal: 21-7352   Doc: 19        Filed: 11/16/2022     Pg: 121 of 141
               9:20-cv-03040-JD   Date Filed 12/14/20   Entry Number 12   Page 7 of 7




                                             JA118
USCA4 Appeal: 21-7352      Doc: 19           Filed: 11/16/2022        Pg: 122 of 141
                   9:20-cv-03040-JD       Date Filed 07/29/21      Entry Number 18       Page 1 of 12




                                       3040UNITED STATES DISTRICT COURT
                                          DISTRICT OF SOUTH CAROLINA



             Larone F. Elijah,                               )        CA No. 9:20-cv-03040-JD-MHC
                                                             )
                                          Petitioner,        )
                                                             )   REPORT AND RECOMMENDATION
                    v.                                       )
                                                             )
             Bryan K. Dobbs,                                 )
                                                             )
                                          Respondent.        )
                                                             )
                                                             )
                                                             )

                    Petitioner Larone F. Elijah (“Petitioner”), a federal inmate incarcerated at the Federal

             Correctional Institution (“FCI”) Williamsburg, petitions the Court pro se for a writ of habeas

             corpus under 28 U.S.C. § 2241. Respondent Bryan K. Dobbs (“Respondent”) filed a Motion for

             Summary Judgment, ECF No. 8, and Petitioner filed a Response in Opposition, ECF No. 12.

             Pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Civil Rule 73.02(B)(2)(c) (D.S.C.), this matter

             was referred to the undersigned for a Report and Recommendation.

                                                I.      BACKGROUND

                    On October 25, 2007, Petitioner was sentenced in the United States District Court for the

             Eastern District of North Carolina, case number 7:07-CR-10-1-D, to a 108-month term of

             confinement and a five-year term of Supervised Release for Possession with Intent to Distribute

             more than five grams of Cocaine Base, a Quantity of Cocaine, a Quantity of Heroin, and a Quantity

             of Methylenedioxymethamphetamine. ECF No. 8-1 at 5–8.

                    Petitioner satisfied the 108-month term of confinement on May 23, 2014, and was released

             from the Federal Bureau of Prisons’ (“BOP”) custody. ECF No. 8-1 at 2, ¶ 7. His five-year term

             of Supervised Release commenced on May 23, 2014. ECF No. 8-1 at 2, ¶ 8.
                                                            1




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USCA4 Appeal: 21-7352        Doc: 19           Filed: 11/16/2022         Pg: 123 of 141
                   9:20-cv-03040-JD         Date Filed 07/29/21      Entry Number 18         Page 2 of 12




                      On June 11, 2015, Petitioner was arrested by state authorities in Pitt County, North

             Carolina, for state offenses related to case number 4:15-CR-70-1-D, in the United States District

             Court for the Eastern District of North Carolina. ECF No. 8-1 at 2, ¶ 9. He was released by the

             state, via bond, on June 18, 2015. ECF No. 8-1 at 2, ¶ 9. The state charges were ultimately

             dismissed, but the federal charges in case number 4:15-CR-70-1-D remained pending.

                      Petitioner was arrested by federal authorities on July 10, 2015. ECF No. 8-1 at 2, ¶ 10; ECF

             No. 8-1 at 18. On August 17, 2015, Petitioner’s Supervised Release term in case number 7:07-CR-

             10-1-D was revoked for his criminal conduct, and he was sentenced to a thirty-six-month term of

             confinement for the Supervised Release violation. ECF No. 8-1 at 21.

                      On March 7, 2017, Petitioner was sentenced in the United States District Court for the

             Eastern District of North Carolina, case number 4:15-CR-70-1-D, to a 108-month term of

             confinement for Possession with Intent to Distribute a Quantity of Cocaine, a Quantity of Heroin,

             and a Quantity of 3,4-Methylenedioxy-N-ethylcathinone. ECF No. 8-1 at 2, ¶ 12. The sentencing

             court ordered the 108-month term to be served consecutive to any other sentence. ECF No. 8-1 at

             23–25.

                      The BOP computed Petitioner’s sentences for the Supervised Release violation in case

             number 7:07-CR-10-1-D (thirty-six-month term) and the drug conviction in case number 4:15-

             CR-70-1-D (108-month term) as a 144-month single, aggregate term of confinement that

             commenced on August 17, 2015 (the date the thirty-six-month term of confinement for the

             Supervised Release violation was imposed). ECF No. 8-1 at 2, ¶ 13. The BOP credited Petitioner

             with forty-six days of prior credit time (jail credit) for time spent in official detention from June

             11, 2015 (the date of his arrest by state authorities) through June 18, 2015 (the date he was released

             on bond by the state), and from July 10, 2015 (the date of his arrest by federal authorities) through



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USCA4 Appeal: 21-7352       Doc: 19           Filed: 11/16/2022          Pg: 124 of 141
                   9:20-cv-03040-JD         Date Filed 07/29/21      Entry Number 18         Page 3 of 12




             August 16, 2015 (the day before the imposition of the revocation term). ECF No. 8-1 at 2, ¶ 13;

             ECF No. 8-1 at 33.

                    Petitioner has finished serving his revocation term in case number 7:07-CR-10-1-D, but he

             remains incarcerated in case number 4:15-CR-70-1-D. See Elijah v. United States, No. 4:15-CR-

             70-D, 2020 WL 5028767, at *2 n.2 (E.D.N.C. Aug. 25, 2020). His projected release date is

             September 21, 2025. ECF No. 8-1 at 30–31.

                    Petitioner brought this action pursuant to 28 U.S.C. § 2241, seeking credit for time during

             which he was on Supervised Release, as well as the application of additional Good Conduct Time

             (“GCT”) credit toward his sentence. Petitioner fully exhausted his administrative remedies before

             filing the Petition. See ECF No. 8-1 at 35–43.

                                               II.    LEGAL STANDARDS

                    A. Summary Judgment Standard

                    Summary judgment is appropriate if a party “shows there is no genuine dispute as to any

             issue of material fact” and that the movant is entitled to judgment as a matter of law. Fed. R. Civ.

             P. 56(a). Under the framework established in Celotex Corp. v. Catrett, 477 U.S. 317 (1986), the

             party seeking summary judgment shoulders the initial burden of demonstrating to the Court that

             there is no genuine issue of material fact. Id. at 323. Once the movant has made this threshold

             demonstration, the non-moving party, to survive the motion for summary judgment, must

             demonstrate that specific, material facts exist which give rise to a genuine issue. Id. at 324.

                    Under this standard, the evidence of the non-moving party is to be believed and all

             justifiable inferences must be drawn in favor of the non-moving party. See Anderson v. Liberty

             Lobby, Inc., 477 U.S. 242, 255 (1986). However, although the Court views all the underlying facts

             and inferences in the record in the light most favorable to the non-moving party, the non-moving



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                                                     JA121
USCA4 Appeal: 21-7352      Doc: 19             Filed: 11/16/2022        Pg: 125 of 141
                   9:20-cv-03040-JD        Date Filed 07/29/21       Entry Number 18        Page 4 of 12




             “party nonetheless must offer some ‘concrete evidence from which a reasonable juror could return

             a verdict in his [or her] favor.’” Williams v. Genex Servs., LLC, 809 F.3d 103, 109 (4th Cir. 2015)

             (quoting Anderson, 477 U.S. at 256). That is to say, the existence of a mere scintilla of evidence

             in support of the plaintiff’s position is insufficient to withstand the summary judgment motion.

             Anderson, 477 U.S. at 252. Likewise, conclusory or speculative allegations or denials, without

             more, are insufficient to preclude the granting of the summary judgment motion. Thompson v.

             Potomac Elec. Power Co., 312 F.3d 645, 649 (4th Cir. 2002). “Only disputes over facts that might

             affect the outcome of the suit under the governing law will properly preclude the entry of summary

             judgment. Factual disputes that are irrelevant or unnecessary will not be counted.” Anderson, 477

             U.S. at 248. To survive summary judgment, the non-movant must provide evidence of every

             element essential to his action on which he will bear the burden of proving at a trial on the merits.

             Celotex Corp., 477 U.S. at 322.

                    B. Habeas Corpus

                    Under established local procedure in this judicial district, a careful review has been made

             of this Petition pursuant to the Rules Governing Section 2254 Proceedings for the United States

             District Court, 1 the Anti-Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”), and

             other habeas corpus statutes. Pro se complaints are held to a less stringent standard than those

             drafted by attorneys. Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). A federal court is

             charged with liberally construing a complaint filed by a pro se litigant to allow the development

             of a potentially meritorious case. Erickson v. Pardus, 551 U.S. 89, 94 (2007).

                    Habeas corpus proceedings are the proper mechanism for a prisoner to challenge the

             legality or duration of his custody. See Preiser v. Rodriguez, 411 U.S. 475, 484 (1973). The


             1
              The Rules Governing Section 2254 are applicable to habeas actions brought under § 2241. See
             Rule 1(b), Rules Governing § 2254 Cases, 28 U.S.C.A. foll. § 2254.
                                                              4




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USCA4 Appeal: 21-7352      Doc: 19            Filed: 11/16/2022          Pg: 126 of 141
                   9:20-cv-03040-JD        Date Filed 07/29/21        Entry Number 18        Page 5 of 12




             primary means of attacking the validity of a federal conviction and sentence is through a motion

             pursuant to 28 U.S.C. § 2255, while a petition for habeas corpus under § 2241 is the proper method

             to challenge the computation or execution of a federal sentence. See United States v. Little, 392

             F.3d 671, 678–79 (4th Cir. 2004).

                    A petitioner may bring a petition for a writ of habeas corpus under § 2241 if he is

             “attack[ing] the computation and execution of the sentence rather than the sentence itself.” United

             States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989) (per curiam); see also Diaz v. Warden, FCI

             Edgefield, No. 4:17-cv-00093-RBH, 2017 WL 2985974, at *2 (D.S.C. July 13, 2017) (noting a

             § 2241 petition “is the proper means for a federal prisoner to challenge the BOP’s sentencing

             calculations”). A § 2241 petition challenging the execution of a federal prisoner’s sentence

             generally addresses “such matters as the administration of parole, computation of a prisoner’s

             sentence by prison officials, prison disciplinary actions, prison transfers, type of detention[,] and

             prison conditions.” Jiminian v. Nash, 245 F.3d 144, 146 (2d Cir. 2001); see also Manigault v.

             Lamanna, No. 8:06-047-JFA-BHH, 2006 WL 1328780, at *1 (D.S.C. May 11, 2006) (“A motion

             pursuant to § 2241 generally challenges the execution of a federal prisoner’s sentence, such as

             parole matters, computation of sentence by prison officials, prison disciplinary actions, and prison

             transfers.”). A § 2241 petition must be brought against the warden of the facility where the prisoner

             is being held, Rumsfeld v. Padilla, 542 U.S. 426, 434–35 (2004), and “in the district of confinement

             rather than in the sentencing court,” Miller, 871 F.2d at 490. See also 28 U.S.C. § 2242.

                                                   III.    DISCUSSION

                    Petitioner sets forth three grounds for relief in his § 2241 Petition. First, he argues that the

             BOP erred in failing to credit him for the fourteen months he spent on Supervised Release in case

             number 7:07-CR-10-1-D. Second, he argues that the BOP incorrectly found that he could not be



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USCA4 Appeal: 21-7352       Doc: 19            Filed: 11/16/2022         Pg: 127 of 141
                   9:20-cv-03040-JD         Date Filed 07/29/21       Entry Number 18         Page 6 of 12




             awarded additional GCT credit under the First Step Act for his original 108-month term of

             confinement in case number 7:07-CR-10-1-D. Finally, he argues that 18 U.S.C. 3583(e)(3) is

             unconstitutional pursuant to United States v. Haymond, 139 S. Ct. 2369 (2019). For the reasons

             that follow, the Court recommends denying all three grounds and dismissing the Petition.

                    A. Petitioner is not entitled to credit for time spent on Supervised Release
                       (Petitioner’s Ground One).

                    Petitioner argues that the fourteen months he spent on Supervised Release in case number

             7:07-CR-10-1-D should be counted as official detention under 18 U.S.C. § 3585(b). The

             computation of a federal sentence is governed by 18 U.S.C. § 3585 and is comprised of a two-step

             determination: first, the date on which the federal sentence commences and, second, the extent to

             which credit may be awarded for time spent in custody prior to commencement of the

             sentence. 18 U.S.C. § 3585. A federal sentence cannot commence before it is imposed. See 18

             U.S.C. § 3585(a) (“A sentence to a term of imprisonment commences on the date the defendant is

             received in custody awaiting transportation to, or arrives voluntarily to commence service of

             sentence at, the official detention facility at which the sentence is to be served.”). Credit for prior

             custody is governed by § 3585(b), which states:

                     A defendant shall be given credit toward the service of a term of imprisonment for
                    any time he has spent in official detention prior to the date the sentence
                    commences—

                    (1) as a result of the offense for which sentence was imposed; or
                    (2) as a result of any other charge for which the defendant was arrested after the
                    commission of the offense for which the sentence was imposed; that has not been
                    credited against another sentence.

             18 U.S.C. § 3585(b).

                    It is well-established that after a district court imposes a sentence, the Attorney General,

             through the BOP, is responsible for administering the sentence. United States v. Wilson, 503 U.S.



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USCA4 Appeal: 21-7352        Doc: 19           Filed: 11/16/2022         Pg: 128 of 141
                   9:20-cv-03040-JD          Date Filed 07/29/21     Entry Number 18        Page 7 of 12




             329, 335 (1992). The authority to determine when a federal sentence commences belongs uniquely

             to the BOP, subject to federal judicial review under a “deferential abuse-of-discretion

             standard.” United States v. Hayes, 535 F.3d 907, 909 (8th Cir. 2008), cert. denied, 556 U.S. 1185

             (2009).

                       Here, Petitioner is not entitled to any credit under 18 U.S.C. § 3585(b) for time spent on

             Supervised Release, as time spent on Supervised Release is not “official detention” as that term is

             contemplated in the statute. See Reno v. Koray, 515 U.S. 50, 58 (1995) (stating that “credit for

             time spent in ‘official detention’ under § 3585(b) is available only to those defendants who were

             detained in a ‘penal or correctional facility,’ and who were subject to BOP’s control” (internal

             citation omitted)). Indeed, as the Fourth Circuit has recognized, “[f]or the purpose of calculating

             credit for time served under 18 U.S.C. § 3585, ‘official detention’ means imprisonment in a place

             of confinement, not stipulations or conditions imposed upon a person not subject to full physical

             incarceration.” United States v. Insley, 927 F.2d 185, 186 (4th Cir. 1991) (quoting United States v.

             Woods, 888 F.2d 653, 655 (10th Cir. 1989)). Consequently, because Petitioner was not in “official

             detention” while subject to the conditions of Supervised Release in case number 7:07-CR-10-1-D,

             none of that time is creditable against his current federal term of confinement. In other words, 18

             U.S.C. § 3585(b) is of no help to Petitioner. The Court, therefore, recommends denying Ground

             One of the Petition.

                       B. Petitioner is not entitled to additional GCT credit under the First Step Act
                          (Petitioner’s Ground Two).

                       Petitioner seeks additional GCT credit under the First Step Act, arguing that although the

             BOP applied the First Step Act to his thirty-six-month revocation term in case number 7:07-CR-

             10-1-D, they did not apply it to the original 108-month term of confinement that preceded the

             revocation term. See ECF No. 1 at 8. He argues that, under the “unitary sentence” framework


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                                                      JA125
USCA4 Appeal: 21-7352       Doc: 19            Filed: 11/16/2022          Pg: 129 of 141
                   9:20-cv-03040-JD         Date Filed 07/29/21        Entry Number 18        Page 8 of 12




             adopted by the Fourth Circuit in United States v. Venable, 943 F.3d 187 (4th Cir. 2019), his 108-

             month term of confinement and his revocation term are considered the same sentence and,

             therefore, he is also entitled to the retroactive application of sixty-three days of credit for the 108-

             month term of confinement he served prior to the amendment of 18 U.S.C. § 3624(b)(1). See ECF

             No. 1 at 8; ECF No. 12 at 2–3.

                    Respondent argues that the amendments to the GCT earnings were made retroactive, but

             the changes are applicable only to sentences not yet satisfied as of the effective date of the FSA—

             July 19, 2019. Therefore, Respondent maintains that “any sentences satisfied prior to the effective

             date of the FSA are not eligible to receive additional GCT credits.” ECF No. 8 at 7. Thus, since

             Petitioner’s “108-month term of confinement in [c]ase [n]umber 7:07-CR-10-1-D was satisfied

             prior to the effective date of the FSA, he is not eligible to receive any additional GCT credit toward

             that term.” Id. The Court agrees with Respondent.

                    Section 102(b)(1)(A) of the First Step Act amended 18 U.S.C. § 3624(b)(1), altering the

             method in which GCT credit is calculated and allowing prisoners to receive up to fifty-four days

             GCT credit per year of the sentence imposed. 2 First Step Act, Pub. L. No. 115-391, 132 Stat. 5194,

             § 102(b)(1)(A) (2018); see also Bottinelli v. Salazar, 929 F.3d 1196, 1197 (9th Cir. 2019)

             (“[P]aragraph 102(b)(1) [of the First Step Act] amends § 3624(b)—the good time credit

             provision—to require the BOP to permit up to [fifty-four] days per year.”). Section 102(b)(1)(A)

             applies retroactively “to offenses committed before, on, or after the date of enactment of this Act,



             2
               Prior to the amendment pursuant to the First Step Act, the Supreme Court upheld the BOP’s
             method of awarding GCT credit on the basis of the number of days actually served and not the
             length of the sentence imposed under the prior version of the statute. See Barber v. Thomas, 560
             U.S. 474, 478–83 (2010); see also Yi v. Federal Bureau of Prisons, 412 F.3d 526, 529 (4th Cir.
             2005). Under the now amended statute, the BOP awards GCT credit on the basis of the actual
             imprisonment imposed and not on the time actually served, such that prisoners may be entitled to
             an award of additional days of GCT.
                                                                8




                                                      JA126
USCA4 Appeal: 21-7352       Doc: 19           Filed: 11/16/2022          Pg: 130 of 141
                   9:20-cv-03040-JD         Date Filed 07/29/21      Entry Number 18         Page 9 of 12




             except that such amendments shall not apply with respect to offenses committed before November

             1, 1987.” Bottinelli, 929 F.3d at 1200 (quoting § 102(b), 132 Stat. at 5213). The GCT amendments

             to § 3624(b) took effect on July 19, 2019. See id. at 1202.

                    Petitioner is correct that, in some sense, his revocation sentence is united with his original

             sentence. See Haymond, 139 S. Ct. at 2379–80 (acknowledging that an accused’s final sentence

             includes any supervised release sentence he may receive, and further noting a “defendant receives

             a term of supervised release thanks to his initial offense, and whether that release is later revoked

             or sustained, it constitutes a part of the final sentence for his crime”); Venable, 943 F.3d at 194

             (“[G]iven that [Defendant’s] revocation sentence is part of the penalty for his initial offense, he is

             still serving his sentence for a ‘covered offense’ for purposes of the First Step Act. Thus, the

             district court had the authority to consider his motion for a sentence reduction, just as if he were

             still serving the original custodial sentence.”); see also Johnson v. United States, 529 U.S. 694,

             701 (2000) (noting, with respect to an ex post facto challenge, that “postrevocation penalties relate

             to the original offense”).

                    However, when it comes to the calculation of GCT credit under the First Step Act, district

             courts that have considered Petitioner’s argument—including this Court—have rejected it. See

             Beal v. Kallis, No. 19-cv-3093 (DSD/HB), 2020 WL 822439, at *2 (D. Minn. Jan. 7, 2020) (noting

             “a revocation sentence is separate and distinct from the original underlying sentence for purposes

             of calculating [GCT]” and ultimately concluding that “[t]he moment that Beal’s prior terms of

             imprisonment ended was also the moment that Beal became ineligible for additional good-time

             credit resulting from those terms of imprisonment”), report and recommendation adopted, 2020

             WL 818913 (D. Minn. Feb. 19, 2020); Barkley v. Dobbs, No. 1:19-3162-MGL-SVH, 2019 WL

             6330744, at *3 (D.S.C. Nov. 12, 2019) (concluding that petitioner’s revocation sentence was



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USCA4 Appeal: 21-7352       Doc: 19           Filed: 11/16/2022          Pg: 131 of 141
                   9:20-cv-03040-JD        Date Filed 07/29/21       Entry Number 18        Page 10 of 12




             separate from his original sentence “for the purpose of calculating good-time credit”), report and

             recommendation adopted, 2019 WL 6318742 (D.S.C. Nov. 25, 2019); Jamison v. Warden, Elkton

             Fed. Corr. Inst., No. 1:19-cv-789, 2019 WL 5690710, at *3 (S.D. Ohio Nov. 4, 2019) (“Because

             petitioner’s revocation sentence is separate from his original sentence for purposes of calculating

             good-time credits, he is not entitled to the good-time credits he would have received on his original

             36-month sentence if the First Step Act had been enacted at the time he was serving that

             sentence.”), report and recommendation adopted, 2019 WL 6828358 (S.D. Ohio Dec. 12,

             2019); Kieffer v. Rios, No. 19-cv-899 (PJS/SER), 2019 WL 3986260, at *1 (D. Minn. Aug. 23,

             2019) (rejecting petitioner’s argument that the First Step Act entitled to him to additional GCT

             credit from his original sentence to be used towards his revocation sentence). Likewise, another

             district court in the Fourth Circuit has rejected a similar argument based on Venable and the

             “unitary sentence framework” position that Petitioner takes. See Wilson v. Andrews, No.

             1:20CV470 (RDA/MSN), 2020 WL 5891457, at *4–7 (E.D. Va. Oct. 5, 2020) (analyzing reasons

             why Venable is inapposite and ultimately concluding the petitioner was not entitled to additional

             GCT credit to reduce his term of supervised release).

                    This Court agrees with those courts that have already considered the issue. “Supervised

             release is imposed as part of the original sentence, but the imprisonment that ensues from

             revocation is partly based on new conduct, is wholly derived from a different source, and has

             different objectives altogether; it is therefore a different beast.” United States v. McNeil, 415 F.3d

             273, 277 (2d Cir. 2005); see also 28 C.F.R. § 2.35(b) (“Once an offender is conditionally released

             from imprisonment, either by parole or mandatory release, the good time earned during that period

             of imprisonment is of no further effect either to shorten the period of supervision or to shorten the

             period of imprisonment which the offender may be required to serve for violation of parole or



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USCA4 Appeal: 21-7352   Doc: 19     Filed: 11/16/2022  Pg: 132 of 141
          9:20-cv-03040-JD Date Filed 07/29/21 Entry Number 18 Page 11 of 12




       mandatory release.” (emphasis added)). The BOP, therefore, “acted properly in declining to apply

       the [First Step Act’s] new good-time-credit calculation to [Petitioner’s] term[ ] of imprisonment

       that had already concluded before the effective date of the statute.” Beal, 2020 WL 822439, at *2.

       Accordingly, the Court recommends denying Ground Two of the Petition.

              C. Haymond did not invalidate 18 U.S.C. 3583(e)(3) (Petitioner’s Ground Three).

              Petitioner argues that 18 U.S.C. 3583(e)(3) is unconstitutional pursuant to Haymond, but

       his position as to why is not particularly clear. In any event, Haymond “had no impact on [the

       defendant’s] run-of-the-mill revocation sentence imposed under 18 U.S.C. §3583(e)(3).” United

       States v. Mooney, 776 F. App’x 171, 171 n.* (4th Cir. 2019). The Court therefore recommends

       Ground Three of the Petition be denied. See United States v. Ka, 982 F.3d 219, 223 (4th Cir. 2020)

       (“Our sister circuits that have considered whether Haymond has implications for their § 3583(e)

       jurisprudence agree that it does not.”).

                                        IV.       RECOMMENDATION

              For the reasons set forth above, it is RECOMMENDED that Respondent’s Motion for

       Summary Judgment (ECF No. 8) be GRANTED and that the petition be DISMISSED.



                                                    ______________________________
                                                    _____________ ___ ________________
                                                                                     _
                                                    Molly
                                                    Molly H. Cherry
                                                             Cheerrrry
                                                    United States Magistrate Judge
                                                                             J dge

       July 29, 2021
       Charleston, South Carolina




             The parties are directed to the next page for their rights to file objections to this
                                             recommendation.



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                                                     JA129
USCA4 Appeal: 21-7352   Doc: 19      Filed: 11/16/2022  Pg: 133 of 141
           9:20-cv-03040-JD Date Filed 07/29/21 Entry Number 18 Page 12 of 12




                    Notice of Right to File Objections to Report and Recommendation

               The parties are advised that they may file specific written objections to this Report and
       Recommendation with the District Judge. Objections must specifically identify the portions of the
       Report and Recommendation to which objections are made and the basis for such objections. “[I]n
       the absence of a timely filed objection, a district court need not conduct a de novo review, but
       instead must ‘only satisfy itself that there is no clear error on the face of the record in order to
       accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir.
       2005) (quoting Fed. R. Civ. P. 72 advisory committee’s note).

               Specific written objections must be filed within fourteen (14) days of the date of service of
       this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see Fed. R. Civ.
       P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5 may be accomplished by
       mailing objections to:

                                                Robin L. Blume, Clerk
                                             United States District Court
                                                 Post Office Box 835
                                           Charleston, South Carolina 29402

               Failure to timely file specific written objections to this Report and Recommendation
       will result in waiver of the right to appeal from a judgment of the District Court based upon
       such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v.
       Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




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USCA4 Appeal: 21-7352    Doc: 19                      Filed: 11/16/2022       Pg: 134 of 141



                 9:20-cv-03040-JD       Date Filed 08/12/21              Entry Number 20   Page 1 of 4




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USCA4 Appeal: 21-7352     Doc: 19                 Filed: 11/16/2022                   Pg: 135 of 141



                 9:20-cv-03040-JD          Date Filed 08/12/21              Entry Number 20            Page 2 of 4




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USCA4 Appeal: 21-7352    Doc: 19         Filed: 11/16/2022     Pg: 136 of 141



                 9:20-cv-03040-JD   Date Filed 08/12/21   Entry Number 20   Page 3 of 4




                                               JA133
USCA4 Appeal: 21-7352    Doc: 19         Filed: 11/16/2022     Pg: 137 of 141



                 9:20-cv-03040-JD   Date Filed 08/12/21   Entry Number 20   Page 4 of 4




                                               JA134
USCA4 Appeal: 21-7352    Doc: 19      Filed: 11/16/2022  Pg: 138 of 141
             9:20-cv-03040-JD Date Filed 08/23/21 Entry Number 21 Page 1 of 3




                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA
                                           BEAUFORT DIVISION

       Larone F. Elijah,                                )               Case No.: 9:20-cv-03040-JD-MHC
                                                        )
                                 Petitioner,            )
                                                        )
                           vs.                          )
                                                        )                 ORDER & OPINION
       Bryan K. Dobbs,                                  )
                                                        )
                                 Respondent.            )
                                                        )


               This matter is before the Court with the Report and Recommendation (“Report and

       Recommendation” or “Report”) of United States Magistrate Judge Molly H. Cherry made in

       accordance with § 636(b)(1)(B) and Local Civil Rule 73.02(B)(2)(d) of the District of South

       Carolina. 1 Larone F. Elijah (“Petitioner” or “Elijah”), a federal inmate incarcerated at the Federal

       Correctional Institution (“FCI”) Williamsburg and proceeding pro se, petitioned the Court for a

       writ of habeas corpus under 28 U.S.C. § 2241 against Bryan K. Dobbs (“Respondent” or “Dobbs”)

       arising out of Elijah’s violation of supervised release and new criminal charges stemming from the

       same violation. 2


       1
                The recommendation has no presumptive weight, and the responsibility for making a final
       determination remains with the United States District Court. See Mathews v. Weber, 423 U.S. 261, 270-
       71 (1976). The court is charged with making a de novo determination of those portions of the Report and
       Recommendation to which specific objection is made. The court may accept, reject, or modify, in whole
       or in part, the recommendation made by the magistrate judge or recommit the matter with instructions. 28
       U.S.C. § 636(b)(1).
       2
                On October 25, 2007, Elijah was sentenced in the United States District Court for the Eastern
       District of North Carolina, case number 7:07-CR-10-1-D, to a 108-month term of confinement and a five-
       year term of Supervised Release for drug relate offenses. (DE 18, p. 1.) After Elijah satisfied the 108-
       month term of confinement on May 23, 2014, he was released from the Federal Bureau of Prisons’ (“BOP”)
       custody and began his five-year term of Supervised Release. However, on July 10, 2015, Elijah was
       arrested by federal authorities for a second set of drug charges, and on March 7, 2017, was sentenced in the
       United States District Court for the Eastern District of North Carolina, on case number 4:15-CR-70-1-D, to
       a second 108-month term of confinement. (DE 18, p. 2.) Additionally, during the interim period between
       Elijah’s second sentence and second arrest, Elijah’s Supervised Release term in his first case number 7:07-
                                                            1


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USCA4 Appeal: 21-7352    Doc: 19      Filed: 11/16/2022  Pg: 139 of 141
             9:20-cv-03040-JD Date Filed 08/23/21 Entry Number 21 Page 2 of 3




              Elijah filed the present petition contending that: 1) the BOP erred in failing to credit him

       for the fourteen months he spent on Supervised Release in case number 7:07-CR-10-1-D.; 2) the

       BOP incorrectly found that he could not be awarded additional Good Conduct Time (“GCT”)

       credit under the First Step Act (“FSA”) for his original 108-month term of confinement in case

       number 7:07-CR-10-1-D; and 3) 18 U.S.C. § 3583(e)(3) is unconstitutional pursuant to United

       States v. Haymond, 139 S. Ct. 2369 (2019). (DE 18, p. 5-6.) Dobbs filed the present motion for

       summary judgment seeking to dismiss Elijah’s petition because Elijah is not entitled to any credit

       for time spent on Supervised Release and he is not entitled to additional GCT credit under the

       FSA. The Report recommends granting Dobbs’ motion for summary judgement because the BOP

       correctly calculated Elijah’s credit and GCT, and Haymond did not invalidate 18 U.S.C. §

       3583(e)(3). For the following reasons, the Court adopts the Report.

              Although Elijah raises several objections, to be actionable, objections to the Report and

       Recommendation must be specific. Failure to file specific objections constitutes a waiver of a

       party’s right to further judicial review, including appellate review, if the recommendation is

       accepted by the district judge. See United States v. Schronce, 727 F.2d 91, 94 & n.4 (4th Cir.

       1984). “The Supreme Court has expressly upheld the validity of such a waiver rule, explaining

       that ‘the filing of objections to a magistrate's report enables the district judge to focus attention on

       those issues -- factual and legal -- that are at the heart of the parties’ dispute.’” Diamond v.

       Colonial Life & Accident Ins. Co., 416 F.3d 310, 315 (2005) (citing Thomas v. Arn, 474 U.S. 140

       (1985) (emphasis added)).         In the absence of specific objections to the Report and

       Recommendation of the magistrate judge, this court is not required to give any explanation for

       adopting the recommendation. See Camby v. Davis, 718 F.2d 198, 199 (4th Cir. 1983).


       CR- 10-1-D was revoked on August 17, 2015, for his second set of drug offenses, and he was sentenced to
       a thirty-six-month term of confinement for the Supervised Release violation. (DE 18, p. 2.)
                                                          2


                                                       JA136
USCA4 Appeal: 21-7352    Doc: 19      Filed: 11/16/2022  Pg: 140 of 141
             9:20-cv-03040-JD Date Filed 08/23/21 Entry Number 21 Page 3 of 3




               Upon review, the Court finds that Elijah made three objections; however, each objection is

       nonspecific. 3 Accordingly, after a thorough review of the Report and Recommendation and the

       record in this case, the Court adopts the Report and Recommendation (DE 18) and incorporates it

       herein, and grants Dobbs’ motion for summary judgement.

               It is therefore ORDERED that Defendant’s motion for summary judgment (DE 8) is

       granted; and therefore, Plaintiff’s Complaint is dismissed. Further, it is ORDERED that a

       certificate of appealability is denied because Defendant has failed to make “a substantial showing

       of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).



               IT IS SO ORDERED.

                                                                  _____________________________
                                                                  Joseph Dawson, III
                                                                  United States District Judge
       Beaufort, South Carolina
       August 23, 2021

                                        NOTICE OF RIGHT TO APPEAL

               The parties are hereby notified that they have the right to appeal this order within sixty (60)

       days from the date hereof, pursuant to Rules 3 and 4 of the Federal Rules of Appellate Procedure.




       3
                 First, Elijah objects to the Report contending he was in official detention for fourteen months while
       on Supervised release and he claims United States v. Haymond requires his 14 months of supervised release
       time be calculated as “official detention”. However, Elijah offers no specifics as to how the case applies
       here. (DE 20, pp. 1-2.) Second, Elijah objects to the Report contending he is entitled to additional GCT
       credit because his original sentence and subsequent revocation in case number 7:07-CR-10-1-D should be
       combined and considered one sentence. (DE 20, pp. 2-3.) Lastly, Elijah objects to the Report contending
       Haymond invalidates 18 U.S.C. 3583(e)(3). (DE 20, p. 3.) As the Report has addressed all of Elijah’s
       objections, the Court finds these objections to be nonspecific because Elijah is attempting to reargue his
       case. See Nichols v. Colvin, 100 F. Supp. 3d 487, 497 (E.D. Va. 2015) (“Likewise, a mere restatement of the
       arguments raised in the summary judgment filings does not constitute an ‘objection’ for the purposes of
       district court review.”)
                                                             3


                                                          JA137
USCA4 Appeal: 21-7352    Doc: 19        Filed: 11/16/2022     Pg: 141 of 141
               9:20-cv-03040-JD    Date Filed 09/21/21   Entry Number 24   Page 1 of 1




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